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                                                                                                                                                                                              Exhibit PX8013A
                                                                                                                                                                                                      PX8013
                                                                 Exhibit PX8013A: Historical iOS App Store Descriptions
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CmTents (App ID: 447119634)
       Date                                                                               Desniption
 June 28, 2011     Google+ for mobile makes sharing the right things with the right people a lot simpler. Huddle lets you send super-fast messages to the people you care
                   about most. And no matter where you are, the stream lets you stay in the loop about what your friends are sharing and where they're checking in.

                   Features:
                   * Circles let you share the right things with just the right people.
                   * Stream is where you can get updates from your circles or see what people are saying about things nearby.
                   * Huddle is super-fast group messaging for everyone in your circles.

                   Google+ is only available for users 13 and older.
 January 1, 2012   Real-life sharing rethought for the web, wherever you are

                   Google+ for mobile makes sharing the right things with the right people a lot simpler.

                   Features:
                   * Circles let you share the right things with just the right people.
                   * Visit the stream to get updates from your circles or see what people are saying about things nearby.
                   * Messenger is super-fast group messaging for everyone in your circles.
                   * Mobile Hangouts allows you to video chat with up to 9 friends while you're on the go.
 Januuy 1, 2013    Stay connected and share life as it happens with Google+ for iPhone and iPad. Join a Hangout, post a photo, or see what friends are sharing while you're
                   on the go.

                   Features:
                   ✓ New iPad-optimized layout brings your stream to life
                   ✓ Share photos directly to Events for all your friends to enjoy
                   ✓ Video chat with up to 9 friends with mobile Hangouts
                   ✓ Turn on Instant Upload to sync photos from your phone to a private Google+ albwn
                   ✓ Chat with a friend or all your friends at once with Messenger from your phone
                   ✓ Check out the What's Hot stream to see popular posts
                   ✓ View the Nearby stream to see what people near your location are saying
                   ✓ See vibrant, hi2h-resolution images on Retina display devices
 January 1, 2014   Stay connected and share life as it happens with Google+ for iPhone and iPad. Join a Hangout, post a photo, or see what friends are sharing while you're
                   on the go.

                   Features:
                   - iPad-optimized layout brings your stream to life
                   - Share photos directly to Events for all your friends to enjoy
                   - Twn on Auto Backup to save photos and videos privately on Google+
                   - Check out the What's Hot stream to see trending topics
                   - View the Nearby stream to see what people near your location are saying
                   - See vibrant, hillh-resolution images on Retina disolay devices

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                                                                                                                                                             Currents
      Date                                                                              Desniption
January 1, 2015   Get way into what you love on Google+. Start exploring today!

                  • Explore topics you're interested in
                  • Connect with people who share your interests
                  • Fill your stream with great content by following interesting people, pages, and communities
                  • Join communities to connect with people around all kinds of topics
                  • Follow your curiosity using search, trending topics, and What's Hot
                  • Share rich posts with your followers

                  Google+ Photos
                  • Back up all your photos and videos
                  • Find the right photo fast with image search
                  • Enhance photos in a flash and get creative with easy editing tools
                  • See moments brought to life as Stories, Movies, animations, and more

                  * Continued use of GPS running in the background can dramatically decrease batterv life.
January 1, 2016   Discover amazing things created by passionate people.
                  • Explore your interests
                  • Group things you love into Collections
                  • Join Communities of people around any topic
                  • Connect with people who share your interests
                  • Build a home stream filled with amazing content
January 1, 2017   Discover amazing things created by passionate people.
                  • Explore your interests
                  • Group things you love into Collections
                  • Join Communities of people around any topic
                  • Connect with people who share your interests
                  • Build a home stream filled with amazing content
January 1, 2018   Discover amazing things created by passionate people.
                  • Explore your interests
                  • Join Communities of people around any topic
                  • Connect with people who share your interests
                  • Build a home stream filled with amazing content
                  • Group things you love into Collections
January 1, 2019   Discover amazing content created by passionate people on G+.
                  • Explore your favorite topics and discover new things you'll love
                  • Connect with communities of people who share your interests
                  • Build a home stream with unique, inspiring, and thoughtful content
January 1, 2020   Google+ is now only available for G Suite customers, and it is no longer available for consumer (personal) and brand accounts.
                  Leam more: https://support.google.com/plus/answer/92 17723

                  G Suite customers may see some changes to Google+ features related to the consumer Google+ shutdown. You can talk to your G Suite administrator to
                  leam more rhttns://suooort.google.com/a/answer/6208960). or you can find more details here: httns://suooo1t.google.com/a/answer/9229693.
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                                                                                                                                                          Currents
      Date                                                                                    Description
Janmu-y 1, 2021    Currents by G Suite allows you to connect with your colleagues while you're in the office or on the go.
                   • Exchange ideas and docwnents, and have meaningful discussions with your colleagues - all without flooding your inbox.
                   • E1'ioy the most important content first, with the ability to order your home stream by relevance or time.
                   • Connect with like-minded colleagues and find communities that match your interests.
                   • Follow tags on topics. Learn more about what is happening in other departments and across the organization with trending tags.
                   • Highlighted posts from your leadership keep you up-to-date on what's important across your organization.
                   • Use Google's advanced search to find topics and conversations that matter to you.

                   Currents is available for G Suite customers only. Check with your G Suite IT Administrator to learn more.
Janua1-y 1, 2022   CwTents by G Suite allows you to connect with your colleagues while you're in the office or on the go.
                   • Exchange ideas and documents, and have meaningful discussions with your colleagues - all without flooding your inbox.
                   • Enj oy the most important content first, with the ability to order your home stream by relevance or time.
                   • Connect with like-minded colleagues and find communities that match your interests.
                   • Follow tags on topics. Leam more about what is happening in other departments and across the organization with trending tags.
                   • Highlighted posts from your leadership keep you up-to-date on what 's important across your organiza.tion.
                   • Use Google's advanced search to find topics and conversations that matter to you.

                   CwTents is available for G Suite customers onlv. Check with vour G Suite IT Administrator to leam more.




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Facebook (App ID : 284882215)



 Januuy 1, 2010    Facebook for iPhone makes it easy to stay connected and share infonnation with friends. Use your iPhone to start a conversation with Facebook Chat,
                   check our friends' latest hotos and status u dates look u a hone nwnber or u load our own mobile hotos to Facebook while on the o.
 January 1, 2011   Fa.cebook for iPhone makes it easy to stay connected and share infonnation with friends. Use your iPhone to sta1t a conversation with Fa.cebook Chat,
                   check our friends' la.test hotos and status u dates look u a hone number or u load our own mobile hotos to Fa.cebook while on the o.
 Januuy 1, 2012    Facebook for iPhone and iPad

                   Facebook for iPad
                   With high-res photos, games, chat and more, now you can get the best ofFacebook~n your iPad.

                   - E1'ioy bigger, better photos: Your photos are high-res and easy to flip through, like a real photo album
                   - Navigate anywhere, fast: Just tap, slide or pinch to move from one screen to another
                   - Play games on the go: Access your favorite Facebook a.pps and games, wherever you are
                   - Focus on what matters: Zoom in on your friends' photos, updates and stories
                   - Never lose your place: Share a photo, update your status or send a message without leaving News Feed
                   - See who's nearby: Check out the Nearby map to see what your friends are up to

                   Facebook for iPhone
                   Facebook for iPhone lets you stay connected and share with friends on the go. Start a chat, keep up with friends' photos and status updates, look up a
                   phone nwnber, upload photos to Facebook and more-right from your iPhone.

                   What's New in Version 4
                   With improved search and browsing, the facebook.com features you use most are now just a touch away. It's a faster, fuller Facebook for iPhone.

                   - Games & Apps: Play games and access your favorite apps on the go
                   - Navigation: Send a message or see your notifications from any screen, and swipe to browse Facebook without losing your place in News Feed
                   - Bookmarks: Your groups, pages and a.pps are all in your left-hand menu, and the ones you use most are right on top
                   - Search: Search for anything on Facebook~ eople, a.pps, pages and more-without having to click around or switch views
                   - Security: We've added a few updates to make the a.pp more secure

                   Facebook is onl available for users a e 13 and over.
 January 1, 2013   Keeping up with friends is faster than ever.
                   • See what friends are up to
                   • Share updates, photos and videos
                   • Get notified when friends like and comment on your posts
                   • Text, chat and have group conversations
                   • Play games and use your favorite apps

                   Fa.cebook is only available for users age 13 and over.
                   Our Data Use Polic and EULA are available in the le a.I section of our A     Store descri tion.

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                                                                                                                                                             Facebook
      Date                                                                               Desniption
January 1, 2014   Keeping up with friends is faster than ever.
                  • See what friends are up to
                  • Share updates, photos and videos
                  • Get notified when friends like and comment on your posts
                  • Text, chat and have group conversations
                  • Play games and use your favorite apps

                  Read our Data Use Policv, Tenns and other imoortant info in the legal section of our APP Store description.
January 1, 2015   Keeping up with friends is faster than ever.
                  • See what friends are up to
                  • Share updates, photos and videos
                  • Get notified when friends like and comment on your posts
                  • Text, chat and have group conversations
                  • Play games and use your favorite apps

                  Read our Data. Use Policy, Tenns and other important info in the legal section of our App Store description.

                  Continued use of GPS running in the background can dramatically decrease battery life. Facebook doesn't run GPS in the background unless you give us
                  pennission by turning on optional features that require this.
January 1, 2016   Keeping up with friends is faster than ever.
                  • See what friends are up to
                  • Share updates, photos and videos
                  • Get notified when friends like and comment on your posts
                  • Text, chat and have group conversations
                  • Play games and use your favorite apps

                  Read our Data Use Policy, Tenns and other important info in the legal section of our App Store description.

                  Continued use of GPS running in the background can dramatically decrease battery life. Facebook doesn't run GPS in the background unless you give us
                  pennission bv turning on optional features that reauire this.
January 1, 2017   Keeping up with friends is faster than ever.
                  • See what friends are up to
                  • Share updates, photos and video
                  • Get notified when friends like and comment on your posts
                  • Watch and interact with live video
                  • Play games and use your favorite apps

                  Read our Data Use Policy, Terms and other important info in the legal section of ow· App Store description.

                  Continued use of GPS running in the background can dramatically decrease battery life. Facebook doesn't run GPS in the background unless you give us
                  pennission bv turning on optional features that reouire this.
January 1, 2018   Keeping up with friends is faster than ever.
                  • See what friends are up to
                                                                                   6
                                                                                                                                                          PX8013A-006
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                                                                                                                                                                 Facebook
      Date                                                                               Desniption
                  • Share updates, photos and video
                  • Get notified when friends like and comment on your posts
                  • Watch and interact with live video
                  • Play games and use your favorite apps
                  • Buy and sell items and services

                  Read our Data Use Policy, Tenns and other important info in the legal section of our App Store description.

                  Continued use of GPS running in the background can dramatically decrease battery life. Facebook doesn't run GPS in the background unless you give us
                  oennission bv turning on optional features that reauire this.
January 1, 2019   Keeping up with friends is faster than ever.
                  • See what friends are up to
                  • Share updates, photos and video
                  • Get notified when friends like and comment on your posts
                  • Watch and interact with live video
                  • Play games and use your favorite apps
                  • Buy and sell locally on Facebook Marketplace

                  New! Become a. Suppo1ter
                  You can now suppo1t favorite Pages by purchasing monthly subscriptions. You get benefits for suppo1ters only such as a digital badge, shopping discounts
                  and exclusive content including, for example, videos, live broadcasts, updates and polls.

                  The subscription is charged to your iTunes account and continues monthly unless canceled in iTunes settings at least 24 hours before your renewal date.

                  Becoming a. supporter means you agree to the Page Supporters Tenns (https://wwv.r.fa.cebook.com/FBPa.geSuppo1t ers/tenns) and Statement of Rights and
                  Responsibilities (https://www.facebook.com/legal/tenns).

                  Read our Data. Use Policy, Tenns and other important info in the legal section of om App Store description.

                  Continued use of GPS running in the background can dramatically decrease battery life. Facebook doesn't nm GPS in the background unless you give us
                  pennission by tuming on optional features that require this.
January 1, 2020   Connect with friends, family and people who share the same interests as you. Communicate privately, watch your favorite content, buy and sell items or
                  just spend time with your community. On Facebook, keeping up with the people who matter most is easy. Discover, e~joy and do more together.

                  Stay up to date with your loved ones:
                   • Share what's on your mind, announce major life events through posts and celebrate the everyday moments with Stories.
                   • Express yourself through your profile and posts, watch, react, interact and stay in touch with your friends, throughout
                   the day.

                  Connect with people who share your interests with Groups:
                   • With tens of 1nillions of groups, you'll find something for all your interests and discover more groups relevant to you.
                   • Use the Groups tab as a hub to quickly access all your groups content. Find relevant groups based on your interests with the new discovery tool and
                  recommendations.
                                                                                   7
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                                                                                                                                                                   Facebook
      Date                                                                                Desniption

                  Become more involved with your cormmmity:
                   • Discover events happening near you, businesses to support, local groups and activities to be part of.
                   • Check out local recommendations from your friends, then coordinate with them and make plans to get together.
                   • Raise funds for a cause that's important to you, mentor someone who wants help achieving their goals and, in the event of a local crisis, connect with
                  other people to find or give supplies, food or shelter.

                  Enjoy entertainment together with Watch:
                   • Discover all kinds of content from original shows to creators to trending videos in topics like beauty, sports, and entertainment.
                   • Join conversations, share with others, interact with viewers and creators and watch together like never before.

                  Buy and sell with Marketplace:
                   • Whether it's an everyday or one-of-a-kind item, you can discover everything from household items to your next car or apartment on Marketplace.
                   • List your own item for sale and conveniently cormnunicate with buyers and sellers through Messenger

                  Read our Data Use Policy, Tenns and other important info in the legal section of our App Store description.

                  Continued use of GPS running in the background can dramatically decrease battery life. Facebook doesn't run GPS in the background unless you give us
                  oennission bv turning on optional features that reauire this.
January 1, 2021   Connect with friends, family and people who share the same interests as you. Communicate privately, watch your favorite content, buy and sell items or
                  just spend time with your community. On Facebook, keeping up with the people who matter most is easy. Discover, enjoy and do more together.

                  Stay up to date with your loved ones:
                   • Share what's on yow- mind, announce major life events through posts and celebrate the eve1yday moments with Stories.
                   • Express yourself through your profile and posts, watch, react, interact and stay in touch with your friends, throughout
                   the day.

                  Connect with people who share yow- interests with Groups:
                   • With tens of millions of groups, you'll find something for all your interests and discover more groups relevant to you.
                   • Use the Groups tab as a hub to quickly access all yow- groups content. Find relevant groups based on your interests with the new discove1y tool and
                  recormnendations.

                  Become more involved with your cormnunity:
                   • Discover events happening near you, businesses to suppo1t, local groups and activities to be pait of.
                   • Check out local recommendations from your friends, then coordinate with them and make plans to get together.
                   • Raise funds for a cause that's important to you, mentor someone who wants help achieving their goals and, in the event of a local crisis, connect with
                  other people to find or give supplies, food or shelter.

                  Enjoy entertainment together with Watch:
                   • Discover all kinds of content from original shows to creators to trending videos in topics like beauty, sports, and ente1tainment.
                   • Join conversations, shai·e with others, interact with viewers and creators and watch together like never before.

                  Buv and sell with Marketolace:
                                                                                     8
                                                                                                                                                               PX8013A-008
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                                                                                                                                                                   Facebook
      Date                                                                              Desniption
                   • Whether it's an eve1yday or one-of-a-kind item, you can discover eve1ything from household items to your next car or apartment on Marketplace.
                   • List your own item for sale and conveniently communicate with buyers and sellers through Messenger

                  Read our Data Use Policy, Tenns and other important info in the legal section of our App Store description.

                  Continued use of GPS running in the background can dramatically decrease battery life. Facebook doesn't nm GPS in the background unless you give us
                  pennission by tuming on optional features that require this.
January 1, 2022   Connect with friends, family and people who share the same interests as you. Communicate privately, watch your favorite content, buy and sell items or
                  just spend time with your community. On Facebook, keeping up with the people who matter most is easy. Discover, enjoy and do more together.

                  Stay up to date with your loved ones:
                   • Share what's on your mind, announce major life events through posts and celebrate the everyday moments with Stories.
                   • Express yourself through your profile and posts, watch, react, interact and stay in touch with your friends, throughout
                   the day.

                  Connect with people who share your interests with Groups:
                   • With tens of millions of groups, you'll find something for all your interests and discover more groups relevant to you.
                   • Use the Groups tab as a hub to quickly access all your groups content. Find relevant groups based on your interests with the new discovery tool and
                  recommendations.

                  Become more involved with your community:
                   • Discover events happening near you, businesses to support, local groups and activities to be part of.
                   • Check out local recommendations from your friends, then coordinate with them and make plans to get together.
                   • Raise funds for a cause that's important to you, mentor someone who wants help achieving their goals and, in the event of a local crisis, connect with
                  other people to find or give supplies, food or shelter.

                  Enjoy entertainment together with Watch:
                   • Discover all kinds of content from original shows to creators to trending videos in topics like beauty, sports, and entertainment.
                   • Join conversations, share with others, interact with viewers and creators and watch together like never before.

                  Buy and sell with Marketplace:
                   • Whether it's an everyday or one-of-a-kind item, you can discover everything from household items to your next car or apartment on Marketplace.
                   • List your own item for sale and conveniently communicate with buyers and sellers through Messenger

                  Read our Data Use Policy, Tenns and other important info in the legal section of our App Store description.

                  Continued use of GPS nmning in the background can dramatically decrease battery life. Facebook doesn't nm GPS in the background unless you give us
                  oennission bv tuming on optional features that reauire this.
January 1, 2023   Connect with friends, family and people who share the same interests as you. Communicate privately, watch your favorite content, buy and sell items or
                  just spend time with your community. On Facebook, keeping up with the people who matter most is easy. Discover, enjoy and do more together.

                  Stay up to date with your loved ones:
                   • Share what's on your mind, announce maior life events through posts and celebrate the eve1yday moments with Stories.
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                                                                                                                                                        Facebook
Date                                                                            Description
        • Express yow-self through yow- profile and posts, watch, react, interact. and stay in touch with yow- friends, throughout
        the day.

       Connect with people who share yow- interests with Groups:
        • With tens of millions of groups, you'll find something for all your interests and discover more groups relevant to you.
        • Use the Groups tab as a hub to quickly access all your groups content. Find relevant groups based on your interests with the new discovery tool and
       recommendations.

       Become more involved with your community:
        • Discover events happening near you, businesses to support, local groups and activities to be part of.
        • Check out local recommendations from your friends, then coordinate with them and make plans to get together.
        • Raise funds for a cause that's important to you, mentor someone who wants help achieving their goals and, in the event of a local crisis, connect with
       other people to find or give supplies, food or shelter.

       Enjoy entertainment together with Watch:
        • Discover all kinds of content from original shows to creators to trending videos in topics like beauty, sports, and entertainment.
        • Join conversations, share with others, interact. with viewers and creators and watch together like never before.

       Buy and sell with Marketplace:
        • Whether it's an everyday or on~of-a-kind item, you can discover eve1ything from household items to your next car or apa1tment on Marketplace.
        • List your own item for sale and conveniently communicate with buyers and sellers through Messenger

       Read our Data Use Policy, Terms and other important info in the legal section of our App Store description.

       Continued use of GPS mnning in the background can dramatically decrease batte1y life. Facebook doesn't nm GPS in the background unless you give us
        ermission b tmnin on o tional features that re uire this.




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Hulu: Sti·eam TV & movies (App ID: 376510438)
        Date                                                                              Description
 June 5, 2010      HULU PLUS NOW AVAILABLE FOR LIMITED PREVIEW

                   Stream thousands of episodes from hwidreds of current and classic TV shows to your iPad, iPhone 3GS, iPhone 4, 3rd generation iPod Touch, computer,
                   TV, and other devices with a Hulu Plus subscription. Request an invite to preview the Hulu Plus subscription service for $9.99 a month at
                   http://www.hulu.com/plus.

                   Hulu users who upgrade to Hulu Plus receive many exclusive benefits:

                   • Get a full season pass and watch every current season episode of top TV shows from ABC, Fox, and NBC like Family Guy, Modem Family, Glee, 30
                   Rock, Saturday Night Live, The Office, The Simpsons, Grey's Anatomy, and many more. All episodes available all season long. Jump in and catch up on
                   the full season anytime.
                   • Enjoy full series rwis or back seasons of classic shows like The X-Files, Arrested Development, Buffy the Vampire Slayer, Desperate Housewives,
                   Roswell, Miami Vice, Angel, Saturday Night Live, Law and Order: SVU, Ally McBeal, Roswell, My So-Called Life, and many more. Thousands of
                   episodes from hwidreds of titles.
                   • Enjoy up to 720p HD resolution with multi-bitrate support for the optimal viewing experience for your screen resolution and network connection speed.
                   • Search and browse for shows and videos and manage your queue directly from your iPad, iPhone, and iPod Touch.
                   • Resume play from where you left off on other Hulu Plus devices including your computer and select mobile phones, internet-connected TVs, and Blu-
                   ray players.
                   • Watch over WiFi and 3G (on your iPhone 3GS, iPhone 4, and 3G iPads).

                   Hulu Plus brings all of this to you for only $9.99 a month. Request an invite to preview Hulu Plus at http://www.hulu.com/plus

                   Use ofHulu Plus is subiect to the Hulu Plus Tenns of Service: httn://vvww.hulu.corn/tenns
 January 1, 2011   Stream thousands of episodes from hwidreds of current and classic TV shows to your iPad, iPhone 3GS, iPhone 4, 3rd generation iPod Touch, computer,
                   TV, and other devices with a Hulu Plus subscription. Subscribe to Hulu Plus for $7.99 a month at http://v.rwv.r.hulu.com/plus.

                   Hulu users who upgrade to Hulu Plus receive many exclusive benefits:

                   • Get a full season pass and watch eve1y current season episode of top TV shows from ABC, Fox, and NBC like Family Guy, Modem Family, Glee, 30
                   Rock, Saturday Night Live, The Office, Grey's Anatomy, and many more. All episodes available all season long. Jump in and catch up on the full season
                   anytime.
                   • Enjoy full series rnns or back seasons of classic shows like The X-Files, Arrested Development, Buffy the Vampire Slayer, Desperate Housewives,
                   Roswell, Miami Vice, Angel, Saturday Night Live, Law and Order: SVU, Ally McBeal, Roswell, My So-Called Life, and many more. Thousands of
                   episodes from hwidreds of titles.
                   • Enjoy up to 720p HD resolution with multi-bitrate suppo1t for the optimal viewing experience for your screen resolution and network connection speed.
                   • Search and browse for shows and videos and manage your queue directly from your iPad, iPhone, and iPod Touch.
                   • Resume play from where you left off on other Hulu Plus devices including your computer and select mobile phones, internet-connected TVs, and Blu-
                   ray players.
                   • Watch over WiFi and 3G (on your iPhone 3GS, iPhone 4, and 3G iPads).

                   Hulu Plus brings all of this to you for only $7.99 a month. Subscribe to Hulu Plus at http://www.hulu.com/plus

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                                                                                                                                           Hulu: Stream TV & movies
      Date                                                                              Desniption
                  Use ofHulu Plus is subject to the Hulu Plus Terms of Service: htto://www.hulu.com/tenns
January 1, 2012   This application requires a Hulu Plus subscription.

                  Hulu Plus. The Hulu You Know+ More Shows and Movies + More Ways to Watch. Stream thousands of episodes from hundreds of current and classic
                  TV shows to your iPad, iPhone 3GS, iPhone 4, 3rd generation iPod Touch, computer, Tv, and other devices with a Hulu Plus subscription.

                  Hulu Plus subscribers receive many exclusive benefits:

                  • Get a full season pass and watch every current season episode of top TV shows from ABC, Fox, and NBC like Family Guy, Modem Family, Glee,
                  Saturday Night Live, The Office, Grey's Anatomy, and many more. All episodes available all season long. Jump in and catch up on the full season
                  anytime.
                  • Enjoy full series runs or back seasons of classic shows like The X-Files, Arrested Development, Buffy the Vampire Slayer, Desperate Housewives,
                  Roswell, Miami Vice, Angel, Saturday Night Live, Law and Order: SVU, Ally McBeal, Roswell, My So-Called Life, and many more. Thousands of
                  episodes from hundreds of titles.
                  • Enjoy up to 720p HD resolution with multi-bitrate support for the optimal viewing experience for your screen resolution and network connection speed.
                  • Search and browse for shows and videos and manage your queue directly from your iPad, iPhone, and iPod Touch.
                  • Reswne play from where you left off on other Hulu Plus devices including your computer and select mobile phones, internet-connected TVs, and Blu-
                  ray players.
                  • Watch over WiFi and 3G (on your iPhone 3GS, iPhone 4, and 3G iPads) .

                  Use of Hulu Plus is subiect to the Hulu Plus Terms of Service.
January 1, 2013   Download the app to enjoy unlimited instant streaming of cw1·ent hit TV shows. Requires a Hulu Plus paid subscription.

                  • Watch the full cwTent season of popular shows including Modem Family, The Office, Family Guy and many others
                  • Enjoy classic series including Lost and Battlestar Gallactica
                  • Resume watching from where you left off on your TV or other supported device
                  • Watch over WiFi, 3G and 4G
                  • Available with limited adve1tising

                  Hulu Plus suppo1is iPhone 3GS and newer, iPad, and 3rd generation iPod Touch and newer.

                  If you are experiencing any issues, please contact mobilesuooo1t@hulu.com
January 1, 2014   Download the app to e~joy unlimited instant streaming of current hit TV shows. Requires a Hulu Plus paid subscription.

                  • Watch the full current season of popular shows including Modem Family, The Office, Family Guy and many others
                  • Enjoy classic series including Lost and Battlestar Gallactica
                  • Reswne watching from where you left off on your TV or other supported device
                  • Watch over WiFi, 3G and 4G
                  • Available with limited advertising

                  Hulu Plus supports iPhone 3GS and newer, iPad, and 3rd generation iPod Touch and newer.

                  If you are exoeriencing any issues, olease contact mobilesuu~• u::::hulu.com
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                                                                                                                                             Hulu: Stream TV & movies
      Date                                                                               Desuiption
January 1, 2015   Share ""The Joy of the Seasons"" with friends and family this holiday. Watch full seasons of hit TV shows from the beginning on Hulu. Get unlimited
                  instant streaming of 1000s of cun-ent-season and library TV shows and hit movies - anytime, where for $7 .99/month.

                  • Watch cun-ent season episodes of hit shows like Brooklyn Nine-Nine, Modem Family, Sleepy Hollow, South Park and many more.
                  • Enjoy cwTent and previous seasons of Reality shows such as Top Chef and Keeping Up With the Kardashians; Kids programs including SpongeBob
                  Squarepants and Caillou; Latino series and top telenovelas; Hulu Original series and much more.
                  • Stream and control yow- viewing experience from yow- iPhone or iPad to yow- TV with Apple TY, Chromecast, Xbox One, PlayStation 3 and PlayStation
                  4 using the in-app remote control.
                  • Resume watching from where you left off on yow- TV or other supported device.
                  • Watch over WiFi, 3G and 4G.

                  Hulu Plus suppo11s iPhone 4 and above; iPad 2 and above, iPod touch 4th generation and above, all rnnning iOS 6 and above.

                  Please contact mobilesupport@hulu.com, if you are experiencing any issues.

                  If you are new to Hulu Plus, yow- Hulu Plus subscription fee will be charged $7.99/month through yow- iTunes account as a recwTing transaction, and will
                  automatically renew unless you cancel yow- account at least 24 how,; before the end of the cwTent subscription month. You can manage yow- subscription,
                  cancel anytime, or tum off auto-renewal by accessing yow- iTunes account. Hulu Plus is available to US customers only.

                  Hulu's TemlS of Use: http://v.rww.hulu.com/terms
                  Hulu's Privacy Policy: htto://v.rww.hulu.com/privacy
Januuy 1, 2016    Watch this season of your favorite shows and the hottest new series. Get into the commercial-free spirit, and stream the shows you love through either our
                  new No Commercials plan or our existing Limited Commercials plan. Dive into all nine seasons of Seinfeld along with thousands of full seasons of top
                  shows. You can also add SHOWTIME® directly through Hulu

                  • Watch the latest episodes of shows like Empire, Tue Mindy Project, Once Upon a Time, Tue Last Man on Earth, Tue Voice, South Park, and many more.
                  • Enjoy previous seasons of Seinfeld, CSI: Crime Scene Investigation, Tue Last Ship, American Hon-or Story, and more.
                  • Stream popular kids programs including Adventure Time, Doc McStuffins, SpongeBob SquarePants, and classics such as Doug and Rugrats; Latino
                  series and top telenovelas; Hulu Original series Casual, Difficult People, and the Emmy® n01ninated East Los High; and much more.
                  • Stream and control your viewing experience from your iPhone or iPad to your TV with Apple TY, Chromecast, Xbox One, PlayStation 3 and PlayStation
                  4 using the in-app remote control.
                  • Use your Apple watch as a remote to control playback experience and captions on Xbox One, PS3, PS4, and Chromecast.
                  • Reswne watching from where you left off on your TV or other supported device.
                  • Set Kids Lock on your device so your kids are restricted to the Kids hub.
                  • Watch over WiFi, 3G and 4G.


                  Hulu supports iPhone 4 and above; iPad 2 and above, iPod touch 4th generation and above, all rnnning iOS 8 and above.

                  Please contact mobilesupport@hulu.com, if you are experiencing any issues.

                  If you are new to Hulu, your base Hulu subscription fee will be charged $7.99/month for our Limited Commercials plan or $13.99/month for our No
                  Commercials olan through your iTunes account as a recurring transaction. Payment will automatically renew unless you cancel your account at least 24
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                                                                                                                                               Hulu: Stream TV & movies
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                  hours before the end of the current subscription month. You can manage your subscription, cancel anytime, or turn off auto-renewal by accessing your
                  iTunes account. Hulu is available to US customers only.

                  Hulu's Tenns of Use: http://www.hulu.com/tenns
                  Hulu's Privacy Policy: http://vvww.hulu.com/privacy

                  This app features third party software which enables third parties to calculate measurement statistics (e.g., Nielsen's TV Ratings). To learn more about
                  digital measurement products and your choices in regard to them, including opting out, please visit our privacy policy. You can also find more infonnation
                  about Nielsen measurement in the settings area of this app.

                  We may work with mobile advertising companies to help deliver online and in-app advertisements tailored to your interests based on your activities on
                  our website and apps and on other, unaffiliated website and apps. To learn more about this, visit wvvw.aboutads.info. To opt-out of online interest-based
                  advertising, visit wvvw.aboutads.info/choices. To opt-out of cross-app advertising, you may download the App Choices app at
                  www.aboutads.info/appchoices. We are committed to complying with the DAA's Self-Regulatory Principles for Online Behavioral Advertising and the
                  DAA's Aoolication of Self-Re1mlatory Principles for the Mobile Environment.
January 1, 2017   Hulu brings you instant access to all of your favorite television shows, the hottest new series and the latest movies, all in one place. Watch premium
                  original series, full seasons of hit shows, cun-ent episodes, movies, trailers, kids shows, ca1toons, family films and more. Hulu has an amazing library of
                  VOD content including shows in HD from FOX, NBC, HBO, NBC, Disney, ABC, CBS, Comedy Central, Ca1toon Netv.•ork, PBS, FX, USA Network,
                  A&E, MTv, Miramax & many more.

                  Hulu gives you the latest episodes of popular shows like Nashville, Bones, The Bachelor, Powerpuff Girls, The Path, Empire and past seasons of hit
                  shows like Seinfeld, South Park, and Parks and Recreation. Hulu also has top cable series like Fear The Walking Dead, Fargo, hlsideAmy Schumer and
                  much more.

                  There are also great hit movies and trailers to watch and stream on Hulu - from family and kids movies to cartoons to comedy- hlterstellar, Teenage
                  Mutant Ninja Tmtles, The Hunger Games and many more. The entire family can enjoy full seasons of hit cun-ent television shows from ABC, FOX, HBO,
                  NBC and CBS, great films and cartoons, many in HD and VOD, with Hulu you can start enjoying the cool world of streaming entertainment instantly.

                  Watch your shows, movies or trailers for new hit fihns without interruption; stream everything you love with our No Commercials plan. Choose our
                  Limited Commercials plan, which has fewer ads than broadcast TV for a lower price. You can also add SHOWTIME® directly through Hulu to enjoy
                  popular award-winning premium series and movies.

                  Features:
                  • Catch the la.test HD episodes of cun-ent television shows from ABC, FOX, HBO and CBS like Empire, Grey's Anatomy, Once Upon A Time, The Last
                  Man on Earth and Blindspot. Watch VOD premium original series like The Path, 11.22.63, The Mindy Project, Casual, East Los High, Difficult People
                  and many more.
                  • Enjoy previous seasons of cool shows like Seinfeld, CSI: Crime Scene hlvestigation, South Par·k, Law & Order: SVU.
                  • Stream popular· kids fihns, cartoons and television progralllS including Curious George, Adventure Time, Doc McStuffins, SpongeBob SquarePants, and
                  classics such as Doug and Rugrats. Watch great kids shows from Cartoon Netv.•ork, Disney, Nickelodeon and other great kids TV networks.
                  • Keep your family safe, give your children the Disney cartoons and CN fun they want but set Kids Lock so yom· kids are restricted to the Kids hub.
                  • Get VOD access to episodes of some of TV's greatest shows as well as HD strealllS (when available).
                  • Choose the la.test popular· progralllS and cool classics from FOX, NBC, HBO, ABC, CBS, Comedy Central, Cartoon Network, PBS, FX, Disney, USA
                  Netv.•ork, A&E, MTV, Miramax, all on demand.
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                                                                                                                                               Hulu: Stream TV & movies
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                  Hulu brings you ente1tainment for eve1yone. Download the app today and stait watching your favorite tv shows and movies plus catch trailers for the
                  latest hit films now.

                  Please visit https://help.hulu.com if you ai·e experiencing any issues.

                  TemlS of Use: http://v.rww.hulu.com/terms
                  Privacy Policy: http://wv.rw.hulu.com/privacy

                  This app features third party softwai·e, which enables third paities to calculate measurement statistics (e.g., Nielsen's TV Ratings). To learn more about
                  digital measurement products, please visit our privacy policy.

                  We may work with mobile adve1tising companies to help deliver online and in-app adve1tisements tailored to yow· interests based on your activities on
                  ow· website and apps and on other, unaffiliated website and apps. To leam more about this, visit wv.rw.aboutads.info. To opt-out of online interest-based
                  adve1t ising, visit wv.rw.aboutads.info/choices. To opt-out of cross-app adve1tising, you may download the App Choices app
                  at wwv.•.aboutads.info/appchoices. We ai·e committed to complying with the DAA's Self-Regulato1y Principles for Online Behavioral Adve1tising and the
                  DAA's Aoolication of Self-Reimlatorv Principles for the Mobile Environment.
January 1, 2018   Enjoy all your TV in one place with a new Hulu experience - more personalized and intuitive than ever before.

                  If you select a plan featuring Hulu's entire streaming library, you can now e~joy your favorites in the new Hulu experience. Or if you've subscribed
                  through Hulu to a plan with Live TV*, you can enjoy the entire Hulu streaming library, 50+ top Live and On Demand channels, along with thousands of
                  popular on-demand titles from these channels.

                  Hulu Subscribers
                  Enjoy Hulu's huge streaining library featuring current and past seasons from many popular shows streaming exclusively on Hulu including Seinfeld,
                  South Park, Fargo and Fear the Walking Dead; bold Hulu Originals you can't stream anywhere else, including The Handmaid's Tale, Harlots, The Mindy
                  Project, and Casual; along with current shows, hit movies, kids series and more from many top channels including FOX, NBC, Disney Channel, ABC,
                  Cartoon Network, FX and A&E. Limited and commercial-free options are available for Hulu plans without Live TV.
                  You'll enjoy features that help you customize how you watch TV:
                  •         Create up to 6 personalized profiles for the whole household. E~joy your ovvn collection of shows, movies, networks, and more.
                  •         Track your favorites with My Stuff. Add shows, networks, and movies for quick access across your devices.
                  •         The more you watch, the better it gets. Enjoy a reimagined TV experience that adjusts to your tastes every time you use Hulu.

                  Hulu with Live TV Subscribers
                  If you have subscribed to a Hulu plan with Live Tv, you can enjoy the entire Hulu streaining library, plus over 50 top Live and On Demand channels,
                  including FOX, ABC, NBC, CBS, ESPN, FX, NBCSN, FSl, History Channel and TNT. Watch live sports from top pro and college leagues plus regional
                  sports networks available in many areas. Plus, enjoy national news with local feeds available in select cities, popular kids shows, can't-miss events, and
                  thousands of popular on-demand shows and movies from many of these channels.
                  Plus, you can enjoy additional features:
                  •        Record Live TV with your Cloud DVR to watch your favorites anytime.
                  •        Watch concurrent streaillS on multiple devices
                  •        Track and record games from your favorite tea111S with My TeaillS
                  •        Browse while vou watch with Fliotrav for recommendations of what to watch next.
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                                                                                                                                                 Hulu: Stream TV & movies
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                  *Hulu with Live TV available on Apple TV Gen. 4.
                  If you're new to Hulu, your base Hulu subscription fee will be $7 .99/month for the Limited Commercials plan or $11.99/month for the No Commercials
                  plan. You'll be charged as a recurring transaction through your iTunes account starting the end of your free trial (unless you cancel during the free trial).
                  Payment will automatically renew unless you cancel your account at least 24 hours before the end of the current subscription month. You can manage
                  your subscription, cancel anytime, or turn off auto-renewal by accessing your iTunes account. Hulu is available to US customers only.

                  Terms of Use: http://vvww.hulu.com/tenns

                  Privacy Policy: http://wvvw.hulu.com/privacy

                  This app features third party software, enabling third parties to calculate measurement statistics (e.g., Nielsen's TV Ratings) .

                  We may work with mobile advertising companies to help deliver online and in-app advertisements tailored to your interests based on your activities on
                  our website and apps and on other, unaffiliated website and apps. To learn more, visit www.aboutads.info. To opt-out of online interest-based advertising,
                  visit www.aboutads.info/choices. To opt-out of cross-app advertising, download the App Choices app at wvvw.aboutads.info/appchoices. Hulu is
                  committed to complying with the DAA's Self-Regulatory Principles for Online Behavioral Advertising and the DAA's Application of Self-Regulatory
                  Principles for the Mobile Environment
January 1, 2019   Enjoy all your TV in one place with a new Hulu experience - more personalized and intuitive than ever before.

                  The choice is yours - select a plan featuring Hulu's entire streaming library, or if you've subscribed through Hulu to a plan that includes Live TV*, enjoy
                  the entire library plus 50+ top live and on demand channels.

                  Hulu:
                  Watch TV anywhere with a huge streaming libra1y featuring cwTent and past seasons from many popular shows exclusively on Hulu including Seinfeld,
                  This is Us, South Park and Fear the Walking Dead; bold Hulu Originals you can't stream anywhere else including The Handmaid's Tale, Harlots, The
                  Mindy Project, and Casual; along with cwTent shows, hit movies, kid's series and more from many top channels including FOX, NBC, Disney Channel,
                  ABC, Ca1t oon Netv.•ork, FX andA&E. Limited and commercial-free options are available for Hulu plans without Live TV.

                  Hulu with Live TV:
                  Enjoy the entire Hulu streaming librruy, plus over 50 top Live and On Demand channels, including FOX, ABC, NBC, CBS, ESPN, FX, NBCSN, FS l,
                  Histo1y Channel and TNT. Watch live spo1ts from top pro and college leagues plus regional spo1ts networks available in many ru·eas. Plus, enjoy national
                  news with local feeds available in select cities, populru· kids shows and can't-miss events.

                  Features for Eve1yone:
                  With any subscription, you' ll enjoy features that help you customize how you watch TV.
                           The more you watch, the better it gets. Enjoy a reimagined TV experience that adjusts to your tastes eve1y time you use Hulu.
                           Create up to 6 personalized profiles for the whole household. Enjoy your own collection of shows, movies, networks, and more.
                           Track your favorites with My Stuff. Add shows, networks, and movies for quick access across yow· devices.
                           Browse while you watch with Fliptray for recommendations of what to watch next.

                  Features for Hulu with Live TV:
                  If you've already siQtled up for Hulu with Live TY, enioy additional features:
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                                                                                                                                                 Hulu: Stream TV & movies
      Date                                                                            Desniption
                           Record Live TV with yow- Cloud DVR to watch yow- favorites anytime.
                           Watch concw1·ent streams on multiple devices
                           Track and record games and shows from yow- favorite teams with My Teams

                  *Hulu with Live TV plan only available on Apple TV Gen. 4 or iPhone/iPad mnning iOS 10 or later.

                  Download the Hulu app now, and start enj oying Hulu's Limited Commercial or No Commercial plans.

                  If you're new to Hulu, yow· base Hulu subscription fee will be $7.99/month for the Limited Commercials plan or $11 .99/month for the No Commercials
                  plan. You'll be charged as arecwring transaction through yow- iTunes account starting the end of yow- free trial (unless you cancel dw-ing the free trial).
                  Payment will automatically renew unless you cancel yow- account at least 24 how·s before the end of the cwrent subscription month. You can manage
                  yow- subscription, cancel anytime, or tw-n off auto-renewal by accessing yow- iTunes account. Hulu is available to US customers only.

                  Temis of Use: http://v.rww.hulu.com/tenns

                  Privacy Policy: http://www.hulu.com/privacy

                  This app featw-es third party software, enabling third parties to calculate measw-ement statistics (e.g., Nielsen's TV Ratings) .

                  We may work with mobile advertising companies to help deliver online and in-app advertisements tailored to yow- interests based on yow- activities on
                  ow· website and apps and on other, unaffiliated website and apps. To learn more, visit www.aboutads.info. To opt-out of online interest-based advertising,
                  visit www.aboutads.info/choices. To opt-out of cross-app advertising, download the App Choices app at www.aboutads.info/appchoices. Hulu is
                  committed to complying with the DAA's Self-Regulato1y Principles for Online Behavioral Adve1tising and the DAA's Application of Self-Regulato1y
                  Principles for the Mobile Environment.

                  Hulu, LLC
                  Web Site
                  Hulu: Watch TV Shows & Stream the Latest Movies
                  Suooo1t
January 1, 2020   Only Hulu gives you access to the largest streaming library so you can watch thousands of shows and movies, exclusive Originals, past seasons, current
                  episodes, and more on yow- favorite devices. Plus, you have the option to watch Live TV for sports, news, and can't-miss events.

                  Enjoy all yow- TV in one place in a personalized experience with the plan that works best for you -     Hulu, Hulu (No Ads), or Hulu + LIVE TV*.

                  These featw-es are available on all Hulu plans:
                  • Enjoy a TV experience that adjusts to your tastes every time you watch
                  • Create up to 6 personalized profiles so everyone can keep track of their own shows, movies, networks, and more
                  • Track your favorites with My Stuff, adding shows, networks, and movies for quick access across your devices
                  • Watch at home or on the go--all on your TV, smartphone, or tablet
                  • Add premium networks like HBO®, SHOWTIME®, CINEMAX®, and STARZ® for an additional monthly subscription fee
                  • No hidden fees, equipment rentals, or installation appointments

                  Hulu
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                                                                                                                                                Hulu: Stream TV & movies
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                  Our ad-supported plan gives you access to the largest streaming library. Stream over 85,000 episodes of the shows you love or haven't yet discovered.
                  Find classic hits like Seinfeld and The Golden Girls. Watch today's most popular shows like This is Us and The Good Doctor. Get exclusive Originals
                  from Emmy® winner The Handmaid's Tale to the Stephen King-inspired Castle Rock, or the hit Marvel's Runaways.

                  Hulu (No Ads)
                  This plan gives you everything you get with the Hulu plan in an ad-free* experience. *There are a few shows in our streaming library that are not included
                  in Hulu (No Ads) due to streaming rights. Episodes of those shows will stream uninterrupted - there will just be a quick ad before and after each video.

                  Hulu + LIVE TV
                  Watch live and on-demand TV from 60+ top channels, including sports, news, and more. Plus, get unlimited access to the entire Hulu streaming library
                  through our ad-supported plan. No contracts, no cable required.

                  Hulu + Live TV plan only available on Apple TV Gen. 4, iPod Touch Gen. 6, 4K Apple TY, or iPhone/iPad running iOS 12 or later.

                  Download the Hulu app now and start watching.

                  You' ll be charged as a recurring transaction through your iTunes account starting at the end of your free trial (unless you cancel during the free trial).
                  Payment automatically renews unless you cancel your account at least 24 hours before the end of the current subscription month. You can manage your
                  subscription, cancel anytime, or turn off auto-renewal by accessing your iTunes account. Hulu is available to U.S. customers only.

                  Terms of Use: http://vvww.hulu.com/tenns

                  Privacy Policy: http://wvvw.hulu.com/privacy

                  This app features third party software which allows you to contribute to measurement statistics (e.g., Nielsen's TV Ratings). To learn more about digital
                  measurement products and your choices in regard to them, including opting out, please visit our privacy policy. Please see
                  http://www.nielsen.com/digitalprivacy for more infonnation about Nielsen measurement.

                  We may work with mobile advertising companies to help deliver online and in-app advertisements tailored to your interests based on your activities on
                  our website and apps and on other, unaffiliated website and apps. To learn more, visit www.aboutads.info. To opt-out of online interest-based advertising,
                  visit www.aboutads.info/choices. To opt-out of cross-app advertising, download the App Choices app at wvvw.aboutads.info/appchoices. Hulu is
                  committed to complying with the DAA's Self-Regulatory Principles for Online Behavioral Advertising and the DAA's Application of Self-Regulatory
                  Principles for the Mobile Environment.

                  Hulu, LLC
                  Web Site: www.hulu.com
                  Sunnort: (888) 265-6650
January 1, 2021   With Hulu you can watch thousands of TV shows and movies, exclusive Originals, past seasons, cun-ent episodes, and more.

                  If you're an existing Hulu subscriber, you have the option to watch Live TV for spo1is, news, and can't-miss events on the device of your choice. That
                  means you can enjoy all your TV in one place with a personalized plan that works for you-Hulu, Hulu (No Ads), or Hulu +Live TV* .

                  *Regional restrictions, blackouts and additional terms aoolv.
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                                                                                                                                      Hulu: Stream TV & movies
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       Stream movies, discover new shows, and more. Here's what you have access to on all Hulu plans:

       • A CUl'ated TV experience--get personalized recommendations every time you watch
       • Personalized profiles---create up to 6 profiles so everyone can keep track of their shows, movies, networks, and more
       • My Stuff- track yoW' favorites by adding shows, networks, and movies for quick access across yoW' devices
       • Watch at home or on the go--all on yoW' TV, smartphone, or tablet
       • Premium networks-Get networks including HBO®, SHOWTIME®, CINEMAX®, and STARZ® for an additional monthly subscription fee

       OW' ad-supported plan lets you browse the largest streanung libra1y. Stream over 85,000 episodes of the shows you love or haven't yet discovered. Find
       classic hits like Seinfeld and The Golden Girls. Discover today's most popular shows like This is Us and The Good Doctor. Get exclusive Originals from
       Emmy® winner The Handmaid's Tale to the Stephen King-inspired Castle Rock, or The Act, staffing Emmy® winner Patricia Arquette.

       Hulu (No Ads)

       This plan gives you eve1ything you get with the Hulu plan in an ad-free* experience. *There are a few shows in OW' streaming libraty that are not included
       in Hulu (No Ads) due to streanung rights. Episodes of those shows will stream unintenupted - there will just be a quick ad before and after each video.
       Plus, you can dov.'Ilload from thousands of titles to watch offline.*

       *Select content available for download.

       Hulu + Live TV

       Watch live and on-demand TV from 60+ top channels, including spo1ts, news, and more. Plus, get unlimited access to the entire Hulu streruning libraty
       through OW' ad-supported plan.

       Hulu + Live TV plan only available on Apple TV Gen. 4, iPod Touch Gen. 6, 4K Apple TY, or iPhone/iPad mnning iOS 12 or later.

       Download the Hulu a.pp and strut watching today.

       You' ll be charged as a recwring transaction through yoW' iTunes account starting at the end of yoW' free trial (unless you cancel dW'ing the free trial).
       Payment automatically renews unless you cancel yoW' account at least 24 hoUl's before the end of the cw1·ent subscription month. You can manage yoW'
       subscription, cancel anytime, or tum off auto-renewal by accessing yoW' iTunes account. Hulu is available to U.S. customers only.

       Temts of Use : http://www.hulu.com/temts
       Privacy Policy : http://www.hulu.com/privacy
       YoW' California Privacy Rights: https://www.hulu.com/ca-privacy-rights
       Do Not Sell My Personal fufo1mation: https://www.hulu.com/do-not-sell-my-info

       This app featUl'es third party softwru·e which allows you to contribute to measUl'ement statistics (e.g., Nielsen's TV Ratings). To lea.in more about digital
       measUl'ement products and yoW' choices in regard to them, including opting out, please visit OW' privacy policy. Please see
       http://www.nielsen.com/digitalprivacy for more infonnation about Nielsen measw·ement.


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                                                                                                                                             Hulu: Stream TV & movies
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                  We may work with mobile advertising companies to help deliver online and in-app advertisements tailored to your interests based on your activities on
                  our website and apps and on other, unaffiliated websites and apps. To learn more, visit www.aboutads.info. To opt-out of online interest-based advertising,
                  visit WW\¥.aboutads.info/choices. To opt-out of cross-app adve1tising, download the App Choices app at W\¥w.aboutads.info/appchoices. Hulu is
                  committed to complying with the DAA's Self-Regulatory Principles for Online Behavioral Advertising and the DAA's Application of Self-Regulato1y
                  Principles for the Mobile Environment.

                  Hulu, LLC
January 1, 2022   With Hulu you can watch thousands of TV shows and movies, exclusive Originals, past seasons, current episodes, and more.

                  If you're an existing Hulu subscriber, you have the option to watch Live TV for sports, news, and can't-miss events on the device of your choice. That
                  means you can enjoy all your TV in one place with a personalized plan that works for you--Hulu, Hulu (No Ads), or Hulu +Live TV*.

                  *Regional restrictions, blackouts and additional terms apply.

                  Stream movies, discover new shows, and more. Here's what you have access to on all Hulu plans:

                  • A curated TV experience--get personalized recommendations every time you watch
                  • Personalized profiles--create up to 6 profiles so everyone can keep track of their shows, movies, networks, and more
                  • My Stuff- track your favorites by adding shows, networks, and movies for quick access across your devices
                  • Watch at home or on the go--all on your TV, smartphone, or tablet
                  • Premium network~et networks including HBO®, SHOWTIME®, CINEMAX®, and STARZ® for an additional monthly subscription fee

                  Our ad-supported plan lets you browse the largest streaming library. Stream over 85,000 episodes of the shows you love or haven't yet discovered. Find
                  classic hits like Seinfeld and The Golden Girls. Discover today's most popular shows like This is Us and The Good Doctor. Get exclusive Originals from
                  Emmy® winner The Handmaid's Tale to the Stephen King-inspired Castle Rock, or The Act, starring Emmy® winner Patricia Arquette.

                  Hulu (No Ads)

                  This plan gives you everything you get with the Hulu plan in an ad-free* experience. *There are a few shows in our streaming library that are not included
                  in Hulu (No Ads) due to streaming rights. Episodes of those shows will stream uninterrupted - there will just be a quick ad before and after each video.
                  Plus, you can dovvnload from thousands of titles to watch offline.*

                  *Select content available for download.

                  Hulu + Live TV

                  Watch live and on-demand TV from 60+ top channels, including sports, news, and more. Plus, get unlimited access to the entire Hulu streaming library
                  through our ad-supported plan.

                  Hulu + Live TV plan only available on Apple TV Gen. 4, iPod Touch Gen. 6, 4KApple TY, or iPhone/iPad running iOS12 or later.

                  Download the Hulu app and start watching today.


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                                                                                                                                                Hulu: Stream TV & movies
      Date                                                                               Desniption
                  You' ll be charged as a recurring transaction through your iTunes account starting at the end of your free trial (unless you cancel during the free trial).
                  Payment automatically renews unless you cancel your account at least 24 hours before the end of the current subscription month. You can manage your
                  subscription, cancel anytime, or turn off auto-renewal by accessing your iTunes account. Hulu is available to U.S. customers only.

                  Terms of Use: http://vvww.hulu.com/tenns
                  Privacy Policy: http://wvvw.hulu.com/privacy
                  Your California Privacy Rights: https://www.hulu.com/ca-privacy-rights
                  Do Not Sell My Personal Infonnation: https://www.hulu.com/do-not-sell-my-info

                  This app features third party software which allows you to contribute to measurement statistics (e.g., Nielsen's TV Ratings). To learn more about digital
                  measurement products and your choices in regard to them, including opting out, please visit our privacy policy. Please see
                  http://www.nielsen.com/digitalprivacy for more infonnation about Nielsen measurement.

                  We may work with mobile advertising companies to help deliver online and in-app advertisements tailored to your interests based on your activities on
                  our website and apps and on other, unaffiliated websites and apps. To learn more, visit www.aboutads.info. To opt-out of online interest-based advertising,
                  visit www.aboutads.info/choices. To opt-out of cross-app advertising, download the App Choices app at wvvw.aboutads.info/appchoices. Hulu is
                  committed to complying with the DAA's Self-Regulatory Principles for Online Behavioral Advertising and the DAA's Application of Self-Regulatory
                  Principles for the Mobile Environment.

                  Hulu.LLC"
January 1, 2023   Immerse yourself in your favorite stories with Hulu. Laugh, c1y, and stream your way through thousands of TV shows and movies. From award-winning
                  shows and movies to exclusive Originals- your favorite entertainment is only a download a:way.

                  Ah-eady a subscriber? Level up to enjoy Live TV and the la.test sports, news, and events on your favorite devices. You're in control: Hulu has multiple
                  options to personalize a. plan that works best for you or your fatnily-Hulu, Hulu (No Ads), or Hulu +Live TV*.

                  *Regional restrictions, blackouts and additional terms apply.

                  No matter which plan you choose, Hulu offers:

                  TV designed for you-Hulu remembers what you watch and gives you personalized recommendations
                  Separate profiles---crea.te up to 6 profiles so people can watch Hulu the way they want
                  Track your favorites-save movies or TV to your profile to continue where you left off
                  Your favorite device, any time--watch on your TY, smai1phone, or tablet and don't miss a beat
                  Premium networks-forget cable with access to SHOWTIME®, CINEMAX®, and STARZ® for an additional monthly subscription fee

                  Our ad-supported plan lets you browse our huge streaming library. Stream tons of shows you love or haven't yet discovered. Discover some of today's
                  most popular shows like This is Us, The Good Doctor, Fatnily Guy, Atlanta, Dave, Bob's Burgers, It's Always Sunny in Philadelphia and much more. Get
                  exclusive Originals from Emmy® winner The Handmaid's Tale to The Dropout, or The Act, stan-ing Emmy® winner Patricia Arquette.

                  Hulu (No Ads)



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                                                                                                                                     Hulu: Stream TV & movies
Date                                                                            Desniption
       This plan gives you everything you get with the Hulu plan in an ad-free* experience. *There are a few shows in our streaming library that are not included
       in Hulu (No Ads) due to streaming rights. Episodes of those shows will stream unintem1pted - there will just be a quick ad before and after each video.
       Plus, you can download thousands of titles to watch offline. *

       *Select content available for dov.'Ilload.


       Hulu + Live TV


       Watch live and on-demand TV from 75+ top channels, including sports, news, and more. Plus, get unlimited access to the entire Hulu streaming libraiy
       through our ad-suppo1ted plan.

       Hulu + Live TV plan only available on Apple TV Gen. 4, iPod Touch Gen. 6, 4KApple Tv, or iPhone/iPad running iOS12 or later.

       Download the Hulu app and start watching today.

       You 'll be charged as a recw1·ing transaction through your iTunes account staiting at the end of your free trial (unless you cancel during the free trial).
       Payment automatically renews unless you cancel your account at least 24 hours before the end of the cun-ent subscription month. You can manage your
       subscription, cancel anytime, or twn off auto-renewal by accessing your iTunes account. Hulu is available to U.S. customers only.

       Terms of Use: http://www.hulu.com/te11ns
       Privacy Policy: http://www.hulu.com/privacy
       Your California Privacy Rights: https://www.hulu.com/ca-privacy-rights
       Do Not Sell My Personal Information: https://www.hulu.com/do-not-sell-my-info

       This app features tlurd paity softwai·e which allows you to contribute to measurement statistics (e.g., Nielsen's TV Ratings). To leam more about digital
       measurement products and your choices in regard to them, including opting out, please visit ow· privacy policy. Please see
       http://www.nielsen.com/digitalprivacy for more info1mation about Nielsen measurement.

       We may work with mobile adve1tising compaiues to help deliver online and in-app adve1tisements tailored to your interests based on yow· activities on
       our website and apps and on other, unaffiliated websites and apps. To leam more, visit www.aboutads.info. To opt-out of online interest-based advertising,
       visit www.aboutads.info/choices. To opt-out of cross-app adve1tising, download the App Choices app at www.aboutads.info/appchoices. Hulu is
       collllllitted to complying with the DAA's Self-Regulatory Principles for Online Behavioral Adve1t ising and the DAA's Application of Self-Regulato1y
       Principles for the Mobile Environment.


       Hulu, LLC




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Instagram (App ID: 389801252)
      Name                                                                                 Description
 August 27, 2010   Instagram is an amazingly fun & simple life-sharing app for your iPhone. Snap photos wherever you go to show the world what's going on in your life.
                   Follow your friends' photo updates as they move through the world. Select from photo filters that transform regular ol' photos into works of art you'll
                   want to keep around forever.

                   Features include:
                   - Apply over a dozen fun & beautiful filters to your photos
                   - Post as many photos as you want, for free
                   - Find and follow friends who are using the app
                   - Attach (optional) location infonnation to any of your posts
                   - Share your posts to Twitter, Tumblr, Flickr, & Facebook
                   - Check in to Foursquare when you post a photo with a location
                   - Let your friends know what you think by liking & commenting on their photos
                   - View the most popular photos around the world from Instagram users
                   - Supports 3G, 3GS and iPhone 4 phones
                   - Full iPhone 4 camera suooort
 January 1, 2011   Instagram is an amazingly fun & simple life-sharing app for your iPhone. Snap photos wherever you go to show the world what 's going on in your life.
                   Follow your friends ' photo updates as they move through the world. Select from photo filters that transfo1m regular ol' photos into works of art you' ll
                   want to ke.ep around forever.

                   Features include:
                   - Apply over a dozen fun & beautiful filters to your photos
                   - Post as many photos as you want, for free
                   - Find and follow friends who are using the app
                   - Attach (optional) location infonnation to any of your posts
                   - Share your posts to Twitter, Tumblr, Flickr, Posterous, & Facebook
                   - Check in to Foursquare when you post a photo with a location
                   - Let your friends know what you think by liking & commenting on their photos
                   - View the most popular photos around the world from Instagram users
                   - Suppo1ts first generation, 3G, 3GS and iPhone 4 phones
                   - Full iPhone 4 front & back camera suoo01t
 Januuy 1, 2012    * * * * * Instagram
                   15 million users love Instagram! It's a free, fun, and simple way to make and share gorgeous photos on your iPhone.

                   Pick from one of several gorgeous filtered effects or tilt-shift blur to breathe a new life into your mobile photos. Transform everyday moments into works
                   of art you'll want to share with friends and family.

                   Share your photos in a simple photo stream with friends to see - and follow your friends' photos with the click of a single button. Every day you open up
                   Instagram, you'll see new photos from your closest friends, and creative people from around the world.

                   Features

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                  * 100% free custom designed filters and borders such as XPro-11, Earlybird, Rise, Amaro, Hudson, Lomo-fi, Sutro, Toaster, Brannan, Inkwell, Walden,
                  Hefe, Nashville, 1977, and others.
                  * Linear and Radial Tilt-Shift blur effects for extra depth of field.
                  * Instant sharing to Facebook, Twitter, Flickr, Tumblr, Foursquare, and Posterous
                  * Unlimited uploads
                  * Interact with friends through giving & receiving likes and comments
                  * Works with first generation, 3G, 3GS and iPhone 4
                  * Full iPhone 4 front & back camera support
                  * And much much more...
January 1, 2013   * * * * * Instagram
                  80 million users love Instagram! It's a free, fun, and simple way to make and share gorgeous photos on your iPhone.

                  Pick from one of several gorgeous filtered effects or tilt-shift blur to breathe a new life into your mobile photos. Transfo1m everyday moments into works
                  of a1t you'll want to share with friends and family.

                  Share your photos in a simple photo stream with friends to see - and follow your friends' photos with the click of a single button. Every day you open up
                  Instagram, you'll see new photos from your closest friends, and creative people from around the world.

                  Features

                  *  100% free custom designed filters and borders such as XPro-11, Earlybird, Rise, Amaro, Hudson, Lo-fi, Sutro, Toaster, Brannan, Inkwell, Walden, Hefe,
                  Nashville, 1977, and others.
                  *  Linear and Radial Tilt-Shift blur effects for extra depth of field.
                  *  Instant sharing to Facebook, Twitter, Flickr, Tumblr, Foursquare, and Posterous
                  *  Unlimited uploads
                  *  Interact with friends through giving & receiving likes and comments
                  *  Full iPhone 4 front & back camera support
                  * And much much more...
January 1, 2014   Instagram

                  Over 150 million users love Instagra.m!

                  It's a simple way to capture and share the world's moments on your iPhone. Customize your photos and videos with one of several gorgeous and custom
                  built filter effects. Transform everyday moments into works of art you'll want to share with friends and family.

                  Share your photos and videos with friends and followers in a photo feed, or send posts directly to your friends.
                  Follow what your friends post with the click of a single button. Every time you open up Instagram, you'll see new photos and videos from your closest
                  friends and creative eo le from around the world.

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                  Features
                  • 100% free custom designed filters: XPro-II, Earlybird, Rise, Amaro, Hudson, Lo-fi, Sutro, Toaster, Brannan, Inkwell, Walden, Hefe, Nashville, 1977,
                  and others.
                  • Video recording with breathtaking cinematic stabilization.
                  • Linear and Radial Tilt-Shift blur effects for extra depth of field
                  • Instant sharing to Facebook, Twitter, Flickr, Twnblr and Foursquare
                  • Unlimited uploads
                  • Send photos and videos directly to friends
                  • Interact with friends through giving & receiving likes and comments
                  • Full iPhone 4 front & back camera support
                  • And much much more...
January 1, 2015   Instagram

                  Over 300 million users love Instagram!

                  It's a simple way to capture and share the world's moments on yow· iPhone. Customize yow· photos and videos with one of several gorgeous and custom
                  built filter effects. Transform eve1yday moments into works of a1t you'll want to share with friends and family.

                  Share your photos and videos with friends and followers in a photo feed, or send posts directly to your friends.
                  Follow what your friends post with the click of a single button. Eve1y time you open up Instagram, you'll see new photos and videos from your closest
                  friends, and creative people from around the world.


                  Features
                  • 100% free custom designed filters: XPro-II, Earlybird, Rise, Amaro, Hudson, Lo-fi, Sutro, Toaster, Brannan, Inkwell, Walden, Hefe, Nashville, 1977,
                  Slumber, Crema, Ludwig, Aden and Perpetua.
                  • Video recording with breathtaking cinematic stabilization.
                  • Linear and Radial Tilt-Shift blw· effects for extra depth of field
                  • Instant sharing to Facebook, Twitter, Flickr, Tumblr and Foursquare
                  • Unlimited uploads
                  • Send photos and videos directly to friends
                  • Interact with friends through giving & receiving likes and comments
                  • Full iPhone 4 front & back camera support
                  • And much much more .. .
January 1, 2016   Instagram is a simple way to capture and share the world's moments. Transfonn your everyday photos and videos into works of art and share them with
                  your family and friends.

                  See the world through somebody else's eyes by following not only the people you know, but inspirational Instagrammers, photographers, athletes,
                  celebrities and fashion icons. Every time you open Instagram, you'll see new photos and videos from your closest friends, plus breathtaking moments
                  shared by creative people across the globe.


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                  Over 400 million people use Instagram to:

                  * Edit photos and videos with free, custom-designed filters.
                  * Improve photos with 10 advanced creative tools to change brightness, contrast and saturation as well as shadows, highlights and perspective.
                  * Find people to follow based on the accounts and photos they already love.
                  * Make videos look cinematic with Instagram's custom-built stabilization.
                  * Instantly share photos and videos on Facebook, Twitter, Tumblr and other social networks.
                  * Connect with Instagrammers all over the world and keep up with their photos and videos.
                  * Send private photo and video messages directly to friends.
                  * Use Handoffto switch between our A le Watch and our iPhone
January 1, 2017   Instagram is a simple way to capture and share the world's moments. Follow your friends and family to see what they're up to, and discover accounts
                  from all over the world that are sharing things you love. Join the community of over 500 million people and express yourself by sharing all the moments
                  of your day- the highlights and eve1ything in between, too.

                  Use Instagram to:

                  * Post photos and videos you want to keep on your profile grid. Edit them with filters and creative tools and combine multiple clips into one video.
                  * Share multiple photos and videos (as many as you want!) to your sto1y. Bring them to life with text and drawing tools. They disappear after 24 hours and
                  won't appear on your profile grid or in feed.
                  * Go live to connect with your friends and followers right now. When you're done, live stories disappear.
                  * Send disappearing photos and videos, text messages and posts from your feed to groups and friends with Instagram Direct.
                  * Watch stories and live videos from the people you follow in a bar at the top of your feed.
                  * Discover stories, photos and videos you might like and follow new accounts on the Explore tab.
                  * Enable Handoff to switch betv.•een our A le Watch and our iPhone.
January 1, 2018   Instagram is a simple way to capture and share the world's moments. Follow your friends and family to see what they're up to, and discover accounts
                  from all over the world that are sharing things you love. Join the community of over 500 million people and express yourself by sharing all the moments
                  of your day-the highlights and everything in between, too.

                  Use Instagram to:

                  * Post photos and videos you want to keep on your profile grid. Edit them with filters and creative tools and combine multiple clips into one video.
                  * Share multiple photos and videos (as many as you want!) to your story. Bring them to life with text and drawing tools. They disappear after 24 hours and
                  won't appear on your profile grid or in feed.
                  * Go live to connect with your friends and followers right now. When you're done, live stories disappear.
                  * Send disappearing photos and videos, text messages and posts from your feed to groups and friends with Instagram Direct.
                  * Watch stories and live videos from the people you follow in a bar at the top of your feed.
                  * Discover stories, photos and videos you might like and follow new accounts on the Explore tab.
                  * Enable Handoff to switch between our A le Watch and our iPhone.
January 1, 2019   Instagram is a simple way to capture and share the world's moments. Follow your friends and family to see what they're up to, and discover accounts
                  from all over the world that are sharing things you love. Join the community of over 1 billion people and express yourself by sharing all the moments of
                  your day - the highlights and everything in between, too.

                  Use Insta am to:
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                  * Post photos and videos you want to keep on your profile grid. Edit them with filters and creative tools and combine multiple clips into one video.
                  * Browse photos and videos from people you follow in your feed. Interact with posts you care about with likes and comments.
                  * Share multiple photos and videos (as many as you want!) to your sto1y. Bring them to life with text, drawing tools and other creative effects . . Tuey
                  disappear after 24 hours and won't appear on your profile grid or in feed.
                  * Go live to connect with your friends in the moment. Try going live with a friend and sharing a replay to your sto1y when you 're done.
                  * Message your friends privately in Direct. Send them photos and videos that disappear and share content you see on Instagram.
                  * Watch stories and live videos from the people you follow in a bar at the top of your feed.
                  * Discover hotos, videos and stories ou mioht like and follow new accounts on the Ex lore tab.
January 1, 2020   Bringing you closer to the people and things you love. - Instagram from Facebook

                  Connect with friends, share what you're up to, or see what's new from others all over the world. Explore our community where you can feel free to be
                  yourself and share everything from your daily moments to life's highlights.

                  Express Yourself and Connect With Friends

                  - Add photos and videos to your story that disappear after 24 hours, and bring them to life with fun creative tools.
                  - Message your friends in Direct. Start fun conversations about what you see on Feed and Stories.
                  - Post photos and videos to your feed that you want to show on your profile.

                  Learn More About Your Interests

                  - Check out IGTV for longer videos from your favorite creators.
                  - Get inspired by photos and videos from new accounts in Explore.
                  - Discover brands and small businesses, and sho roducts that are relevant to our ersonal s le.
January 1, 2021   Bringing you closer to the people and things you love. - Instagram from Facebook

                  Connect with friends, share what you're up to, or see what's new from others all over the world. Explore our community where you can fe.el free to be
                  yourself and share everything from your daily moments to life's highlights .

                  Express Yourself and Connect With Friends

                  * Add photos and videos to your sto1y that disappear after 24 hours, and bring them to life with fun creative tools.
                  * Message your friends with Messenger. Share and connect over what you see on Feed and Stories.
                  * Create and discover short, entertaining videos on Instagram with Reels.
                  * Post photos and videos to your feed that you want to show on your profile.

                  Leam More About Your Interests

                  * Check out IGTV for longer videos from your favorite creators.
                  * Get inspired by photos and videos from new accounts in Explore.
                  * Discover brands and small businesses, and shop products that are relevant to your personal style.
                  Some Insta.o -am features ma not be available in our count1 or reo10n.
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January 1, 2022   Bringing you closer to the people and things you love. -   Instagram from Facebook

                  Connect with friends, share what you're up to, or see what's new from others all over the world. Explore our community where you can feel free to be
                  yourself and share everything from your daily moments to life's highlights.

                  Express Yourself and Connect With Friends

                  * Add photos and videos to your story that disappear after 24 hours, and bring them to life with fun creative tools.
                  * Message your friends with Messenger. Share and connect over what you see on Feed and Stories.
                  * Create and discover short, entertaining videos on Instagrarn with Reels.
                  * Post photos and videos to your feed that you want to show on your profile.

                  Learn More About Your Interests

                  * Watch videos from your favorite Creators and discover new content through Instagram Video and Reels.
                  * Get inspired by photos and videos from new accounts in Explore.
                  * Discover brands and small businesses, and shop products that are relevant to your personal style.
                  Some Instagram features may not be available in your country or region.


January 1, 2023   Bringing you closer to the people and things you love. -   Instagram from Meta

                  Connect with friends, share what you're up to, or see what's new from others all over the world. Explore our community where you can feel free to be
                  yourself and share eve1ything from your daily moments to life's highlights.

                  Express Yourself and Connect With Friends

                  * Add photos and videos to your story that disappear after 24 hours, and bring them to life with fun creative tools.
                  * Message your friends with Messenger. Share and connect over what you see on Feed and Stories.
                  * Create and discover short, entertaining videos on Instagram with Reels.
                  * Post photos and videos to your feed that you want to show on your profile.

                  Leam More About Your Interests

                  * Watch videos from your favorite Creators and discover new content through Instagram Video and Reels.
                  * Get inspired by photos and videos from new accounts in Explore.
                  * Discover brands and small businesses, and shop products that are relevant to your personal style.
                  Some Instagram features may not be available in your countiy or region.

                  Tenns of Service - h   s://hel .insta am.com/581066165581870




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KaKaoSto1y (App ID: 486244601)


January 1 2012
Januuy 1, 2013    ** KakaoStory is a photo sharing social networking service for KakaoTalk users.
                  ** Now available in English.

                  KakaoStory lets you share and talk about your daily life stories with KakaoTalk friends.
                  Ultra simple and easy to use, it's a true social networking app for mobile.
                  Over 8 million have already downloaded KakaoStory just in 4 days after the release!

                  - Share your daily stories by posting photos, notes and comments.
                  - Photo filter lets you add mesmerizing image effects to photos.
                  - You can view friends' latest updates in 'Feeds' tab.
                  - Express your emotions on friends' stories using 5 different emotions available.


                  **KakaoStory is integrated with KakaoTalk messenger app

                  - Import all your KakaoTalk friends to KakaoStory.
                  - Sign in with your existing Kakao ID. If you do not own Kakao ID, then simply register with your name and an email address.
                  - When ou set our back ound ima e or u load hotos in KakaoSto the ima es will be shown on our KakaoTalk's mini rofile.
January 1, 2014   ** Kaka0Sto1y is a photo sharing social networking service for KakaoTalk users.
                  ** Now available in English.

                  Kaka0Sto1y lets you share and talk about your daily life stories with KakaoTalk friends.
                  Ultra simple and easy to use, it's a true social networking app for mobile.
                  Over 8 million have already downloaded Kaka0St01y just in 4 days after the release!

                  - Share your daily stories by posting photos, notes and comments.
                  - Photo filter lets you add mesmerizing image effects to photos.
                  - You can view friends' latest updates in 'Feeds' tab.
                  - Express your emotions on friends' stories using 5 different emotions available.


                  **Kaka0Sto1y is integrated with KakaoTalk messenger app

                  - lmpo1t all your KakaoTalk friends to Kaka0St01y.
                  - Sign in with your existing Kakao ID. If you do not own Kakao ID, then simply register with your name and an email address.
                  - When ou set our back ound ima e or u load hotos in Kaka0St01 the ima es will be shown on our KakaoTalk's mini rofile.
Januuy 1, 2015    KakaoStory is a photo sharing social network for KakaoTalk users.



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                                                                                                                                                              KaKaoStory
      Date                                                                                Desniption
                  KakaoStory lets you share life as it happens with photos, status updates and more. Ultra simple and easy to use, KakaoStory is a perfect way to keep up
                  with your friends and share their special moments.

                  - More than words. KakaoStory transcends text. Show your friends how you feel with mood buttons and Kakao Friends stickers
                  - Custom designed filters enliven your photos.

                  - Your Story, your look. Add a cover photo to your KakaoStory profile and it automatically appears in your KakaoTalk profile too.
                  - Keep up with your friends by viewing latest updates on the Feed
                  - By si1mi111z in with your Kakao account, you can easily find and add friends on KakaoStory.
January 1, 2016   KakaoStory is a photo sharing social network for KakaoTalk users.

                  Kaka0Sto1y lets you share life as it happens with photos, status updates and more. Ultra simple and easy to use, Kaka0Sto1y is a perfect way to keep up
                  with your friends and share their special moments.

                  - More than words. KakaoStory transcends text. Show your friends how you feel with mood buttons and Kakao Friends stickers
                  - Custom designed filters enliven your photos.

                  - Your Story, your look. Add a cover photo to your KakaoStory profile and it automatically appears in your KakaoTalk profile too.
                  - Keep up with your friends by viewing latest updates on the Feed
                  - Bv si1mimz in with vow· Kakao account. vou can easilv find and add friends on KakaoStorv.
January 1, 2017   Share the stories of your day on KakaoStory.

                  It doesn't always have to be exciting or special.
                  You can share little stories from your day-to-day life on KakaoStory.

                  Read the stories posted by your friends on ""Feed"".
                  Share little stories from your day on ""MyStory"".
                  Find new stories and friends using ""Search"".

                  And here's a little tip in using KakaoStory.
                  - You can conveniently register for KakaoStory using your KakaoTalk account.
                  - You can set animated profile pictures in both KakaoTalk and KakaoStory.
                  - You can edit your photos and videos nicely using the Story Filter.

                  See you in KakaoStory!

                  Share vour stories on KakaoStorv.
January 1, 2018   Share the stories of your day on Kaka0Sto1y.

                  It doesn't always have to be exciting or special.
                  You can share little stories from your day-to-day life on Kaka0Sto1y.

                  Read the stories posted bv vour friends on ""Feed"".
                                                                                   30
                                                                                                                                                             PX8013A-030
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                                                                                                                                  KaKaoStory
      Date                                                                                Desniption
                  Share little stories from your day on ""MyStory"".
                  Find new stories and friends using ""Search"".

                  And here's a little tip in using KakaoStory.
                  - You can conveniently register for KakaoStory using your KakaoTalk account.
                  - You can set animated profile pictures in both KakaoTalk and Kaka0St01y.
                  - You can edit your photos and videos nicely using the Sto1y Filter.

                  See you in KakaoStory!

                  Share your stories on Kaka0Sto1y.




                  * You can allow the following optional pennissions to use KakaoStory more conveniently.
                  You can use the basic service without allowing optional pemussions.

                  * Camera: To take photos and videos with my device.
                  * Mic: To take videos.
                  * Photos: To retreve photos and videos from my device and send them to Kaka0St01y.
                  * Location: To receive suo2estions for nearbv olaces.
January 1, 2019   Share tlie stories of your day on KakaoStory.

                  It doesn't always have to be exciting or special.
                  You can share little stories from your day-to-day life on KakaoStory.

                  Read tlie stories posted by your friends on ""Feed"".
                  Share little stories from your day on ""MyStory"".
                  Find new stories and friends using ""Search"".

                  And here's a little tip in using KakaoStory.
                  - You can conveniently register for KakaoStory using your KakaoTalk account.
                  - You can set animated profile pictures in botli KakaoTalk and KakaoStory.
                  - You can edit your photos and videos nicely using tlie Story Filter.

                  See you in KakaoStory!

                  Share your stories on KakaoStory.




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                                                                                                                                             KaKaoStory
      Date                                                                                Desniption


                  * You can allow the following optional pennissions to use KakaoStory more conveniently.
                  You can use the basic service without allowing optional pennissions.

                  * Camera: To take photos and videos with my device.
                  * Mic: To take videos.
                  * Photos: To retreve photos and videos from my device and send them to KakaoStory.
                  * Location: To receive su22estions for nearby places.
January 1, 2020   Share the stories of your day on KakaoStory.

                  It doesn't always have to be exciting or special.
                  You can share little stories from your day-to-day life on KakaoStory.

                  Read the stories posted by your friends on ""Feed"".
                  Share little stories from your day on ""MyStory"" .
                  Find new stories and friends using ""Search"".

                  And here's a little tip in using KakaoStory.
                  - You can conveniently register for KakaoStory using your KakaoTalk account.
                  - You can set animated profile pictures in both KakaoTalk and Kaka0St01y.
                  - You can edit your photos and videos nicely using the Sto1y Filter.

                  See you in Kaka0Sto1y!

                  Share your stories on Kaka0Sto1y.




                  * You can allow the following optional pennissions to use Kaka0Sto1y more conveniently.
                  You can use the basic service without allowing optional pemussions.

                  * Camera: To take photos and videos with my device.
                  * Mic: To take videos.
                  * Photos: To retreve photos and videos from my device and send them to Kaka0Sto1y.
                  * Location: To receive su2!lestions for nearby places.
January 1, 2021   Space where your stories twinkle, KakaoStory

                  Give a thwnbnail sketch of your story and follow the news that you're curious to find out at one place!

                  rshooting Model gets more potent with features that make images/videos more vivid and lively.
                                                                                   32
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                                                                                                                                                                  KaKaoStory
      Date                                                                                Desniption

                  Apply various effects, stickers, and filters, provided in a new Shooting Mode, to your photos and videos and then upload them promptly and effortlessly.

                  [Feed] offers a quick glance at various channel infonnation and stories of your friends.

                   'Add a friend,' if you are curious to know about the stories of your friends. You can also check, on my Feed, the stories of channels that you follow, if you
                  choose to 'Follow' a channel.

                  [Discover] lets you find popular stories and new friends.

                  What kind of story do users like to read?
                  Meet new friends and trending stories/videos here.

                  [My Story] is a private space where your everyday lives are piled up one by one.

                   Set news as Public, if you wish to make it known to everyone.
                   You can set stories you want to share with particular friends as Close Friends Only
                   while selecting Only Me for stories that you wish to keep to yourself.

                  Beginning of all stories,
                  KakaoStory

                  * You can allow the following permissions to use KakaoStory more conveniently.
                  You can use the basic service without allowing optional permissions.

                  *Camera: To take photos and videos with my device.
                  * Mic : To take videsos.
                  * Photos : To retreve photos and videos from my device and send them to KakaoStory.
                  * Location : To receive su22estions for neaby places.
January 1, 2022   Space where your stories twinkle, KakaoStory

                  Give a thumbnail sketch of your story and follow the news that you're curious to find out at one place!

                  [Shooting Mode] gets more potent with features that make images/videos more vivid and lively.

                  Apply various effects, stickers, and filters, provided in a new Shooting Mode, to your photos and videos and then upload them promptly and effo1tlessly.

                  [Feed] offers a quick glance at various channel info1mation and stories of your friends.

                   'Add a friend,' if you are curious to know about the stories of your friends. You can also check, on my Feed, the stories of channels that you follow, if you
                  choose to 'Follow' a channel.

                  rDiscoverl lets vou find popular stories and new friends.
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                                                                                                                                                                  KaKaoStory
      Date                                                                                Desniption

                  What kind of story do users like to read?
                  Meet new friends and trending stories/videos here.

                  [My St01y] is a private space where yow- eve1yday lives are piled up one by one.

                   Set news as Public, if you wish to make it known to eve1yone.
                   You can set stories you want to share with particular friends as Close Friends Only
                   while selecting Only Me for stories that you wish to keep to yow-self.

                  Beginning of all stories,
                  Kaka0Sto1y

                  * You can allow the following pennissions to use Kaka0Sto1y more conveniently.
                  You can use the basic service without allowing optional pemussions.

                  * Camera : To take photos and videos with my device.
                  * Mic : To take videsos.
                  * Photos : To retreve photos and videos from my device and send them to Kaka0Sto1y.
                  * Location : To receive su22estions for neabv olaces.
January 1, 2023   Space where yow- stories twinkle, KakaoStory

                  Give a thwnbnail sketch of your story and follow the news that you're curious to find out at one place!

                  [Feed] offers a quick glance at various channel infonnation and stories of your friends.

                   'Add a friend,' if you are curious to know about the stories of your friends. You can also check, on my Feed, the stories of channels that you follow, if you
                  choose to 'Follow' a channel.

                  roiscoverl lets you find popular stories and new friends.

                  What kind of story do users like to read?
                  Meet new friends and trending stories/videos here.

                  [My Story] is a private space where your everyday lives are piled up one by one.

                   Set news as Public, if you wish to make it known to everyone.
                   You can set stories you want to share with particular friends as Close Friends Only
                   while selecting Only Me for stories that you wish to keep to yourself.

                  Beginning of all stories,
                  KakaoStory


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                                                                                                                    KaKaoSt01y
Date                                                                       Description
       * You can allow the following pennissions to use KakaoStory more conveniently.
       You can use the basic service without allowing optional pennissions.

       * Camera : To take photos and videos with my device.
       * Mic : To take videsos.
       * Photos : To retreve photos and videos from my device and send them to KakaoStory.
       * Location : To receive su . estions for neab laces.




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KaKaoTalk (App ID: 362057947)
       Date                                                                                        Desuiption
 March 15, 2010     7t7t.2.~ :: oto1.g At%Atll ¥E£ ~Al{! ~ ~ AH'a ~ 1: 1 AH'§ ~ ~-? 91 ~ <2jsj-A-j 7l~QJ D:Jl~A-j A-J l::II-"-~ Liq,
                    7t7t.2.~ ~ 01.g.0~'2! ¥-?I 71::; ~ ~off :;2t~ 0 £ D:JIAl:,;:I* ~~-? 91.J! Att!, ~~.g, <2JsJ-;1;:-J :;QI ~El □ I CI OJ ~ {!~oPil ?.J! ~~-?
                    91;:;L1q,
                    Notice : This service is available only to users who have mobile phone nwnbers in South Korea.




                    * ¥ li£ ~71~ ~ ~ AH'§~ 1: 1 AH'§
                    7t7t.2.~ ~ ~Al~ ~-Y- ~ llOJI ~ ¥ E £ AH 'a ~ ~ 7c:!-? 91;:; LI q_ 71~~ <21 1: 1 AH'a~ otLI2t, ~ ~ AH'a~ ~ 0HOJ 2i ~-Y- ~ .l!t ~AIOJI
                    D:JIAl:,;:I, Att!, ~~.g, <2Jsj-;l;:-j :; ~ {!~o~Jll ?.J! ~~-? 91;:;Llq. (7 t7t.2.~ ;: WIFI ~~ 3G* Ol%~Llq)

                    * q'b"~ ~ El □I q OJ AH'a
                    g:,;:~DJIAl:,;:I ~ 71~! Att!OI Lt ~~.g~ ~~ ~ ~ ~ ~ ~~OJIA-J ,t!s!Jo~OJ ?.J! ~~ -?~ 91.J! oto1.gQJ <2JsJ-;1;:-J OJI :,;:-jg.rl OJ 91 ~ ~-y-QJ
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                    * :,;:~~ AH 'a ~ -y- :; ~
                    LH<2JsJ-;1;:-J OJI :; ~ @~-y- ~ '5' 7t7t.2.~~ ~Al~ ~-y- ~ ~ :,;:~~ 0 £ AH'a ~-y- ~ ~ OJI ?7toff ?71ITH@OJI ~~£ AH'a ~ o~71~loll
                    ~-y- ~ ~ ~~OI :; ~ ~ ~.£Pt ~;:;Liq.

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                    71~ 0 £ Ai £ ~.J! 91 ~ 12!~ ~-Y- ~ ~ ?~off c ~ Liq. ?~@ ~-Y- ~ ~ OJIA-J ?7t !:Ii ~~ ~ 2 71'2! o~'2! ~-Y-~~ OJI :,;:-j g~ Liq.
 Janua1-y 1, 2011   KakaoTalk is a phone number based messenger service that allows iPhone and android users anywhere in the world to chat one-to-one or in a group for
                    free.
                    Message an-ivals are instantly notified with Push A l ert and you can send v arious multimedia such as oictw-es, videos, and contact telephone number.


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                                                                                                                                                               KaKaoTalk
      Date                                                                             Desniption
                  Enjoy KakaoTalk with your friends, colleagues, and family and experience the world of multimedia chatting.

                  *Weare experiencing problems with certain telecom operators that verification codes are not promptly delivered (e.g. Verizon Wireless in the US). While
                  fixing the problems, please let us know of your telephone number and a countiy code tluu our website or an email.

                  Website: http://v.rww.kakao.com/talk/en
                  Email: helpglobal@kakao.com

                  -Main Features ofKakaoTalk -

                  * Free one-to-one or group chats anyv.•here in the world
                  With KakaoTalk, you can enjoy free chats with friends not only in your own countiy but also overseas. Using KakaoTalk , you can chat one-to-one or in a
                  group. Also, you can send various multimedia such as pictures, videos, and contact telephone number (KakaoTalk is available at WIFI or 3G network).

                  * Multimedia Chat
                  Texting is just a sta1t! You can send pictures and videos from your album or right after taking them. You can also send phone numbers from yow· contacts
                  and can save them you have received from yow· friends.

                  * Registering Friends Automatically
                  You don't need to manually invite chatting friends as KakaoTalk users in yow· contacts are automatically registerd as your friends.

                  * KakaoTalk requires no membership registi·ation or log-in
                  You can strut using KakaoTalk right after installing the application without a membership registration or logging in.

                  * Friends?
                  You may find friends that you have lost contact with. KakaoTalk recommends friends that you might know based on your relations hip with your friends .

                  * Find Friends
                  Even if you do not know your friends' phone numbers, you can add them to yow· Friends by iust knowing their ID.
January 1, 2012   No more texting overage, texting plans or any other hassles related to texting.

                  KakaoTalk is a free smartphone messenger that allows users to send and receive messages including photos, videos, voice notes, and contact infonnation
                  through one-on-one and group chats internationally.

                  * CNet's No. Free Messaging App!
                                1

                  Kakaotalk is fast, easy and fun. Hands-down the BEST smartphone messenger app!
                  KakaoTalk has no fee, no hidden cost and no limitation unlike other similar apps.


                  WHY KakaoTalk?
                  30 Million Approve. Download it and find out what it's all about!

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                                                                                                                                                             KaKaoTalk
      Date                                                                              Desniption

                  *FREE, UNLl1\1ITED, GLOBAL: KakaoTalk uses WIFI or your existing data plan (3G) to let you send and receive unlimited texts, photos, videos and
                  audios to other KakaoTalk users for FREE. No matter what country you or your friend live in, KakaoTalk works globally and there is not international
                  charge.

                  *UNLl1\1ITED GROUP CHAT: Create groups on the go, invite as many friends as you want and chat all together at once. Unlike other apps, KakaoTalk
                  has no limit to how many people you can invite in a group chat. Organizing a group activity made fun and easy!

                  *NO DELAY: Send texts, photos, videos and voice notes in lightning speed. Plus, know instantly when the message is sent and read.

                  *VOICE NOTE: Record your message with superb quality and send it to your friends with just a click.

                  *PLUS FRIEND: Add your favorite artists as "Plus Friends" and receive special contents and updates from them via KakaoTalk. Plus Friend may not be
                  available in certain countries.

                  *NO HASSEL SIGNING UP: No registration, no extra phone number, no membership. Just download KakaoTalk, enter your phone number, confinn, and
                  you're done! Simple as that~

                  *ADD FRIENDS AUTOMATICALLY: No need to manually invite friends and have them approve you. Your contacts will be automatically added to your
                  KakaoTalk friends list straight from your phonebook.

                  *Sll\1PLE & EASY: KakaoTalk is ultra-easy to use.

                  *KAKAOTALK ID: Connect with people without sharing your phone nwnber. Simply add them as your Kakao friends by entering their KakaoTalk IDs

                  *NO ADS - Period

                  If you have any feedback, questions or concerns please feel free to contact us at http://www.kakao.com/talk/en/contact

                  Follow us at http://twitter.com/kakaotalk
                  Check out our Facebook, httn://on.fb.me/vYxawf
January 1, 2013   Check out the No. I smartphone messenger for FREE calls and text. Make group calls in high-quality sound and schedule appointments in your chat room.
                  Download now and enjoy animated emoticons, stickers, and themes - completely free!

                  About Us:
                  *Chosen by more than 75 million users worldwide
                  *Fast, fun, easy way to communicate with friends & family
                  * Supports all kinds of devices

                  Features:
                  • Send FREE messages & enjoy unlimited calls (HD)
                  • Make hillh-aualitv group voice calls

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                                                                                                                                                               KaKaoTalk
      Date                                                                              Desniption
                  • Create your own group chat (unlimited# of friends)
                  • Schedule appointments, lunches, gatherings (w/ reminders)
                  • Get creative using animated emoticons & custom themes
                  • Have fun during calls with Talking Tom & Ben's voice filters
                  • Share multimedia content: videos, photos, voice notes, etc.
                  • Make friends with top celebrities (K-Pop & local)

                  Contact us at http://wwv.r.kakao.com/talk/en/contact

                  Like us at http://facebook.com/kakaotalk
                  Follow us at httn://twitter.com/kakaotalk
January 1, 2014   Check out the No. l smartphone messenger for FREE calls and text. Make group calls in high-quality sound and schedule appointments in your chat room.
                  Download now and e1'ioy animated emoticons, stickers, and themes - completely free!

                  About Us:
                  • Chosen by more than 100 million users worldwide
                  • Fast, fun, easy way to communicate with friends & family
                  • Supports all kinds of devices

                  Features:
                  • Send FREE messages & enjoy unlimited calls (HD)
                  • Make high-quality group voice calls
                  • Create your own group chat (unlimited# of friends)
                  • Schedule appointments, lunches, gatherings (w/ reminders)
                  • Get creative using animated emoticons & custom themes
                  • Have fun during calls with Talking Tom & Ben's voice filters
                  • Share multimedia content: videos, photos, voice notes, etc.
                  • Make friends with top celebrities (K-Pop & local)

                  Contact us at http://www.kakao.com/talk/en/contact

                  Like us at http://facebook.com/kakaotalk
                  Follow us at hth)://twitter.com/kakaotalk
January 1, 2015   KakaoTalk is an easy, no-cost, multifaceted messaging a.pp. Send messages, photos, videos, voice notes and your location for free. Make chatting extra
                  fun with an an-ay of emoticons and sticker collections.

                  More about KakaoTalk:
                  - Chosen by more than 150 million users worldwide
                  - Fast, fun, easy way to communicate with friends and family
                  - Uses Intemet connection (3G or Wi-Fi) for calls and messaging

                  Key Features:
                  - FAST: Speedy & reliable messaging no matter what your network
                                                                                   39
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                                                                                                                                                              KaKaoTalk
      Date                                                                                 Desniption
                  - FREE CHATS: FREE messages & multimedia (photos, videos, voice notes)
                  - FREE CALLS: High-quality voice calls (1 :1 and group)
                  - EMOTICONS: Express it all with our included emoticons PLUS select from endless sticker collections in our Item Store
                  - GROUP CHAT: Chat with an unlimited number of friends
                  - PLUS FRIEND: Get coupons & deals from yow· favorite brands
                  - VOICE FILTER: Filter your voice calls for fun with Talking Tom & Ben voice filters

                  Other Standout Features:
                  - Share your location
                  - See who read your messages (unread count)
                  - Multi.task during free calls (send messages in other chatrooms)
                  - Schedule appointments, lunches, gatherings (w/ reminders)
                  - Use KakaoTalk on any smartphone and PC (multi-platform)
                  - Have even more fun with Kakao mobile games

                  Contact us at http://wwv.r.kakao.com/talk/en/contact
                  Like us at http://facebook.com/kakaotalk
                  Follow us at htto://twitter.com/kakaotalk
January 1, 2016   KakaoTalk is an easy, no-cost, multifaceted messaging app. Send messages, photos, videos, voice notes and your location for free. Make chatting extra
                  fun with an array of emoticons and sticker collections.

                  More about KakaoTalk:
                  - Chosen by more than 150 million users worldwide
                  - Fast, fun, easy way to communicate with friends and family
                  - Uses Internet connection (3G or Wi-Fi) for calls and messaging

                  Key Features:
                  - FAST: Speedy & reliable messaging no matter what your network
                  - FREE CHATS: FREE messages & multimedia (photos, videos, voice notes)
                  - FREE CALLS: High-quality voice calls (1 :1 and group)
                  - EMOTICONS: Express it all with our included emoticons PLUS select from endless sticker collections in our Item Store
                  - GROUP CHAT: Chat with an unlimited number of friends
                  - PLUS FRIEND: Get coupons & deals from your favorite brands
                  - VOICE FILTER: Filter your voice calls for fun with Talking Tom & Ben voice filters

                  Other Standout Features:
                  - Share your location
                  - See who read your messages (unread count)
                  - Multi.task during free calls (send messages in other chatrooms)
                  - Schedule appointments, lunches, gatherings (w/ reminders)
                  - Use KakaoTalk on any smartphone and PC (multi-platform)
                  - Have even more fun with Kakao mobile games


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                                                                                                                                                               KaKaoTalk
      Date                                                                                Desniption
                  Contact us at http://www.kakao.com/talk/en/contact
                  Like us at http://facebook.com/kakaotalk
                  Follow us at hth)://twitter.com/kakaotalk
January 1, 2017   KakaoTalk is an easy, no-cost, multifaceted messaging app. Send messages, photos, videos, voice notes and your location for free. Make chatting extra
                  fun with an an-ay of emoticons and sticker collections.

                  More about KakaoTalk:
                  - Chosen by more than 150 million users worldwide
                  - Fast, fun, easy way to communicate with friends and family
                  - Uses Intemet connection (3G or Wi-Fi) for calls and messaging

                  Key Features:
                  - FAST: Speedy & reliable messaging no matter what your network
                  - FREE CHATS: FREE messages & multimedia (photos, videos, voice notes)
                  - FREE CALLS: High-quality voice & video calls (1: 1 and group)
                  - EMOTICONS: Express it all with our included emoticons PLUS select from endless sticker collections in our Item Store
                  - GROUP CHAT: Chat with an unlimited number of friends
                  - PLUS FRIEND: Get coupons & deals from yow· favorite brands
                  - VOICE FILTER: Filter your voice calls for fun with Talking Tom & Ben voice filters

                  Other Standout Features:
                  - Share your location
                  - See who read your messages (unread count)
                  - Multitask during free calls (send messages in other chatrooms)
                  - Schedule appointments, lunches, gatherings (w/ reminders)
                  - Use KakaoTalk on any smartphone and PC (multi-platform)
                  - Have even more fun with Kakao mobile games

                  Contact us at http://wwv.r.kakao.c01n/talk/en/contact
                  Like us at http://facebook.com/kakaotalk
                  Follow us at htto://twitter.com/kakaotalk
January 1, 2018   KakaoTalk is an easy, no-cost, multifaceted messaging app. Send messages, photos, videos, voice notes and your location for free . Make chatting extra
                  fun with an array of emoticons and sticker collections.

                  More about KakaoTalk:
                  - Chosen by more than 150 million users worldwide
                  - Fast, fun, easy way to communicate with friends and family
                  - Uses Intemet connection (3G or Wi-Fi) for calls and messaging

                  Key Features:
                  - FAST: Speedy & reliable messaging no matter what your network
                  - FREE CHATS: FREE messages & multimedia (photos, videos, voice notes)
                  - FREE CALLS: Hi!ili-quality voice & video calls (1: 1 and group)
                                                                                     41
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                                                                                                                                                              KaKaoTalk
      Date                                                                            Desniption
                  - EMOTICONS: Express it all with our included emoticons PLUS select from endless sticker collections in our Item Store
                  - GROUP CHAT: Chat with an unlimited number of friends
                  - PLUS FRIEND: Get coupons & deals from your favorite brands
                  - VOICE FILTER: Filter your voice calls for fun with Talking Tom & Ben voice filters

                  Other Standout Features:
                  - Share your location
                  - See who read your messages (unread count)
                  - Multitask during free calls (send messages in other chatrooms)
                  - Schedule appointments, lunches, gatherings (w/ reminders)
                  - Use KakaoTalk on any smartphone and PC (multi-platform)
                  - Have even more fun with Kakao mobile games

                  Contact us at http://www.kakao.com/talk/en/contact
                  Like us at http://facebook.com/kakaotalk
                  Follow us at httn://twitter.com/kakaotalk
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                  Key Features:
                  - FAST: Speedy & reliable messaging no matter what your network
                  - FREE CHATS: FREE messages & multimedia (photos, videos, voice notes)
                  - FREE CALLS: High-quality voice & video calls (1: 1 and group)
                  - EMOTICONS: Express it all with our included emoticons PLUS select from endless sticker collections in our Item Store
                  - GROUP CHAT: Chat with an unlimited number of friends
                  - PLUS FRIEND: Get coupons & deals from your favorite brands
                  - VOICE FILTER: Filter your voice calls for fun with Talking Tom & Ben voice filters

                  Other Standout Features:
                  - Share your location
                  - See who read your messages (unread count)
                  - Multitask during free calls (send messages in other chatrooms)
                  - Schedule appointments, lunches, gatherings (w/ reminders)
                  - Use KakaoTalk on any smartphone and PC (multi-platform)
                  - Have even more fun with Kakao mobile games
January 1, 2020   KakaoTalk is an easy, no-cost, multifaceted messaging app. Send messages, photos, videos, voice notes and your location for free. Make chatting extra
                  fun with an array of emoticons and sticker collections.


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                                                                                                                                                              KaKaoTalk
      Date                                                                                Desniption
                  More about KakaoTalk:
                  - Chosen by more than 150 million users worldwide
                  - Fast, fun, easy way to communicate with friends and family
                  - Uses Internet connection (3G or Wi-Fi) for calls and messaging

                  Key Features:
                  - FAST: Speedy & reliable messaging no matter what your network
                  - FREE CHATS: FREE messages & multimedia (photos, videos, voice notes)
                  - FREE CALLS: High-quality voice & video calls (1: 1 and group)
                  - EMOTICONS: Express it all with our included emoticons PLUS select from endless sticker collections in our Item Store
                  - GROUP CHAT: Chat with an unlimited number of friends
                  - PLUS FRIEND: Get coupons & deals from your favorite brands
                  - VOICE FILTER: Filter your voice calls for fun with Talking Tom & Ben voice filters

                  Other Standout Features:
                  - Share your location
                  - See who read your messages (unread count)
                  - Multitask during free calls (send messages in other chatrooms)
                  - Schedule appointments, lunches, gatherings (w/ reminders)
                  - Use KakaoTalk on any smartphone and PC (multi-platform)
                  - Have even more fun with Kakao mobile games
January 1, 2021   KakaoTalk is an easy, no-cost, multifaceted messaging app. Send messages, photos, videos, voice notes and your location for free. Make chatting extra
                  fun with an an-ay of emoticons and sticker collections.

                  More about KakaoTalk:
                  - Chosen by more than 150 million users worldwide
                  - Fast, fun, easy way to communicate with friends and family
                  - Uses Internet connection (3G or Wi-Fi) for calls and messaging

                  Key Fea.tures:
                  - FAST: Speedy & reliable messaging no matter what your network
                  - FREE CHATS : FREE messages & multimedia (photos, videos, voice notes)
                  - FREE CALLS: High-quality voice & video calls (1:1 and group)
                  - EMOTICONS: Express it all with our included emoticons PLUS select from endless sticker collections in our Item Store
                  - GROUP CHAT: Chat with an unlimited number of friends
                  - PLUS FRIEND: Get coupons & deals from yow- favorite brands
                  - VOICE FILTER: Filter yow- voice calls for fun with Talking Tom & Ben voice filters

                  Other Standout Features:
                  - Share yow- location
                  - See who read yow- messages (unread count)
                  - Multitask during free calls (send messages in other chatrooms)
                  - Schedule aooointments, lunches, gatherinS!s (w/ reminders)
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                                                                                                                                                              KaKaoTalk
      Date                                                                              Description
                  - Use KakaoTalk on any smartphone and PC (multi-platform)
                  - Have even more fun with Kakao mobile games
January 1, 2022   KakaoTalk is a messaging and video calling app. It's fast, fun, simple, and reliable. With more than 150 Million users worldwide, KakaoTalk connects
                  people and the world. KakaoTalk works across mobile, desktop and wearable devices. Enjoy KakaoTalk anytime, anywhere in real-time!

                  KakaoTalk is now available on Watch OS.
                  - Check your recent chat hist01y including group chats, 1: 1 chats and chats in My Chatrnom.
                  - Respond faster with emoticons and quick reply
                  - Reply with voice from Watch devices
                  - Record and play voice memos

                  * KakaoTalk on Watch OS must be synced with your KakaoTalk on mobile.
                  MESSAGES
                  • Simple, fun and reliable messaging in eve1y network
                  • Make group chats with unlimited number of friends
                  • See who read your messages with unread count feature

                  OPEN CHAT
                  • The easiest way to find new friends across the world who share the same interests
                  • Enjoy chats anonymously and share your interests, hobbies, and lifestyles

                  VOICE & VIDEO CALLS
                  • Enjoy 1:1 or group voice and video calls
                  • Change your voice with our Talking Tom & Ben voice filters
                  • Multitask while on voice & video calls

                  PROFILE & THEMES
                  • Change and customize your KakaoTalk with official and customized themes
                  • Create your profile with photos, videos, stickers, music and more!

                  STICKERS
                  • A variety of sticker collections that make chatting extra fun
                  • From popular stickers to the latest stickers, send as many stickers you want with Emotion PLUS

                  CALENDAR
                  • View events and anniversaries scattered in different chatrooms at a glance
                  • Our Assistant Jordy will remind you of any upcoming events and help you manage schedules

                  OTHER AMAZING FEATURES
                  • Live Talk : real-time live chat and live streaming
                  • Kakao Channel : exclusive coupons & deals from your favorite brands
                  • Share vour location and more!
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                                                                                                                                                              KaKaoTalk
      Date                                                                              Desniption

                  Contact us at http://www.kakao.com/talk/en/contact
                  Follow us at hth)://twitter.com/kakaotalk
January 1, 2023   KakaoTalk is a messaging and video calling app. It's fast, fun, simple, and reliable. With more than 150 Million users worldwide, KakaoTalk connects
                  people and the world. KakaoTalk works across mobile, desktop and wearable devices. Enjoy KakaoTalk anytime, anyv.•here in real-time!

                  KakaoTalk is now available on Watch OS.
                  - Check your recent chat hist01y including group chats, 1: 1 chats and chats in My Chatroom.
                  - Respond faster with emoticons and quick reply
                  - Reply with voice from Watch devices
                  - Record and play voice memos

                  * KakaoTalk on Watch OS must be synced with your KakaoTalk on mobile.
                  MESSAGES
                  • Simple, fun and reliable messaging in eve1y netv.•ork
                  • Make group chats with unlimited number of friends
                  • See who read your messages with unread count feature

                  OPEN CHAT
                  • The easiest way to find new friends across the world who share the same interests
                  • Enjoy chats anonymously and share your interests, hobbies, and lifestyles

                  VOICE & VIDEO CALLS
                  • Enjoy 1:1 or group voice and video calls
                  • Change your voice with our Talking Tom & Ben voice filters
                  • Multitask while on voice & video calls

                  PROFILE & THEMES
                  • Change and customize your KakaoTalk with official and customized themes
                  • Create your profile with photos, videos, stickers, music and more!

                  STICKERS
                  • A variety of sticker collections that make chatting extra fun
                  • From popular stickers to the latest stickers, send as many stickers you want with Emotion PLUS

                  CALENDAR
                  • View events and anniversaries scattered in different chatrooms at a glance
                  • Our Assistant Jordy will remind you of any upcoming events and help you manage schedules

                  OTHER AMAZING FEATURES
                  • Live Talk : real-time live chat and live streaming
                  • Kakao Channel : exclusive coupons & deals from vour favorite brands
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                                                                                                                   KaKaoTalk
Date                                                                      Desniption
       • Share your location and more!

       Contact us at http://wwv.r.kakao.com/talk/en/contact
       Follow us at h . ://twitter.com/kakaotalk




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Lasso: clips y entretenimiento (App ID: 1436534917)
       Date                                                                                 Description
 September 17,     Lasso makes it easy for anyone to create and share short videos with fun effects. Follow creators, discover popular video trends and join in by putting your
 2018              ovvn spin on them. Once you've found a type of video that's trending, whether it's #comedy or #fail, you can use the in-app camera to put your own spin on
                   it with special effects, music and editing tools. Add hashtags to your video to share it with the world! You can also add your videos directly to your
                   Facebook story.

                   COOL CAMERA TOOLS AND EFFECTS
                   Get high-quality video editing tools, effects, text on video tools, music and more from the in-app camera.

                   A MASSIVE MUSIC LIBRARY
                   Lasso's music library is one of the biggest. From pop hits to vintage classics, you'll find whatever song you need to take your videos to the next level.

                   THE LATEST HASHTAGS AND CHALLENGES
                   Lasso lets you know which hashtags are trending and which ones might be soon. Be one of the first people to discover a new trend or one of the first to
                   create a video for it!

                   SHARE DIRECTLY TO YOUR STORY
                   Lasso seamlessly connects to Facebook so you can post your videos to your story with a single tap. Whether you want your video to show on all your
                   social orofiles or iust in one olace vou have control over what vou share and where it 1mes.
 January 1, 2019   Lasso makes it easy for anyone to create and share sho1t videos with fun effects. Follow creators, discover popular video trends and join in by putting your
                   own spin on them. Once you've found a type of video that's trending, whether it's #comedy or #fail, you can use the in-app camera to put your own spin on
                   it with special effects, music and editing tools. Add hashtags to your video to share it with the world! You can also add your videos directly to your
                   Facebook st01y.

                   COOL CAMERA TOOLS AND EFFECTS
                   Get high-quality video editing tools, effects, text on video tools, music and more from the in-app camera.

                   A MASSIVE MUSIC LIBRARY
                   Lasso's music library is one of the biggest. From pop hits to vintage classics, you'll find whatever song you need to take your videos to the next level.

                   THE LATEST HASHTAGS AND CHALLENGES
                   Lasso lets you know which hashtags are trending and which ones might be soon. Be one of the first people to discover a new trend or one of the first to
                   create a video for it!

                   SHARE DIRECTLY TO YOUR STORY
                   Lasso seamlessly connects to Facebook so you can post your videos to your st01y with a single tap. Whether you want your video to show on all your
                   social profiles or iust in one place you have control over what you share and where it goes.
 January 1, 2020   Lasso makes it easy for anyone to create and share short videos with fun effects. Follow creators, discover popular video trends and join in by putting your
                   ovvn spin on them. Once you've found a type of video that's trending, whether it's #comedy or #fail, you can use the in-app camera to put your own spin on
                   it with special effects, music and editing tools. Add hashtags to your video to share it with the world! You can also add your videos directly to your
                   Facebook story.

                   COOL CAMERA TOOLS AND EFFECTS
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Get high-quality video editing tools, effects, text on video tools, music and more from the in-app camera.

A MASSIVE MUSIC LIBRARY
Lasso's music library is one of the biggest. From pop hits to vintage classics, you'll find whatever song you need to take your videos to the next level.

THE LATEST HASHTAGS AND CHALLENGES
Lasso lets you know which hashtags are trending and which ones might be soon. Be one of the first people to discover a new trend or one of the first to
create a video for it!

SHARE DIRECTLY TO YOUR STORY
Lasso seamlessly connects to Facebook so you can post your videos to your story with a single tap. Whether you want your video to show on all your
social rofiles or ·ust in one lace, ou have control over what ou share and where it oes.




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Linked.In: Network & Job Finder (App ID: 288429040)



 Januuy 1, 2010    Linkedln for iPhone puts your professional network just a touch away. Walk into any interview or client meeting with the ability to look up the details and
                   connect with over 55 million professionals worldwide. Get the latest updates and messages from your network and keep them up-to-date with your status
                   in real-time.
 January 1, 2011   Linkedln for iPhone puts your professional netv.•orkjust a touch away. Walk into any interview or client meeting with the ability to look up the details and
                   connect with over 90 million professionals worldwide. Get the latest updates and messages from your network and keep them up-to-date with your status
                   in real-time.
 Januuy 1, 2012    Get on-the-go access to your professional network with Linkedln for iPhone. Find and connect with more than 135M members worldwide, read the latest
                   indust news kee u -to-date with our ou s and share content with our network from an here.
 January 1, 2013   For Professionals Going Places.

                   Get on-the-go access to your professional network with the Linkedln app for iPad and iPhone.

                   • Find and connect with more than 200 million members worldwide.
                   • Stay up-to-date with people in your netv.•ork.
                   • Sync your calendar to get Linkedln profile info1mation about the people you're meeting with.*
                   • Edit your profile from within the app.**
                   • View and save recommended jobs.**
                   • Read the la.test industry news.
                   • Keep up-to-date with your groups.
                   • Share content with your network.
                   • Follow and learn more about companies.

                   Accolades

                   • Linkedln iPa.d app named one ofTechCrnnch's top iOS apps of 2012.

                   * Syncing of your calendar is an opt-in feature . Calendar information is never stored on Linkedln's se1vers and is never used for purposes other than for
                   matching with relevant Linkedln profiles.

                   ** The Profile Edit and Jobs functionalities are ctmently only available for iPhone.

                   *** iPad app available in Spanish, German, French, Spanish, Italian, Portuguese, Korean and Turkish.

                   *** iPhone a available in German French S anish Italian Portu!ruese Swedish Korean. Chinese Ja anese Indonesian Ma.la sian and Turkish.
 Januuy 1, 2014    Opportunity is always within reach with the Linkedln app for iPad and iPhone.

                   The Linkedln app for iPhone and the new Linkedln iPad app make it even easier to connect and grow your network, engage with professional content and
                   gain insights right from the updates feed. The intelligent navigation is personalized just for you based on how you use Linkedln everyday.


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                                                                                                                                     Linkedln: Network & Job Finder
      Date                                                                                Desniption
                  Features:
                  • Connect with more than 259 million members worldwide
                  • Stay up to date with people in your network
                  • Search for people, jobs, companies and groups
                  • Follow Influencers to get insights and original content from industry leaders in your stream
                  • Update your profile from within the app*
                  • View and save recommended jobs
                  • Read the latest industry news
                  • Follow and learn more about companies
                  • Keep up with your favorite groups
                  • Purchase and upgrade your account to a Linkedln Premium Subscription*

                  * The Profile Edit functionality and Premium Subscription upgrades are currently only available for iPhone.

                  - The Linkedln iPad and iPhone aoos only suooort iOS 6.0 and hi!?her. Please uodate your device operating system prior to uodating the aoo.
January 1, 2015   Opportunity is always within reach with the Linkedln app for iPhone and iPad. Build your personal brand, network to create meaningful connections, and
                  engage with professional content - right from your Linkedln app.

                  • Stay up to date with connections in your network
                  • Search for and follow people, jobs, companies, and groups
                  • Follow Influencers to get exclusive insights from industiy leaders
                  • Update your profile from within the iPhone app
                  • View, save, and apply to recommended jobs with your Linkedln profile

                  Linkedln is free to download and use. We also have Premium subscriptions with additional features such as InMails, more info about who's viewed your
                  profile, Premium search options, and a badge to showcase your Premiwn status:
                  • For Talent Professionals: $59.99 monthly
                  • For Sales Professionals: Three tiers, starting at $24.99 monthly
                  • For Business Professionals: Four tiers, staiting at $9.99 monthly

                  If you choose to subscribe, your subscription will automatically renew each month and will charge your credit card through your iTunes account. You can
                  tum off auto-renew at any time from your iTunes account settings,
January 1, 2016   Connect to people. Connect to Opportunity.

                  The Linkedln app makes it easier to connect to the people and things that matter in your professional world. Accelerate your success by:

                  - finding people and jobs
                  - getting updates on your professional industry and interests
                  - telling your story and building your professional brand
                  - growing your network
                  - reaching out to people



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                                                                                                                                       Linkedln: Network & Job Finder
      Date                                                                            Desniption
                  Linkedln is free to use and dovvnload. We also have Premium subscriptions that offer exclusive tools and insights to find a job, grow your business, find
                  sales leads, or hire talent.

                  For Job Seekers: $29.99 monthly
                  For Business Professionals: $59.99 monthly
                  For Sales Professionals: $79.99 monthly
                  ForTalentProfessionals: $119.95 monthly

                  If you choose to subscribe, your subscription will automatically renew ea.ch month and will charge your credit card through iTunes account. You can tum
                  off auto-renew at anv time from vour iTunes account settin1Zs.
January 1, 2017   Connect to people. Connect to Opportunity.

                  The Linkedln app makes it easier to connect to the people and things that matter in your professional world. Accelerate your success by:

                  - finding people and jobs
                  - getting updates on your professional industry and interests
                  - telling your story and building your professional brand
                  - growing your network
                  - reaching out to people

                  Linkedln is free to use and download. We also have Premium subscriptions that offer exclusive tools and insights to find a j ob, grow yow· business, find
                  sales leads, or hire talent.

                  For Job Seekers: $29.99 monthly
                  For Business Professionals: $59.99 monthly
                  For Sales Professionals: $79.99 monthly
                  For Talent Professionals: $ 119.95 monthly

                  If you choose to subscribe, your subscription will automatically renew ea.ch month and will charge your credit card through iTunes account. You can tum
                  off auto-renew at any time from your iTunes account settings.

                  Privacy Policy: https://wwv.r.linkedin.com/legal/priva.cy-policy
                  Tem is of Service: httns://www.linkedin.com/le1Zal/user-a greement
January 1, 2018   Connect to opportunity and tap into your professional potential with the Linkedln app. The app makes it easier to discover, connect and nurture
                  relationships with people that matter, search and apply for jobs, and get updates on topics and companies that make a difference all on the go. This online
                  social network is a great place connect and stay in touch with your professional relationships.

                  With Linkedln, connect to people in your network including fellow employees at your company, stay up to date with the latest business and industry news,
                  follow companies and Influencers or professionals you admire, and find your way into your next dream job through current employees.

                  Also use the Linkedln app to job search while you're on the go. Save searches for jobs to find what you're looking for and apply to a company with your
                  resume right from the app. Linkedln is the # 1 way to conduct a social job search.


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                                                                                                                                      Linkedln: Network & Job Finder
      Date                                                                               Desniption
                  In addition to the job search and apply process, Linkedln makes it easy to expand and publish your knowledge. Tue Linkedln app allows you to vvrite
                  posts and share knowledge, stay updated and discover important news in today's competitive world. Linkedln app is also a great place to showcase your
                  company or product with a great marketing opportunity.

                  Start with your Linkedln profile. Use your Linkedln profile as your professional brand. Share your virtual resume with accomplishments and job
                  responsibilities to provide your network with updates and prospective employers with details of your skills and experience. Your profile is more than just
                  your resume, it shows the world who you are, what you're interested in and what you've accomplished in your career.

                  Use the Linkedln app to:
                  • Tell your story and build your personal brand beyond your reswne with your profile
                  • Add a profile image or photos to help people and employees discover your profile
                  • Search for people or find suggestions to connect with people you may know
                  • Keep in touch with your network; see updates on activity within your network
                  • Search for people who work at a specific company you're interested in
                  • Job seekers can review the profile of hiring managers and discover which of their existing contacts can introduce them
                  • Find jobs, people, employees, companies and business opportunities recommended by someone in your network
                  • View other profiles
                  • Search and apply for jobs with your Linkedln resume
                  • Find and follow companies and groups
                  • Follow companies to discover new jobs
                  • Share articles to fellow employees and your network
                  • Upgrade your account to Linkedln Premium from right within the app
                  • Employers can list jobs and search for potential employees
                  • Leverage your employees to build the talent brand of your company


                  Tue Linkedln app is free to use and dovvnload. We also have Premiwn subscriptions that offer exclusive tools to find a job, grow your business, find sales
                  leads, or hire talent, priced from $29.99 monthly to $119.95 monthly. Subscriptions will automatically renew each month and be charged to your iTunes
                  account within 24-hours of the end of the current period, unless auto-renew is turned off at least 24-hours before the end of the current period. You can
                  turn off auto-renew at any time from your iTunes account settings, but refunds will not be provided for any unused portion of the term. These prices are
                  for United States customers. Pricing in other countries may vary and actual charges may be converted to your local currency depending on the country of
                  residence.

                  Privacy Policy: https :/ /www.linkedin.com/legal/privacy-policy
                  Terms of Service: httus://www.linkedin.com/legal/user-a2reement
January 1, 2019   Use Linkedln to navigate your career with confidence--whether you want to find a new j ob, keep in touch with your netv.•ork, or stay up-to-date on the
                  latest from yow· connections and your industry.

                  Get the app to access the full featw·es and functionality ofLinkedln--anytime, anyv.1here.

                  Why you' ll love using the Linkedln app:

                  1. Browse and get recommended iobs that fit. Aoolv easilv to millions of openings rillht from the aoo.
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                                                                                                                            Linkedln: Network & Job Finder
Date                                                                             Desniption
       2. Get ale1ted to stay on top of active conversations, the latest news and new opportunities.
       3. Use Find Nearby and QR code scanner features to easily find and connect to people you meet on-the-go.

       YOUR PROFILE
       • Use your Linkedhl profile as a virtual resume
       • Highlight your accomplishments, responsibilities, and experience
       • Add a picture to help people you know and potential employers find you

       YOUR NETWORK
       • Find friends, classmates, and colleagues to add to your netv.•ork
       • See updates on their activity and reach out via the app to stay in touch
       • Follow companies, influencers, and topics you're interested in

       JOB SEARCH
       • Search and apply to millions of openings
       • Upload and easily submit your resume to jobs that fit
       • Save searches and create ale11s to be the first to know about new openings
       • Reach out to connections at companies you're interested in for refe1rnls and advice, to increase your chances of hearing back

       LATEST NEWS AND CONTENT
       • Share a1ticles, comments, and knowledge with your network
       • Learn about what's happening in your industty with curated content
       • Follow ha.shta.gs for timely updates on topics you care about the most

       GET MORE OUT OF LINKED IN BY USING THE APP
       • Find nearby: allows you to connect to people in your vicinity
       • QR code scanner: share your unique code so people can connect with you instantly
       • Push notifications: know inunediately when someone responds or wants to connect

       Whether you want to find a new j ob, share your knowledge, build your professional reputation, or if you just need a lightweight way to stay in touch--get
       started with the Linkedhl app today.


       The Linkedhl app is free to use and dov.rnload.


       Want to make the most ofLinkedhl? Upgrade to a. Pre1nium subscription for exclusive tools to find a j ob, grow your business, find sales leads, or hire
       talent--priced from $29.99 monthly to $ 119.95 monthly.

       Subscriptions will automatically renew ea.ch month and be charged to your iTunes account within 24-hours of the end of the cmTent period, unless auto-
       renew is twned off at least 24-hours before the end of the cmTent period. You can tum off auto-renew at any time from your iTunes account settings, but
       refunds will not be provided for any unused po1tion of the tenn. These prices are for United States customers. Pricing in other countt1es may vaiy and
       actual chat· es ma. be conve1t ed to our local cmTenc de endin<> on the count! of residence.
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                                                                                                                                        Linkedln: Network & Job Finder
      Date                                                                                Description

                  Privacy Policy: https://wwv.r.linkedin.com/legal/privacy-policy
                  Temis of Service: httns://www.linkedin.com/le2al/user-a greement
January 1, 2020   Linked.In is the social network for job seekers, professionals, and businesses. Build your network, find business contacts, connect with recruiters, and use
                  your professional profile as an online resume.

                  Linked.In's job search filters help you narrow down from the millions ofjobs posted to the job that's right for you. Use job search alerts to get notified
                  when new positions open up in companies you're interested in, all the while connecting directly with recruiters or employees in your network. Tap into
                  your network to ask for a refen-al for companies you're applying to and get your resume noticed. You can also apply on-the-go using the Linked.In app to
                  save time and be the first application to the job of your dreams.

                  Use Linked.In to navigate your career with confidence--whether you want to find a new job, keep in touch with your network, or stay up-to-date on the
                  latest from your connections and your industry.

                  Get the Linked.In app to access the full business networking features and job search functionality--anytime, anywhere.


                  Why you' ll love using the Linked.In app:

                  1. Job search: Browse on-the-go and set job ale11s to get recommended jobs that fit
                  2. Job apply: Apply easily to millions of jobs with your resume, right from the app
                  3. Industry news: Stay on top of the latest news and conversations happening in your industry
                  4. Chat with your network: Send messages and get alerted when your contacts reply
                  5. Business networking: Use Find Nearby and QR code scanner features to easily find and connect to people you meet in the moment

                  Linked.In Features:

                  SOCIAL NETWORKING
                  • Find friends, classmates, and colleagues to add to your network
                  • See updates on their activity and reach out on the app to stay in touch
                  • Share articles, comments, and knowledge with your network
                  • Follow hashtags to get timely updates on topics you care about the most

                  BUSINESS NETWORKING
                  • Follow companies, influencers, and topics you're interested in
                  • Reach out to connections at companies you're interested in for refe1rnls and advice
                  • Leam about what's happening in your industry with curated content

                  JOB SEARCH
                  • Search and apply to millions of openings
                  • Upload and easily submit your resume to jobs that fit
                  • Save searches and create ale11s to be the first to know about new openings


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                                                                                                                                        Linkedln: Network & Job Finder
      Date                                                                                  Desniption
                  CAREER FINDER PROFILE
                  • Use your Linkedln profile as a virtual resume
                  • Highlight your accomplislnnents, responsibilities, and experience
                  • Add a picture to help people you know and potential employers find you

                  GET MORE OUT OF LINKEDIN BY USING THE APP
                  • Find nearby: allows you to connect to people in your vicinity
                  • QR code scanner: share your unique code so people can connect with you instantly
                  • Push notifications: know immediately when someone responds or wants to connect

                  Whether you want to build your professional reputation, find a new job, share your knowledge, or just need a lightweight way to stay in touch, Linkedln is
                  the professional social network for you.

                  Start your job search with the Linkedln app today.

                  The Linkedln app is free to use and dovvnload.


                  Want to make the most of Linkedln? Upgrade to a Premium subscription for exclusive tools to find a job, grow your business, find sales leads, or hire
                  talent--priced from $29.99 monthly to $ 119.95 monthly.

                  Subscriptions will automatically renew each month and be charged to your iTunes account within 24-hours of the end of the current period, unless auto-
                  renew is turned off at least 24-hours before the end of the current period. You can turn off auto-renew at any time from your iTunes account settings, but
                  refunds will not be provided for any unused portion of the tenn. These prices are for United States customers. Pricing in other countries may vary and
                  actual charges may be converted to your local currency depending on the country of residence.

                  Privacy Policy: https :/ /www.linkedin.com/legal/privacy-policy
                  Tenns of Service: httns://www.linkedin.com/legal/user-=eement
January 1, 2021   Linkedln is the social network for job seekers, professionals, and businesses. Build your network, find business contacts, connect with recruiters, and use
                  your professional profile as an online resume.

                  Linkedln's job search filters help you nan-ow down from the millions ofjobs posted to the j ob that's right for you. Use job search alerts to get notified
                  when new positions open up in companies you're interested in, all the while connecting directly with recruiters or employees in your network. Tap into
                  your network to ask for a refen-al for companies you're applying to and get your resume noticed. You can also apply on-the-go to save time and be the
                  first application to the job of your dreams.

                  Use Linkedln to navigate your career with confidence--whether you want to find a new j ob, keep in touch with your netv.•ork, or stay up-to-date on the
                  latest from yow· connections and your industry.

                  Why you' ll love using the Linkedln app:

                  1. Job search: Browse on-the-go and set j ob ale11s so that you can be the first to apply
                  2. Job aooly : Aooly easily to tnillions of iobs with your resume, right from the aoo
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                                                                                                                             Linkedln: Network & Job Finder
Date                                                                          Desniption
       3. Industry news: Stay on top of the latest news and conversations happening in your industry
       4. Chat with your network: Send messages and get ale1ted when your contacts reply
       5. Business networking: Use Find Nearby and QR code scanner features to easily find and connect to people you meet in the moment

       SOCIAL NETWORKING
       • Find friends, classmates, and colleagues to add to your netv.•ork
       • See updates on their activity and reach out on the app to stay in touch
       • Share a1ticles, comments, and knowledge with your network
       • Follow hashtags to get updates on topics you care about the most

       BUSINESS NETWORKING
       • Follow companies, influencers, and topics you're interested in
       • Reach out to connections at companies you're interested in for refe1rnls and advice
       • Leam about what's happening in your indust:iy with curated content

       JOB SEARCH
       • Search and apply to millions of openings
       • Upload and easily submit your resume to jobs that fit
       • Save searches and create ale11s to be the first to know about new openings

       CAREER FINDER PROFILE
       • Use your Linkedln profile as a virtual resume
       • Highlight your accomplishments, responsibilities, and experience
       • Add a picture to help people you know and potential employers find you

       GET MORE OUT OF LINKED IN BY USING THE APP
       • Find nearby: allows you to connect to people in your vicinity
       • QR code scanner: share your unique code so people can connect with you instantly
       • Push notifications: know inimediately when someone responds or wants to connect

       Whether you want to build your professional reputation, find a new j ob, share your knowledge, or just need a lightv.•eight way to stay in touch, Linkedln is
       the professional social netv.•ork for you.

       Sta1t your j ob search with the Linkedln app today.

       The Linkedln app is free to use and download.



       Want to make the most ofLinkedln? Upgrade to a Premium subscription for exclusive tools to find a j ob, grow your business, find sales leads, or hire
       talent--priced from $29.99 monthly to $ 119.95 montlily.



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      Date                                                                               Desniption
                  Subscriptions will automatically renew each month and be charged to your iTunes account within 24-hours of the end of the cmTent period, unless auto-
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                  Privacy Policy: https://wwv.r.linkedin.com/legal/privacy-policy

                  Te1ms of Service: httns://www.linke.din.com/legal/user-azeement
January 1, 2022   Welcome professionals! Linkedln is the social network for job seekers, professionals, and businesses. Build your network, find business contacts, connect
                  with recruiters, and use your professional profile as an online reswne.

                  Linkedln's job search filters help you narrow down from the millions ofjobs posted to the job that's right for you. Use job search alerts to get notified
                  when new positions open up in companies you're interested in, all the while connecting directly with recruiters or employees in your network. Tap into
                  your network to ask for a referral for companies you're applying to and get your resume noticed. You can also apply on-the-go to save time and be the
                  first application to the job of your dreams.

                  Use Linkedln to navigate your career with confidence--whether you want to find a new job, keep in touch with your network, or stay up-to-date on the
                  latest from your connections and your industry.

                  Why you'll love using the Linkedln app:

                  1. Job search: Browse on-the-go and set job alerts so that you can be the first to apply
                  2. Job apply: Apply easily to millions ofjobs with your resume, right from the app
                  3. Industry news: Stay on top of the latest news and conversations happening in your industry
                  4. Chat with your network: Send messages and get alerted when your contacts reply
                  5. Business networking: Use Find Nearby and QR code scanner features to easily find and connect to people you meet in the moment

                  SOCIAL NETWORKING
                  • Find friends, classmates, and colleagues to add to your network
                  • See updates on their activity and reach out on the app to stay in touch
                  • Share articles, comments, and knowledge with your network
                  • Follow hashtags to get updates on topics you care about the most

                  BUSINESS NETWORKING
                  • Follow companies, influencers, and topics you're interested in
                  • Reach out to connections at companies you're interested in for referrals and advice
                  • Learn about what's happening in your industry with curated content

                  JOB SEARCH
                  • Search and apply to millions of openings
                  • Upload and easily submit your reswne to jobs that fit
                  • Save searches and create alerts to be the first to know about new openings


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                                                                                                                                         Linkedln: Network & Job Finder
      Date                                                                                 Desniption
                  CAREER FINDER PROFILE
                  • Use your Linkedln profile as a virtual resume
                  • Highlight your accomplislnnents, responsibilities, and experience
                  • Add a picture to help people you know and potential employers find you

                  GET MORE OUT OF LINKEDIN BY USING THE APP
                  • Find nearby: allows you to connect to people in your vicinity
                  • QR code scanner: share your unique code so people can connect with you instantly
                  • Push notifications: know immediately when someone responds or wants to connect

                  Whether you want to build your professional reputation, find a new job, share your knowledge, or just need a lightweight way to stay in touch, Linkedln is
                  the professional social network for you.

                  Start your job search with the Linkedln app today.

                  The Linkedln app is free to use and dovvnload.



                  Want to make the most of Linkedln? Upgrade to a Premium subscription for exclusive tools to find a job, grow your business, find sales leads, or hire
                  talent--priced from $29.99 monthly to $ 119.95 monthly.

                  Subscriptions will automatically renew each month and be charged to your iTunes account within 24-hours of the end of the current period, unless auto-
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                  Tenns of Service: httns://www.linkedin.com/legal/user-=eement
January 1, 2023   Welcome professionals ! Linkedln is the social network for job seekers, professionals, and businesses. Build your netv.•ork, find business contacts, connect
                  with recmiters, and use your professional profile as an online reswne.

                  Linkedln's job search filters help you nan-ow down from the millions ofjobs posted to the j ob that's right for you. Use j ob search alerts to get notified
                  when new positions open up in companies you're interested in, all the while connecting directly with recmiters or employees in your network. Tap into
                  your network to ask for a refen-al for companies you're applying to and get your resume noticed. You can also apply on-the-go to save time and be the
                  first application to the job of your dreams.

                  Use Linkedln to navigate yow· career with confidence--whether you want to find a new j ob, keep in touch with your netv.•ork, or stay up-to-date on the
                  latest from yow· connections and your industry.

                  Why you' ll love using the Linkedln app:


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                                                                                                                            Linkedln: Network & Job Finder
Date                                                                            Desniption
       1. Job search: Browse on-the-go and set job ale11s so that you can be the first to apply
       2. Job apply: Apply easily to millions of jobs with your resume, right from the app
       3. Industry news: Stay on top of the latest news and conversations happening in your industry
       4. Chat with your network: Send messages and get ale1ted when your contacts reply
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       • Reach out to connections at companies you're interested in for refe1rnls and advice
       • Leam about what's happening in your industty with curated content

       JOB SEARCH
       • Search and apply to millions of openings
       • Upload and easily submit your resume to jobs that fit
       • Save searches and create ale11s to be the first to know about new openings

       CAREER FINDER PROFILE
       • Use your Linkedln profile as a virtual resume
       • Highlight your accomplishments, responsibilities, and experience
       • Add a picture to help people you know and potential employers find you

       GET MORE OUT OF LINKED IN BY USING THE APP
       • Find nearby: allows you to connect to people in your vicinity
       • QR code scanner: share your unique code so people can connect with you instantly
       • Push notifications: know immediately when someone responds or wants to connect

       Whether you want to build your professional reputation, find a new job, share your knowledge, or just need a lightv.•eight way to stay in touch, Linkedln is
       the professional social netv.•ork for you.

       Sta1t your job search with the Linkedln app today.

       The Linkedln app is free to use and dov.rnload.



       Want to make the most ofLinkedln? Upgrade to a Pre1nium subscription for exclusive tools to find a job, grow yow· business, find sales leads, or hire
       talent-- riced from $29.99 monthl to $ 119.95 monthl .
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                                                                                                                           Linkedl n: Network & Job Finder
Date                                                                           Description

       Subscriptions will automatically renew each month and be charged to your iTunes account within 24-hours of the end of the cun-ent period, unless auto-
       renew is turned off at least 24-hours before the end of the ctm-ent period. You can tum off auto-renew at any time from your iTunes account settings, but
       refunds will not be provided for any unused portion of the term. These prices are for United States customers. Pricing in other countries may vary and
       actual charges may be converted to your local cnn·ency depending on the country of residence.

       Privacy Policy : https://wv.rw.linkedin.com/legal/privacy-policy

       Tenns of Service: h




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Messenger (App ID: 45463841 1)
       Date                                                                              Desuiption
 August 3, 2011     Facebook Messenger is a faster way to message. Reach friends right on their phones, get and send messages fast, message everyone at once and more.

                    Top Features:

                    • Message friends, groups of friends or anyone in your mobile contacts
                    • Map your location, find your friends and make plans on the go
                    • Get mobile notifications so you never miss a message
                    • Include ohotos so friends can see what vou're doin2
 Janua1·y 1, 2012   Facebook Messenger is a faster way to send mobile messages to friends. With Messenger, you can send and receive messages with any of your friends
                    around the world.

                    Messenger lets you:

                    • Send messages instantly to other friends who have Messenger
                    • Chat with friends who are on Facebook
                    • Get free push notifications for incoming messages
                    • Attach location and photos to messages
                    • Access sent and received messages on both Messenger and Facebook
                    • Create group conversations for ma.king plans on the go
                    • Add more friends to group conversations at any time
                    • Control ale1t and location settinizs for each conversation
 Janmu-y 1, 2013    Text your friends for free . Get Facebook Messenger to instantly reach friends on their smart phones, feature phones or desktop computers. In addition to
                    sending free texts, you can also:
                    - Chat with a group
                    - Send voice messages, photos, smileys and other em~ii
                    - Get push notifications
                    - Know who's seen your messages
                    - Include your location
                    Messenger does all this using your existing data plan.
 Janua1·y 1, 2014   Instantly reach the people you care about.

                    Messenger is a fast, free and reliable way to stay in touch. It's just like texting, but you don't have to pay for every message (it works with your data plan).

                    Features:
                    Get to your messages without opening Facebook.
                    Bring your conversations to life with stickers.
                    Send photos privately.
                    Have group conversations and make plans on the go.
                    Text your phone contacts, even if you're not Facebook friends.
                    Share your location so people know when you're nearby.
                    Record voice messa-2:es.

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                  Make free calls, even to friends in other countries.
                  Know when people have seen yow- messages.
                  See who's available on Messenger and who's active on Facebook.
                  Stay logged in so you never miss a message.
                  Twn off notifications when ou're workin ., slee in or ·ust need a break
January 1, 2015   Instantly reach the people in yow- life-for free. Messenger is just like texting, but you don't have to pay for every message (it works with your data plan).

                  Not just for Facebook friends: Message people in your phone book and just enter a phone number to add a new contact.

                  Group chats: Create groups for the people you message most. Name them, set group photos and keep them all in one place.

                  Photos and videos: Shoot videos and snap selfies or other photos right from the app and send them with one tap.

                  Free calls: Talk as long as you want, even with people in other countries. (Calls are free over Wi-Fi. Otherwise, standard data charges apply.)

                  Even more ways to message:
                  Bring your conversations to life with stickers.
                  Preview your camera roll photos and videos without leaving the conversation--then choose the perfect ones to send.
                  Record voice messages when you have more to say.

                  Extra features:
                  Know when people have seen your messages.
                  Forward messages or photos to people who weren't in the conversation.
                  Search for people and groups to quickly get back to them.
                  Tum on location to let people know when you're nearby.
                  See who's available on Messenger and who's active on Facebook.
                  Tum off notifications when you're working, sleeping or just need a break.
                  Sta lo . ed in so ou never miss a mess e.
January 1, 2016   Instantly reach the people in yow- life-for free. Messenger is just like texting, but you don't have to pay for eve1y message (it works with yow- data plan).

                  Not just for Facebook friends: Message people in yow- phone book and just enter a phone number to add a new contact.

                  Group chats: Create groups for the people you message most. Name them, set group photos and keep them all in one place.

                  Photos and videos: Shoot videos and snap selfies or other photos right from the app and send them with one tap.

                  Free calls: Talk as long as you want, even with people in other countries. (Calls are free over Wi-Fi. Othe1wise, standard data charges apply.)

                  Even more ways to message:
                  Bring yow- conversations to life with stickers.
                  Preview yow- camera roll photos and videos without leaving the conversation--then choose the perfect ones to send.
                  Record voice messages when you have more to say.


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                  Extra features :
                  Know when people have seen your messages.
                  Fo1ward messages or photos to people who weren't in the conversation.
                  Search for people and groups to quickly get back to them.
                  Tum on location to let people know when you're nearby.
                  See who's available on Messenger and who's active on Facebook.
                  Tum off notifications when you're working, sleeping or just need a break.
                  Sta loooed in so ou never miss a messa _e.
January 1, 2017   Instantly reach the people in your life-for free. Messenger is just like texting, but you don't have to pay for every message (it works witlt your data plan).

                  Not just for Facebook friends : Message people in your phone book and just enter a phone number to add a new contact.

                  Group chats: Create groups for tlte people you message most. Name tltem, set group photos and keep tltem all in one place.

                  Photos and videos: Shoot videos and snap selfies or otlter photos right from tlte app and send tltem witlt one tap.

                  Free calls: Talk as long as you want, even witlt people in otlter countries. (Calls are free over Wi-Fi. Otlterwise, standard data charges apply.)

                  Even more ways to message:
                  Bring your conversations to life with stickers.
                  Preview your camera roll photos and videos witltout leaving tlte conversation--then choose the perfect ones to send.
                  Record voice messages when you have more to say.

                  Extra features:
                  Know when people have seen your messages.
                  Forward messages or photos to people who weren't in the conversation.
                  Search for people and groups to quickly get back to tltem.
                  Tum on location to let people know when you're nearby.
                  See who's available on Messenger and who's active on Facebook.
                  Tum off notifications when you're working, sleeping or just need a break.
                  Stay logged in so you never miss a message.

                  Continued use of GPS running in the background can dramatically decrease battery life. Messenger uses location data to make features work, help people
                  connect and more.
January 1, 2018   Instantly connect with the people in your life. Messenger is free, fast, and secure.

                  - Reach anyone. You can use names or phone numbers to find friends.
                  - Use eve1ywhere. Messenger works across all mobile and desktop devices . You can even connect with people intemationally!
                  - Connect however you want. Send a text message, share a photo, or start a video chat - all in Messenger.
                  - Communicate better with groups. Catch up in real time with high quality group video chat or customize your messaging experience with colors,
                  nicknames, and group photos.
                  - Call and video chat your friends 1: 1 or in groups. It's free over Wi-Fi (otherv.•ise standard data charges apply), so talk as long as you want, even witlt
                    eo le in other countries.
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                   - Express yourself. Send emojis, stickers, and GIFs to conversations or add new masks and effects to your video chats.
                   - Capture photos and videos with fun ait and effects. You can save these to camera roll, send to conversations, or post to your Day, a place where people
                   can se.e what you're up to.
                   - Play games and compete with your friends. You can compai·e scores and see how you rank against other people.
                   - Chat with businesses. You can make reservations, check on orders, and et real-time customer service.
January 1, 2019    * SEND A MESSAGE - Skip exchanging phone numbers, just send a message. It's seamless across devices.
                   * SHOW YOUR REACTION - Add a silly sticker, send a dancing GIF and use emojis to express yourself better.
                   * SHARE PHOTOS AND VIDEOS - Capture the moment with the Messenger Camera, add a filter or doodle, then send to friends or share to Stories.
                   * RALLY THE GROUP - Make plans to get together with polls, share your location, split the bill and more.
                   * HOP ON A CALL OR VIDEO CHAT - Hang out anywhere, anytime by getting on call or a group video** chat - filters optional :) **Calls are free
                   over Wi-Fi but otherwise standard data charges apply.
                   * SEND A VOICE MESSAGE - When text just won't cut it, j ust hit record and send say, sing or shout it out loud.
                   * SEND MONEY SECURELY AND EASILY (within US, UK and France only) - Send and receive money from friends in the a.pp by adding your debit
                   card or PayPal* account. *PayPal available in the US only.
                   * SHARE YOUR LOCATION - Suggest a meeting spot or tell friends where you are by sharing your location with just a few taps.
                   * CHAT WITH BUSINESSES - Easily connect with your favorite businesses to make reservations, get customer support, find deals and more.
                   * PLAY GAMES WITH FRIENDS - Challen e friends, climb leaderboards, and discover our next amin obsession.
J anuary 1, 2020   * SEND A MESSAGE -Skip exchanging phone numbers, just send a message. It's seamless across devices.
                   * CUT DOWN GLARE WITH DARK MODE. Dark mode is a sleek new look that goes easy on the eyes by switching the background from white to
                   black.
                   * SHOW YOUR REACTION - Add a silly sticker, send a dancing GIF and use emojis to express yourself better.
                   * SHARE PHOTOS AND VIDEOS - Capture the moment with the Messenger Camera, add a filter or doodle, then send to friends or shai·e to Stories.
                   * RALLY THE GROUP - Make plans to get together with polls, share your location, split the bill and more.
                   * HOP ON A CALL OR VIDEO CHAT - Hang out anywhere, anytime by getting on call or a group video** chat - filters optional :) **Calls are free
                   over Wi-Fi but oth e1wise standat·d data charges apply.
                   * SEND A VOICE MESSAGE - When text just won't cut it, j ust hit record and send say, sing or shout it out loud.
                   * SEND MONEY SECURELY AND EASILY (within US, UK and France only) - Send and receive money from friends in the app by adding your debit
                   card or PayPal* account. *PayPal available in the US only.
                   * SHARE YOUR LOCATION - Suggest a meeting spot or tell friends where you ai·e by sharing your location with just a few taps.
                   * CHAT WITH BUSINESSES - Easily connect with your favorite businesses to make reservations, get customer support, find deals and more.
                   * PLAY GAMES WITH FRIENDS - Challen _e friends, climb leaderboards, and discover our next oamin obsession.
January 1, 2021    Made for big screens and close connections. Get access to free* texting, and high-quality voice and video chat built specifically for desktop.

                   MADE FOR DESKTOP, MADE FOR YOU
                   Type even faster, multi-task while video chatting so you never miss a moment and stay connected with desktop notifications.

                   SPEND QUALITY TIME IN HIGH QUALITY
                   Host one-on-one meetings or bring the whole group together with free*, high-quality voice and video chat features.

                   GET THE GROUP TOGETHER WITH ROOMS
                   Send a link to group video chat with anyone, even if they don't have Messenger. Host up to 50 people with no time limits.

                   SAY 'HI' IN LOW LIGHT WITH DARK MODE
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                  Cut down glare from your screen in low-light situations, so you can stay in touch no matter when or where you are.

                  EXPRESS YOURSELF WITH STICKERS, GIFS AND EMOJIS
                  Tell your story with stickers, gifs and emojis when words aren't enough.

                  SHARE WITH FRIENDS
                  Send photos and videos to keep your close friends up to speed. Receive files for even more productivity.

                  *Calls are free over Wi-Fi but otherwise, standard data charges apply.
                  Privac Polic : h s://www.facebook.com/about/ rivac LEARN MORE at: h s://messen er.com
January 1, 2022   Be together whenever, with our free* all-in-one communication app, complete with unlimited text, voice, video calling and group video chat features.

                  CROSS-APP MESSAGING AND CALLING
                  Connect with your Instagram friends right from Messenger. Simply search for them by name or usemame to message or call.

                  VANISH MODE
                  Send messages that only la.st for a moment. Opt in to use vanish mode where seen messages disappear after you exit the chat.

                  PRIVACY SETTINGS
                  New privacy settings let you choose who can reach you, and where your messages are delivered.

                  CUSTOM REACTIONS
                  Lost for words? You can customize your reactions, with lots more emojis to choose from.

                  CHATTHEMES
                  Choose from fun themes and colors, like Tie-Dye or Love, to make your chats more personal.

                  WATCH TOGETHER
                  Watch videos, tv shows, and movies with your friends over Messenger Video Chat and Rooms when you can't be together. Capture eve1y moment and
                  reaction in real-time.

                  GET THE GROUP TOGETHER WITH ROOMS
                  Send a link to group video chat with anyone, even if they don't have Messenger. Host up to 50 people with no time limits.

                  FREE* VIDEO CALLS TO STAY CONNECTED
                  Keep your friends and family close with unlimited live video chatting.Host group video calls with up to 8 people, with high-quality audio, high definition
                  video, and interactive video features like face filters.

                  UNLIMITED FREE* TEXT & PHONE CALLS
                  Skip exchanging phone numbers and simply send a message to your Facebook friends, even if they're across the world. Enjoy high-quality voice and text
                  messaging on mobile, tablet, and desktop.

                  TURN OFF THE LIGHTS IN DARK MODE
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                  Give your eyes some rest with a sleek new look that darkens the colors of the chat interface.

                  RECORD AND SEND VOICE AND VIDEO MESSAGES
                  When text just won't cut it, just hit record and send. Say, sing, show, or shout it out loud.

                  EXPRESS YOURSELF WITH STICKERS, GIFS, AND EMOJIS
                  Use custom stickers to show your creative side. You can even add effects and filters to video calls.

                  SEND FILES, PHOTOS, AND VIDEOS
                  There's no limit to the number of files you want to share with your friends.

                  PLAN AND MAKE IT HAPPEN
                  Make plans to get together with polls and more. Suggest a meeting spot or tell friends where you are by sharing your location with just a few taps.

                  SEND MONEY SECURELY AND EASILY (within US only)
                  Send and receive money secw·ely and easily with friends and family right in the app by adding your debit card, PayPal account or reloadable prepaid card
                  (single-sow·ce cards eligible for sending money only).

                  CHAT WITH BUSINESSES
                  Easily connect with your favorite businesses to make rese1va.tions, get customer suppo1t , find deals and more.

                  COMPATIBLE ACROSS PLATFORMS
                  Chat with friends across an an-ay of devices, like desktop, Po1tal, and others.

                  Privacy Policy: https://wwv.r.facebook.com/about/privacy/

                  LEARN MORE about Messenger texting and group video chat at: http://messenger.com

                  * Data rates apply


January 1, 2023   Be together whenever, with our free* all-in-one communication app, complete with unlimited text, voice, video calling and group video chat features.
                   CROSS-APP MESSAGING AND CALLING
                   Connect with your Instagram friends right from Messenger. Simply search for them by name or username to message or call.
                   PRIVACY SETTINGS
                   New privacy settings let you choose who can reach you, and where your messages are delivered.
                   CUSTOM REACTIONS
                   Lost for words? You can customize your reactions, with lots more emojis to choose from.
                   CHATTHEMES
                   Choose from fun themes and colors, like Tie-Dye or Love, to make your chats more personal.
                   WATCH TOGETHER
                   Watch videos, tv shows, and movies with your friends over Messenger Video Chat and Rooms when you can't be together. Capture every moment and
                  reaction in real-time.
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FREE* VIDEO CALLS TO STAY CONNECTED
Keep your friends and family close with unlimited live video chatting.Host group video calls with up to 8 people, with high-quality audio, high definition
video, and interactive video features like face filters.
UNLIMITED FREE* TEXT & PHONE CALLS
Skip exchanging phone numbers and simply send a message to your Facebook friends, even if they're across the world. Enjoy high-quality voice and text
messaging on mobile, tablet, and desktop.
TURN OFF THE LIGHTS IN DARK MODE
Give your eyes some rest with a sleek new look that darkens the colors of the chat interface.
RECORD AND SEND VOICE AND VIDEO MESSAGES
When text just won't cut it, just hit record and send. Say, sing, show, or shout it out loud.
EXPRESS YOURSELF WITH STICKERS, GIFS, AND EMOilS
Use custom stickers to show your creative side. You can even add effects and filters to video calls.
SEND FILES, PHOTOS, AND VIDEOS
There's no limit to the nwnber of files you want to share with your friends.
PLAN AND MAKE IT HAPPEN
Make plans to get together with polls and more. Suggest a meeting spot or tell friends where you are by sharing your location with just a few taps.
SEND AND REQUEST MONEY WITH NO FEES
Send and receive money securely and quickly-right in the app. Split payments in group chats to share rent, travel, and other expenses. Start sending
money to friends and family by adding your debit card, PayPal account (fees may apply), or prepaid card. Only available in the US.
CHAT WITH BUSINESSES
Easily connect with your favorite businesses to make reservations, get customer support, find deals and more.
COMPATIBLE ACROSS PLATFORMS
Chat with friends across an array of devices, like desktop, Portal, and others.
Privacy Policy: https://wvvw.facebook.com/about/privacy/
LEARN MORE about Messenger texting and group video chat at: http://messenger.com
 * Data rates apply
Some Messen er features ma not be available in our coun




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Messenger Lite (App ID: 1434329167)
       Date                                                                               Desniption
 August 27, 2018   Messenger Lite is a fast and data-efficient messaging app to connect with the people in your life.

                   - Installs quickly - it's less than 10MB to download!
                   - Uses less mobile data
                   - Loads fast and runs efficiently
                   - Message people one-on-one or in groups
                   - Send photos videos. and links
 January 1, 2019   Messenger Lite is a fast and data-efficient messaging app to connect with the people in your life.

                    - Installs quickly - it's less than 10MB to download!
                    - Uses less mobile data
                    - Loads fast and rnns efficiently
                    - Message people one-on-one or in groups
                    - Send photos, videos, and links
                    - See when others are active (green dot!)
                    - Plav voice notes/messages
 Januuy 1, 2020    - Loads fast and runs efficiently
                   - Uses less mobile data
                   - Message people one-on-one or in groups
                   - Send photos, videos, and links- See when others are active (green dot!)
                   - Play voice notes/messages
                   - Make one-on-one voice and video calls for free over Wi-Fi (otherwise standard data charges annlv)




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MeWe Network (App ID: 918464474)
       Date                                                                              Desuiption
 September 12,    Features:
 2014
                       Post updates with photos, videos, animated gifs

                       Share with specific groups or all your Contacts at once through "My World""

                       Control who sees your posts with easy-to-use privacy options

                       Chat Privately one-on-one, with multiple people or an entire group

                       Communicate with privacy-protected email with members on desktop and mobile

                      Get up to 8GB of free space to store vour stuff!
January 1, 2015   Features:

                       Post updates with photos, videos, animated gifs

                       Share with specific groups or all your Contacts at once through "My World""

                       Control who se-es your posts with easy-to-use privacy options

                       Chat Privately one-on-one, with multiple people or an entire group

                       Communicate with privacy-protected email with members on desktop and mobile

                      Get up to 8GB of free space to store vour stuff!
January 1, 2016   We are social creatures by nature and private people by right. MeWe offers the power of self-expression with the coolest cutting-edge features. Stay
                  connected to the people who matter most in your life.

                  - Post updates with photos, videos, animated gifs

                  - Share with specific groups or all your Contacts at once through "My World""

                  - Respond to posts with likes, loves, and em~ii

                  - Use disappearing content to privately share your favorite moments

                  - Control who sees your posts with easy-to-use privacy options

                  - Chat privately one-on-one, with multiple people or an entire group

                  - Communicate via Privacv Mail with members on desktoo and mobile
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                                                                                                                                                        Me We Network
      Date                                                                              Desniption

                  - Get uo to 8GB of free soace to store vour stuffi
January 1, 2017   Go beyond traditional social media and play without limits, create without mles and demand the freedom to be your uncensored self. This is what happens
                  when you join MeWe: the next-gen social network. There are No Ads. No Tracking. No BS. Express yourself, your way #OnlyOnMeWe.

                  - Share what you want with WHO you want, no stalkers or creepers
                  - Share photos, videos, voice messages, animated GIFs and MEMEs
                  - Share updates with specific groups or all your contacts
                  - Create different profiles based on the different groups you're in
                  - Comment and respond to posts with over 700 emojis
                  - Send disappearing GIFs and images to share your favorite moments
                  - Control who sees your posts with the easiest privacy settings
                  - Chat one-on-one, with multiple people, or an entire group
                  - Rest assured that we can't and won't track you: your personal data and communication is safe
                  - Get up to 8GB of free space to store your stuff

                  Premium feature: Secret Chat Subscription
                  • Add an additional layer of security to your one-to-one chats with the latest end-to-end encryption
                  • Choose the plan that works best for you; just .99¢ USD per month or $5.99 USD per year. Payment will be charged to your iTunes account at
                  confinnation of purchase.
                  • NO long term commitment - you can cancel it at any time up until the day before renewal. The subscription is automatically renewed and charged on a
                  monthly (30 day) or yearly (365 day) basis and you can at any time tum off the auto renewal from your iTunes account.

                  Privacy policy: https://mewe.com/privacy
                  Terms of use: httos://mewe.com/temlS
January 1, 2018   Go beyond traditional social media and play without limits, create without mles and demand the freedom to be your uncensored self. This is what happens
                  when you join MeWe: the next-gen social network. There are No Ads. No Tracking. No BS. Express yourself, your way #OnlyOnMeWe.

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                  - Create different profiles based on the different groups you're in
                  - Comment and respond to posts with over 700 em~iis
                  - Send disappearing GIFs and images to share your favorite moments
                  - Control who sees your posts with the easiest privacy settings
                  - Chat one-on-one, with multiple people, or an entire group
                  - Rest assured that we can't and won't track you: your personal data and communication is safe
                  - Get up to 8GB of free space to store your stuff

                  Premium feature : Secret Chat Subscription
                  • Add an additional layer of security to your one-to-one chats with the latest end-to-end encryption
                  • Choose the plan that works best for you; just .99¢ USD per month or $5.99 USD per year. Payment will be charged to your iTunes account at
                  confu mation of purchase.
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                                                                                                                                                              Me We Network
      Date                                                                              Desniption
                  • NO long term commitment - you can cancel it at any time up until the day before renewal. The subscription is automatically renewed and charged on a
                  monthly (30 day) or yearly (365 day) basis and you can at any time tum off the auto renewal from your iTunes account.

                  Privacy policy: https://mewe.com/privacy
                  Terms of use: httns://mewe.com/terms
January 1, 2019   Go beyond traditional social media and play without limits, create without m ies and demand the freedom to be your uncensored self. This is what happens
                  when you join MeWe: the next-gen social network. There are No Ads. No Spyv.•are. No BS. Express yourself, your way #OnlyOnMeWe.

                  - Share what you want with WHO you want, no stalkers or creepers
                  - Share photos, videos, voice messages, animated GIFs and MEMEs
                  - Share updates with specific groups or all your contacts
                  - Create different profiles based on the different groups you're in
                  - Comment and respond to posts with over 700 emojis
                  - Send disappearing GIFs and images to share your favorite moments
                  - Control who sees your posts with the easiest privacy settings
                  - Chat one-on-one, with multiple people, or an entire group
                  - Rest assured that we can't and won't track you: your personal data and communication is safe
                  - Get up to 8GB of free space to store your stuff

                  Premium feature: Secret Chat Subscription
                  • Add an additional layer of security to your one-to-one cha.ts with the latest end-to-end encryption
                  • Choose the plan that works best for you; just .99¢ USD per month or $5.99 USD per year. Payment will be charged to your iTunes account at
                  confinnation of purchase.
                  • NO long term commitment - you can cancel it at any time up until 24-hours before the end of the cun-ent period. The subscription is automatically
                  renewed and charged on a monthly (30 day) or yearly (365 day) basis within 24-hours prior to the end of the cun-ent period.
                  • You can manage subscriptions and you can at any time tum off the auto renewal by going to the user's Account Settings after purchase.
                  • Any unused portion of a free trial period will be forfeited when you purchase a subscription.

                  Privacy policy: https://mewe.com/privacy
                  Terms of use: ht:tns://mewe.com/temlS
January 1, 2020   MeWe is the uplifting next-gen social network with awesome social features and No BS. No Ads, No Targeting, No Newsfeed manipulation.

                  MeWe has exciting, easy-to-use features for authentic connecting with friends, family, and common interest groups, including: dedicated newsfeeds for
                  close friends versus all contacts; private and open groups; fan and business pages; great chat features for both 1: 1 and group chats; disappearing content;
                  fun custom camera with cool tricks and GIF creation; live voice and live video for around the world connections; next-gen voice messaging; personal
                  social cloud; custom member profiles for every group; and more.

                  MeWe members enjoy total control over what they share along with full ownership of their content and data. The next-gen social networking platfonn has
                  no facial recognition, and no newsfeed or content manipulation common on other social media platforms. MeWe members see every post, chat, comment,
                  etc., made by individuals, pages and groups they are connected with, in true timeline order.

                  MeWe members ovvn their data and enjoy the protection ofMeWe's Privacy Bill Of Rights. MeWe is advised by Sir Tim Bemers-Lee, the inventor of the
                  Web, and MeWe's CEO, Mark Weinstein, is a world renovvned privacy advocate .
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                   Premium EmojiOne.com sticker packs are available in the MeWe Store. Copyright JoyPixels Inc. 2019.

                   Privacy policy: https://mewe.com/privacy
                   Terms of use: httns://mewe.com/terms
January 1, 2021    MeWe is the uplifting next-gen social netv.•ork with awesome social features and No BS. No Ads, No Targeting, No Newsfeed manipulation.

                   MeWe has exciting, easy-to-use features for authentic connecting with friends, family, and common interest groups, including: dedicated newsfeeds for
                   close friends versus all contacts; private and open groups; fan and business pages; great chat features for both 1:1 and group chats; disappearing content;
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                   etc., made by individuals, pages and groups they are connected with, in true tirneline order.

                   MeWe members own their data and enjoy the protection of MeWe's Privacy Bill Of Rights. MeWe is advised by Sir Tim Bemers-Lee, the inventor of the
                   Web, and MeWe's CEO, Mark Weinstein, is a world renowned privacy advocate .

                   Premium EmojiOne.com sticker packs are available in the MeWe Store. Copyright Joy Pixels Inc. 20 19.

                   Privacy policy: https://mewe.com/privacy
                   Terms of use: ht1ns://mewe.com/tem1S
January 1, 2022    MeWe is the uplifting next-gen social network with awesome social features and No BS. No Ads, No Targeting, No Newsfeed manipulation.

                   MeWe has exciting, easy-to-use features for authentic connecting with friends, family, and common interest groups, including: dedicated newsfeeds for
                   close friends versus all contacts; private and open groups; fan and business pages; great chat features for both 1: 1 and group chats; disappearing content;
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                   Web, and MeWe's founder, Mark Weinstein, is a world renowned privacy advocate.

                   Premium EmojiOne.com sticker packs are available in the MeWe Store. Copyright JoyPixels Inc. 2019.

                   Privacy policy: https://mewe.com/privacy
                   Terms of use: httns://mewe.com/terms
J anuary 1, 2023   MeWe is the uplifting next-gen social netv.•ork with awesome social features and No BS. No Ads, No Targeting, No Newsfeed manipulation.

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Date                                                                           Desniption
       MeWe has exciting, easy-to-use features for authentic connecting with friends, family, and common interest groups, including: dedicated newsfeeds for
       close friends versus all contacts; private and open groups; fan and business pages; great chat features for both 1: 1 and group chats; disappearing content;
       fun custom camera with cool tricks and GIF creation; live voice and live video for around the world connections; next-gen voice messaging; personal
       social cloud; custom member profiles for eve1y group; and more.

       MeWe members enjoy total control over what they share along with full ov.rnership of their content and data. The next-gen social networking platform has
       no facial recognition, and no newsfeed or content manipulation common on other social media platfonns. MeWe members see eve1y post, chat, comment,
       etc., made by individuals, pages and groups they are connected with, in tme timeline order.

       MeWe members own their data and enjoy the protection ofMeWe's Privacy Bill Of Rights. MeWe is advised by Sir Tim Bemers-Lee, the inventor of the
       Web, and MeWe's founder, Mark Weinstein, is a world renowned privacy advocate.

       Premium EmojiOne.com sticker packs are available in the MeWe Store. Copyright JoyPixels Inc. 2019.

       Privacy policy: https://mewe.com/privacy
       TemlS of use: h s://mewe.com/tenns




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Myspace (App ID: 284792653)



Janmu-y 1, 2010    If you love MySpace, you're really going to love MySpace Mobile for iPhone. Simply download the free application to stay connected with your
                   friends . .. anytime, anyplace!

                   FEATURES:

                         Send and receive messages
                         Browse your network of friends ... see their current status
                         Upload and share photos from your iPhone
                         Post comments on friends' profiles and photos
                         Stay up-to-date with bulletins
                         Search to find new friends
Janua1·y 1, 2011   Myspace for iPhone and iPod Touch lets you discover and browse new content from anyv.•here without even logging in. The app has all yow- fave features,
                   mobilized: u dates. hotos comments messa es. and more.
Janua1-y 1, 2012   Myspace for iPhone and iPod Touch lets you discover and browse new content from anywhere without even logging in. The app has all your fave features,
                   mobilized: updates, photos, comments, messages, and more.

                   ** We're listening to the user's and making the app faster. Please use the feedback feature in the app to let us know what you think and what you want to
                   see in future u dates.
Janua1·y 1, 2013   Myspace for iPhone and iPod Touch lets you discover and browse new content from anyv.•here without even logging in. The app has all yow- fave features,
                   mobilized: updates, photos, comments, messages, and more.

                   ** We're listening to the user's and making the app faster. Please use the feedback feature in the app to let us know what you think and what you want to
                   see in future u dates.
Janua1-y 1, 2014   This is Myspace. Discover, Connect, and Share wherever you are.


                   • Listen to your own personalized radio station or tune into stations curated by your favorite artists or connections.

                   • Invite friends from Twitter and Facebook or discover new connections on Myspace.


                   • GIF everything with the GIF maker, and share instantly everywhere.


                   • Check out your stream to see what your connections are creating and consuming.



Janua1· 1 2015                                                                 ou are.

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Date                                                                          Desniption


       • Invite friends from Twitter and Facebook or discover new connections on Myspace.


       • GIF eve1ything with the GIF maker, and share instantly eve1ywhere.


       • Check out your stream to see what your connections are creating and consuming.


       • Sta connected throuoh real-time messa in .




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Netflix (App ID: 363590051)
     Date                                                                                   Desuiption
 Much 22, 2010     Get Netflix on your iPad. Just download this free app and you can instantly watch TV shows & movies streaming from Netflix.
                   •          It's part of your Netflix unlimited membership. Not a Netflix member? Start your FREE trial today.
                   •          Watch as often as you want
                   •          Resume watching where you left off on your TV or computer
                   •          Browse movies and manruze your Oueue rillht from your iPad
 January 1, 2011   Get Netflix on your iPad, iPhone, or iPod touch. Just download this free app and you can instantly watch TV shows & movies streaming from Netflix.
                   •It's pa1t of your Netflix unlimited membership. Not a Netflix member? Sta1t your FREE trial today.
                   •Watch as often as you want
                   •Resume watching where you left off on your TV or computer
                   •Browse movies and manage your instant Queue right from your device

                   Note: Video out is suoo01ted on the iPad. iPhone 4. and iPod Touch 4G
 January 1, 2012   Just download this free app and you can instantly watch TV shows & movies streaming from Netflix.

                   * It's part of your Netflix unlimited membership. Not a Netflix member? Start your FREE trial today.
                   * Watch as often as you want
                   * Resume watching where you left off on your TV or computer
                   * Browse movies right from your iPhone, iPod Touch or iPad

                   Note: Video out is sunnorted on the iPad. iPhone 4. iPhone 4S and iPod Touch 4G
 January 1, 2013   Netflix is the world 's leading subscription service for watching TV episodes and movies on your phone. This Netflix mobile application delivers the best
                   experience anyv.1here, anytime.

                   Get the free app as a pait of your Netflix membership and you can instantly watch thousands of TV episodes & movies on your phone.

                   If you are not a Netflix member sign up for Netflix and stait enjoying immediately on your phone with our one-month free trial.

                   How does Netflix work?
                   - Netflix membership gives you access to unlimited TV shows and movies for one low monthly price.
                   - With the Netflix app you can instantly watch as many TV episodes & movies as you want, as often as you want, anytime you want.
                   - You can Browse a growing selection of thousands of titles, and new episodes that are added regulai·ly.
                   - Seai·ch for titles and watch immediately on your phone or on an ever expanding list of suppo1ted devices.
                   - Rate your favorite shows and movies and tell us what you like so Netflix can help suggest the best titles for you.


                   Note: Video out is suoo01ted on the iPad, iPhone 4, iPhone 4S, and iPod Touch 4G"
 January 1, 2014   Netflix is the world's leading subscription service for watching TV episodes and movies on your phone. This Netflix mobile application delivers the best
                   experience anywhere, anytime.

                   Get the free app as a part of your Netflix membership and you can instantly watch thousands of TV episodes & movies on your phone.


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                  If you are not a Netflix member sign up for Netflix and start enjoying immediately on your phone with our one-month free trial.

                  How does Netflix work?
                  • Netflix membership gives you access to unlimited TV shows and movies for one low monthly price.
                  • With the Netflix app you can instantly watch as many TV episodes & movies as you want, as often as you want, anytime you want.
                  • You can Browse a growing selection of thousands of titles, and new episodes that are added regularly.
                  • Search for titles and watch immediately on your phone or on an ever expanding list of supported devices.
                  • Rate your favorite shows and movies and tell us what you like so Netflix can help suggest the best titles for you.


                  Note: Video out is supported on all generations of iPad, iPhone 4 and later generations and iPod (4th generation) and later generations.

                  For assistance lease visit hel .netflix.com.
January 1, 2015   Netflix is the world's leading subscription service for watching TV episodes and movies on your phone. This Netflix mobile application delivers the best
                  experience anywhere, anytime.

                  Get the free app as a pa1t of your Netflix membership and you can instantly watch thousands of TV episodes & movies on your phone.

                  If you are not a Netflix member sign up for Netflix and strut enjoying immediately on your phone with our one-month free trial.

                  How does Netflix work?
                  • Netflix membership gives you access to unlimited TV shows and movies for one low monthly price.
                  • With the Netflix app you can instantly watch as many TV episodes & movies as you want, as often as you want, anytime you want.
                  • You can Browse a growing selection of thousands of titles, and new episodes that are added regularly.
                  • Search for titles and watch immediately on your phone or on an ever expanding list of suppo1ted devices.
                  • Rate your favorite shows and movies and tell us what you like so Netflix can help suggest the best titles for you.


                  Note: Video out is suppo1t ed on all generations of iPad, iPhone 4 and later generations and iPod (4th generation) and later generations.

                  For assistance, lease visit hel .netflix.com.
January 1, 2016   Enjoy TV shows and movies, including award-winning Netflix original series, movies, and documentaries.

                  Don't have Netflix? Start our free month now. No ads. No contracts. Cancel an rme.
January 1, 2017   Subscribe Now on Your iPhone® or iPad®

                  Watch TV shows and movies recommended just for you, including award-winning Netflix original series, movies, and documentaries.

                  Netflix has something for eve1yone. There's even a safe watching experience j ust for kids with family-friendly entertainment.

                  How does Netflix work?

                  • Netflix adds TV shows and movies all the time. Browse titles or search for our favorites.
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                  • The more you watch, the better Netflix gets at recommending TV shows and movies that you'll love---just for you.
                  • You can create up to five individual profiles within a single Netflix account. Profiles allow different members of your household to have their own
                  personalized Netflix experience built around the movies and TV shows they enjoy.
                  • Instantly stream on iOS devices or on the web.

                  Try us free for 1 month! If you enjoy your Netflix trial, do nothing and your membership will automatically continue for as long as you choose to remain
                  a member. Netflix membership is a month-to-month subscription that begins at sign up. You can easily cancel anytime, online, 24 hours a day. There are
                  no long-term contracts or cancellation fees . Just sign up to get started!
                  If you subscribe via iTunes:
                  Payment will be charged to iTunes Account at confinnation of purchase. Subscriptions automatically renew unless auto-renew is tumed off at least 24-
                  hours before the end of the cwr ent period. Account will be charged for renewal within 24-hours prior to the end of the cuffent period at the rate of your
                  selected plan above.

                  Subscriptions may be managed by the user and auto-renewal may be twned off by going to the user's Account Settings on the device.

                  If you haven't subscribed through iTunes, you can manage yow· subscription through Netflix.

                  Choose the plan that's right for you:

                  1 Screen
                  $7.99/month

                  2 Screens + HD
                  $9.99/month

                  4 screens + ULTRA HD
                  $11.99/month

                  Privacy policy: https://help.netflix.com/legal/privacy
                  Tenns of use: h . s://hel .netflix.com/le al/temisofuse
January 1, 2018   Subscribe Now on Your iPhone® or iPad®

                  Watch TV shows and movies recommended just for you, including award-winning Netflix original series, movies, and docwnentaries.

                  Netflix has something for everyone. There's even a safe watching experience just for kids with family-friendly entertainment.

                  How does Netflix work?

                  • Netflix adds TV shows and movies all the time. Browse titles or search for your favorites.
                  • The more you watch, the better Netflix gets at recommending TV shows and movies that you'll lov~ iust for you.
                  • You can create up to five individual profiles within a single Netflix account. Profiles allow different members of your household to have their own
                  personalized Netflix experience built around the movies and TV shows they enjoy.
                  • Instant! stream on iOS devices or on the web.
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                  Try us free for 1 month! If you enjoy your Netflix trial, do nothing and your membership will automatically continue for as long as you choose to remain
                  a member. Netflix membership is a month-to-month subscription that begins at sign up. You can easily cancel anytime, online, 24 hours a day. There are
                  no long-term contracts or cancellation fees . Just sign up to get started!
                  If you subscribe via iTunes:
                  Payment will be charged to iTunes Account at confinnation of purchase. Subscriptions automatically renew unless auto-renew is turned off at least 24-
                  hours before the end of the current period. Account will be charged for renewal within 24-hours prior to the end of the current period at the rate of your
                  selected plan above.

                  Subscriptions may be managed by the user and auto-renewal may be turned off by going to the user's Account Settings on the device.

                  If you haven't subscribed through iTunes, you can manage your subscription through Netflix.

                  Privacy policy: https://help.netflix.com/legal/privacy
                  Tenns of use: h s://hel .netflix.com/le al/tennsofuse
January 1, 2019   Watch TV shows and movies recommended just for you, including award-winning Netflix original series, movies, and documentaries.

                  Netflix has something for eve1yone. There's even a safe watching experience just for kids with family-friendly entertainment.

                  How does Netflix work?

                  • Netflix adds TV shows and movies all the time. Browse titles or search for your favorites.
                  • The more you watch, the better Netflix gets at recommending TV shows and movies that you'll love---just for you.
                  • You can create up to five individual profiles within a single Netflix account. Profiles allow different members of your household to have their own
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                  • Instantly stream on iOS devices or on the web.

                  Privacy statement: https://help.netflix.com/legal/privacy
                  Tenns of use: h . s://hel .netflix.com/le al/tem1Sofuse
January 1, 2020   Looking for the most talked about TV shows and movies from the around the world? They're all on Netflix.

                  We've got award-winning series, movies, docwnentaries, and stand-up specials. And with the mobile app, you get Netflix while you travel, commute, or
                  just take a break.

                  What you' ll love about Netflix:

                  • We add TV shows and movies all the time. Browse new titles or search for your favorites, and stream videos right on your device.
                  • The more you watch, the better Netflix gets at recommending TV shows and movies you'll love.
                  • Create up to five profiles for an account. Profiles give different members of your household their own personalized Netflix.
                  • E1'ioy a safe watching experience just for kids with family-friendly entertainment.
                  • Preview quick videos of our series and movies and get notifications for new episodes and releases.
                  • Save your data. Dovvnload titles to your mobile device and watch oflline, wherever you are.


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                  Privacy policy: https://help.netflix.com/legal/privacy
                  Terms of use: h s://hel .netflix.com/le al/termsofuse
January 1, 2021   Looking for the most talked about TV shows and movies from around the world? They're all on Netflix.

                  We've got award-winning series, movies, documentaries, and stand-up specials. And with the mobile app, you get Netflix while you travel, commute, or
                  just take a break.

                  What you'll love about Netflix:
                  • We add TV shows and movies all the time. Browse new titles or search for your favorites, and stream videos right on yow· device.
                  • The more you watch, the better Netflix gets at recollllllending TV shows and movies you'll love.
                  • Create up to five profiles for an account. Profiles give different members of your household their own personalized Netflix.
                  • Enj oy a safe watching experience j ust for kids with family-friendly entertainment.
                  • Preview quick videos of ow· series and movies and get notifications for new episodes and releases.
                  • Save your data. Dov.rnload titles to your mobile device and watch offline, wherever you are.

                  Netflix membership is a month-to-month subscription that begins at sign up. You can easily cancel anytime, online, 24 hours a day. There are no long-
                  tenn contracts or cancellation fees. We j ust want you to love what you watch.

                  Please note that the App Privacy info1mation applies to infonnation collected through the Netflix iOS, iPadOS and tvOS apps. See the Netflix Privacy
                  Statement (link below) to leam more about info1mation we collect in other contexts, including account registration.

                  Privacy policy: W\¥w.netflix.com/privacy
                  Terms of use: www.netflix.com/te1ms
January 1, 2022   Looking for the most talked about TV shows and movies from around the world? They're all on Netflix.

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                  • The more you watch, the better Netflix gets at recollllllending TV shows and movies you'll love.
                  • Create up to five profiles for an account. Profiles give different members of your household their own personalized Netflix.
                  • E~joy a safe watching experience just for kids with family-friendly entertainment.
                  • Preview quick videos of our series and movies and get notifications for new episodes and releases.
                  • Save your data. Dov.rnload titles to your mobile device and watch offline, wherever you are.

                  Netflix membership is a month-to-month subscription that begins at sign up. You can easily cancel anytime, online, 24 hours a day. There are no long-
                  tenn contracts or cancellation fees. We just want you to love what you watch.

                  Please note that the App Privacy information applies to infonnation collected through the Netflix iOS, iPadOS and tvOS apps. See the Netflix Privacy
                  Statement (link below) to learn more about information we collect in other contexts, including account registration.

                  Privac   olic : wvvw.netflix.com/ rivac
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                   TeffilS of use: www.netflix.com/tenns
Janua1-y 1, 2023   Watch TV shows and movies recommended just for you, including award-winning Netflix original series, movies, and documentaries.

                   Netflix has something for everyone. There's even a safe watching experience just for kids with family-friendly entertainment.

                   How does Netflix work?

                   • Netflix adds TV shows and movies all the time. Browse titles or search for your favorites.
                   • The more you watch, the better Netflix gets at recommending TV shows and movies that you'll love--just for you.
                   • You can create up to five individual profiles within a single Netflix account. Profiles allow different members of your household to have their O\¥n
                   personalized Netflix experience built around the movies and TV shows they enjoy.
                   • Instantly stream on iOS devices or on the web.

                   Privacy statement: https://help.netflix.com/legal/privacy
                   Tem1S of use: h s://hel .netflix.com/le al/tennsofuse




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Nextdoor: Neighborhood Network (App ID: 640360962)
        Date                                                                              Desuiption
 Ap1il 23, 2013    Nextdoor is the free private social network for you, your neighbors and your community. It's the easiest way for you and your neighbors to connect and
                   talk about the things that matter in your neighborhood.

                   People across the country are using Nextdoor to:
                   * Quickly get the word out about a break-in
                   * Organize a Neighborhood Watch Group
                   * Track dovvn a trustworthy babysitter
                   * Find out who does the best paint job in town
                   * Ask for help keeping an eye out for a lost dog
                   * Find a new home for an outgrown bike
                   * Finally call that nice man down the street by his first name

                   Nextdoor's mission is to bring back a sense of communitv to the neighborhood one of the most imoortant communities in each of our lives.
 January 1, 2014   Nextdoor is the free, private social network for you, your neighbors and community. It's the easiest way to connect and talk with your neighbors about the
                   things that matter in your neighborhood. When neighbors start talking, good things happen.

                   People across the countiy are using Nextdoor to:
                   • Quickly get the word out about a break-in
                   • Organize a neighborhood crime watch
                   • Recommend a tiustv.•orthy babysitter
                   • Find out who does the best paint j ob in town
                   • Ask for help finding a lost dog
                   • Find a new home for an outgrown bike
                   • Finally remember your neill'hbors' names
 January 1, 2015   Nextdoor is the free, private social network for you, your neighbors and community. It's the easiest way to connect and talk with your neighbors about the
                   things that matter in your neighborhood. When neighbors start talking, good things happen.

                   People across the country are using Nextdoor to:
                   • Quickly get the word out about a break-in
                   • Organize a neighborhood crime watch
                   • Recommend a trustworthy babysitter
                   • Find out who does the best paint job in town
                   • Ask for help finding a lost dog
                   • Find a new home for an outgrown bike
                   • Finally remember your neighbors' names

                   To stay updated on Nextdoor news, follow us on Facebook and Twitter:
                   • Facebook: wvvw.facebook.com/nextdoor
                   • Twitter: twitter.com/nextdoor
 January 1, 2016   Nextdoor is the free, private social network for you, your neighbors and community. It's the easiest way to connect and talk with your neighbors about the
                   thinizs that matter in vour neiizhborhood. When neiizhbors start talkiniz. 200d thinizs hannen.

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                   People across the countiy are using Nextdoor to:
                   • Quickly get the word out about a break-in
                   • Organize a neighborhood crime watch
                   • Recommend a tmstworthy babysitter
                   • Find out who does the best paint job in tov.rn
                   • Ask for help finding a lost dog
                   • Find a new home for an outgrown bike
                   • Finally remember your neighbors' names

                   To stay updated on Nextdoor news, follow us on Facebook and Twitter:
                   • Facebook: w,,.,w.facebook.com/nextdoor
                   • Twitter: twitter.com/nextdoor
January 1, 2017    Nextdoor is the free, private social network for your neighborhood. It is the best way for you and your neighbors to hear what's happening in your local
                   community. When neighbors start talking, good things happen.

                   People across the countiy are using Nextdoor to:
                   • Stay in the know about break-ins, theft, weather alerts and other important notices.
                   • Find, sell and give away items in the Classifieds section.
                   • Get recommendations for trustworthy service providers like plwnbers, roofers, contractors, and more.
                   • Ask for help finding lost pets.
                   • Hear about fun neighborhood events, rallies or even yard sales.
                   • Connect with the best neighborhood babysitters, dog walkers, and pet sitters.

                   Follow us to to stay updated on Nextdoor news:
                   • Facebook: https://www.facebook.com/nextdoor
                   • Twitter: https://twitter.com/nextdoor
                   • Blog: https://blog.nextdoor.com

                   Curious about how we build Nextdoor? Check out our Engineering blog: https://engblog.nextdoor.com/

                   Continued use of GPS running in the background can dramatically decrease battery life. Nextdoor doesn't run GPS in the background unless you give us
                    ermission b turnin on o tional features that re uire it.
J anuary 1, 2018   Nextdoor is the free, private social network for your neighborhood. It is the best way for you and your neighbors to hear what's happening in your local
                   community. When neighbors strut talking, good things happen.

                   People across the countiy are using Nextdoor to:
                   • Stay in the know about break-ins, theft, weather alerts and other impo1tant notices.
                   • Find, sell and give away items in the Classifieds section.
                   • Get recommendations for tiu stwo1t hy service providers like plumbers, roofers, contractors, and more.
                   • Ask for help finding lost pets.
                   • Hear about fun neighborhood events, rallies or even yard sales.
                   • Connect with the best nei borhood bab sitters, do walkers, and et sitters.
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                  Follow us to to stay updated on Nextdoor news:
                  • Facebook: https://wv.rw.facebook.com/nextdoor
                  • Twitter: https://twitter.com/nextdoor
                  • Blog: https://blog.nextdoor.com

                  Curious about how we build Nextdoor? Check out our Engineering blog: https://engblog.nextdoor.com/

                  Continued use of GPS mnning in the background can dramatically decrease batte1y life. Nextdoor doesn't nm GPS in the background unless you give us
                   ennission b turnin on o tional features that re uire it.
January 1, 2019   Nextdoor is the free, private social network for your neighborhood. It is the best way for you and your neighbors to hear what's happening in your local
                  community.

                  Whether you're looking to get to know the people on your street, hire a local babysitter, find garage sale deals, or sell your unwanted household items,
                  Nextdoor makes it easy to talk with neighbors about what matters most to you.

                  People are using Nextdoor in over 180,000 neighborhoods around the world to:

                  • Track down a trustworthy babysitter
                  • Quickly get the word out about crime and safety
                  • Get a recommendation for a great deal on house painters
                  • Hire a pro to help walk your dog
                  • Share information during a natural disaster
                  • Sell an outgrown bicycle
                  • Finally call that nice man dovvn the street by his first name

                  What neighbors are saying:

                  "Before Nextdoor, I didn't know there were several qualified babysitters living nearby and looking for work. It was easy to feel comfortable hiring my
                  neighbor's daughter to watch my son after school." - Patrick, Mission East

                  "This year for Spring Cleaning, we wanted to sell old appliances, tools, clothing, and electronics on Nextdoor's For Sale & Free section. In no time, our
                  neighbors stopped by to make a deal and take things off our hands. It was easier than anything else, and it feels good knowing our household items have
                  found a new home in the neighborhood." - Dan, Hayes Valley

                  Continued use of GPS mnning in the background can dramatically decrease battery life. Nextdoor doesn't l1lll GPS in the background unless you give us
                   ennission b turnin on o tional features that re uire it.
January 1, 2020   Eve1y neighborhood in the countty uses Nextdoor.

                  Nextdoor is the neighborhood hub. Find events near you, offer up things you're selling or find great stuff available for free in your neighborhood.

                  Use Nextdoor to stay info1med about what's going on in your neighborhood. Connect with your neighbors, find home services, f01m a neighborhood
                  watch, or ·ust <>et to know the eo le ou see eve1 da .
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Find yard sales, a handyman pro, dog walker, or last-minute babysitter. Netv.•ork with your neighbors to keep up with local news, plan a local event, or
share safety tips.

From community activities to yard sales, neighbors can help us in so many ways - we just need to connect with them. Nextdoor makes it easy to talk with
neighbors about what matters most to you.

Download Nextdoor and see for yow·selfwhy it's the #1 neighborhood app:

Local App for Neighbors
• Local news on all the neighborhood happenings
• Get recommendations for the best local handyman
• Post classified ads to sell to yow· neighbors
• Get offers & free stuff when a neighbor offers up that used appliance she no longer needs
• Meet yow- neighbors and finally call that nice man down the street by his first name

Local Events
• Find local events like cookouts and community activities
• Find garage sales and yard sales near you
• Estate sales in yow· neighborhood

Find Home Services & Deals
• Hire a local babysitter or a recommended nanny
• Hire a pet sitter or dog walker for yow- furry friend
• Find a local handyman pro, house sitter, or catering company in ow· classified ads

Crime Ale11s & Safety Tips
• Organize a neighborhood watch to quickly get the word out about crime and safety
• Share information dming a natmal disaster
• Crime repo1t and maps to help keep yow· neighborhood safe

Connect with yow- neighbors, buy and sell things, and join a community when you download Nextdoor.

"Before Nextdoor, I didn't know there were several qualified babysitters living nearby and looking for work. It was easy to feel comfo1table hiring my
neighbor's daughter to watch my son after school." - Patrick, Mission East

"This year for Spring Cleaning, we wanted to sell old appliances, tools, clothing, and electronics on Nextdoor's For Sale & Free section. In no time, om
neighbors stopped by to make a deal and take things off om hands. It was easier than anything else, and it feels good knowing om household items have
found a new home in the neighborhood." - Dan, Hayes Valley

OUR MISSION
We created Nextdoor because we believe that the neighborhood is one of the most impo11ant and useful communities in a person's life. We hope that
nei hbors eve1 here will use the Nextdoor latform to build stron er and safer nei . borhoods around the world.
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                  PRIVACY
                  Fences are sometimes necessary. But online privacy is always necessary. Nextdoor is 100% private-a 1:Iusted environment where all neighbors are
                  verified, making it safe to share online the kinds of things you'd be okay sharing with your neighbors in person.

                  Here's how:
                  • Every neighbor has to verify their address
                  • All members go by their real names, just like in person

                  Connect with us:
                  https://www.facebook.com/nextdoor
                  https://tv.•itter.com/nextdoor

                  Continued use of GPS mnning in the background can dramatically decrease batte1y life. Nextdoor doesn't mn GPS in the background unless you give us
                  pennission by turning on optional features that require it.

                  Tenns: nextdoor.com/member_agreement
                  Privacy: nextdoor.com/privacy_policy
                  California "Do Not Sell M Info1mation" Notice: ,,.,,,.,w.nextdoor.com/do not sell
January 1, 2021   Nextdoor is in neighborhoods nationwide.

                  Tap into your neighborhood with Nextdoor. Find recommendations for businesses near you, search For Sale & Free to buy and sell great stuff, join groups
                  to connect with neighbors. The possibilities nearby are endless.

                  Use Nextdoor to stay informed about what's going on in your community. Find home services, learn about local business openings or get to know the
                  people you see every day.

                  Welcome the new kids on the block, keep up with local news, plan a nearby event or share recommendations.

                  From community activities to block parties, neighbors can connect in many ways. Nextdoor makes it easy to meet neighbors who have sitnilar interests.

                  WHAT MAKES NEXTDOOR THE #1 APP FOR NEIGHBORS

                  Stay Connected

                  • Keep up-to-date on all the neighborhood happenings

                  • Get offers & free stuff when a neighbor sells that chair she no longer needs

                  • Meet your neighbors and finally call that nice man down the street by name


                  See What's Ha          Nearb
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• Find local events like cookouts, arts festivals and community activities

• Discover garage sales and clothing swaps

• Learn about restaurants and shops near you


Find Home Services & Deals

• Hire a local babysitter or re,commend a nanny

• Locate a pet sitter or dog walker for your funy friend

• Find discounts offered by nearby businesses


HEAR WHAT NEIGHBORS HAVE TO SAY ABOUT NEXTDOOR


"Before Nextdoor, I didn't know there were several qualified babysitters living nearby and looking for work. It was easy to feel comfortable hiring my
neighbor's daughter to watch my son after school." - Patrick, Mission East


"This year for Spring Cleaning, we wanted to sell old appliances, tools, clothing and electronics on Nextdoor's For Sale & Free se.ction. In no time, our
neighbors stopped by to make a deal and take things off our hands. It was easier than anything else, and it feels good knowing our old stuff has found a
new home in the neighborhood." - Dan, Hayes Valley


OUR PURPOSE

At Nextdoor, we believe that by bringing neighbors together, we can cultivate a kinder world where eve1yone has a neighborhood they can rely on.


YOUR PRIVACY

Nextdoor is a trusted environment where all neighbors are verified, making it safe to share online the kinds of things you'd be okay sharing with your
neighbors in person.


Here's how:

              bor verifies their address
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                  • All members go by their real names, just like in person


                  Connect with us:

                  https://wvvw.facebook.com/nextdoor
                  https://twitter.com/nextdoor
                  https://instagram.com/nextdoor

                  Continued use of Location Setvices running in the background can dramatically decrease battery life. Nextdoor doesn't run Location Setvices in the
                  background unless you give us permission by turning on optional features that require it.


                  Terms: nextdoor.com/member_agreement

                  Privacy: nextdoor.com/privacy_policy

                  California "Do Not Sell M Information" Notice: vvww.nextdoor.com/do not sell
January 1, 2022   Nextdoor is in neighborhoods nationwide.

                  Tap into your neighborhood with Nextdoor. Find recommendations for businesses near you, search Nextdoor Finds to buy and sell great stuff, j oin groups
                  to connect with neighbors. The possibilities nearby are endless.

                  Use Nextdoor to stay info1med about what's going on in your conununity. Find home services, leam about local business openings or get to know the
                  people you see eve1y day.

                  Welcome the new kids on the block, keep up with local news, plan a nearby event or share recommendations.

                  From conununity activities to block parties, neighbors can connect in many ways. Nextdoor makes it easy to meet neighbors who have similar interests.

                  WHAT MAKES NEXTDOOR THE # 1 APP FOR NEIGHBORS

                  Stay Connected

                  • Keep up-to-date on all the neighborhood happenings

                  • Get offers & free stuff when a neighbor sells that chair she no longer needs

                  • Meet your neighbors and finally call that nice man down the street by name


                  See What's Ha      enin° Nearb
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• Find local events like cookouts, atis festivals and community activities

• Discover gai-age sales and clothing swaps

• Learn about restaurants and shops near you


Find Home Services & Deals

• Hire a local babysitter or recommend a nanny

• Locate a pet sitter or dog walker for yow- funy friend

• Find discounts offered by nearby businesses


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"Before Nextdoor, I didn't know there were several qualified babysitters living nearby and looking for work. It was easy to feel comfortable hiring my
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"This yeai· for Spring Cleaning, we wanted to sell old appliances, tools, clothing and electronics on Nextdoor Finds. In no time, om neighbors stopped by
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Nextdoor is a tmsted environment where all neighbors are verified, making it safe to share online the kinds of things you'd be okay sharing with yow-
neighbors in person.


Here's how:

              bor verifies their address
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                  • All members go by their real names, just like in person


                  Connect with us:

                  https://www.facebook.com/nextdoor
                  https://tv.•itter.com/nextdoor
                  https://instagram.com/nextdoor

                  Continued use of Location Se1vices 1unrung in the background can dramatically decrease batte1y life. Nextdoor doesn't nm Location Se1v ices in the
                  background unless you give us pemussion by tuming on optional features that require it.


                  Terms: nextdoor.com/member_agreement

                  Privacy: nextdoor.com/priva.cy_policy

                  Califomia. "Do Not Sell M Info1mation" Notice: ,,.,ww.nextdoor.com/do not sell
January 1, 2023   Nextdoor is used by nearly 1 in 3 households in the U.S. and is in more than 290,000 neighborhoods worldwide.

                  Get the most from your neighborhood. Use Nextdoor to connect with your neighbors, discover new places nearby, join groups, and find recommendations
                  for local businesses. Search For Sale & Free, Nextdoor's local marketplace, to buy and sell used items. Connect with parents, organize play dates, and
                  bond over shared interests.

                  Join Nextdoor to stay infonned about what's going on in your community and read up on local news. Chat with neighbors about upcoming events and
                  changes in the neighborhood. Find home services, from nannies to plumbers, and beyond. Get recommendations for the best local service providers and
                  businesses, learn about new business openings, and support your community.

                  On Nextdoor you can share your local expertise and help your neighbors-welcome the new kids on the block, offer local services or share
                  recommendations. Nextdoor helps you discover local gems and explore your neighborhood, whether you're new or have lived there for years.

                  Meet and connect with your neighbors through Nextdoor.

                  WHAT MAKES NEXTDOOR THE #1 APP FOR NEIGHBORS

                  Stay Connected With Your Community:

                  • Keep up-to-date on neighborhood happenings
                  • Connect with your neighbors, local businesses, and public agencies
                  • Receive free stuff when neighbors give a.way items they no longer need
                  • Get to know your community through group events, potlucks, and yard sales
                  • Meet our nei bors so ou call that kind man dovvn the street b name
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See What's Happening Nearby:

• Find local events like cookouts, arts festivals and community activities
• Buy, sell and trade used stuff- fumiture, clothes, cars, and more
• Discover garage sales and find a new home for old treasures
• Use your local marketplace on Nextdoor to help out a neighbor in need
• Get recommendations for restaurants and shops near you

Find Home Services and Deals:

• Discover dependable home services in your community
• Hire a handyman, house sitter or cleaning service
• Find a trusted local babysitter or recommend a nanny to your neighbor
• Locate a pet sitter or dog walker for your furry friend
• Support local businesses
• Find deals and discounts

Download Nextdoor and connect with the communities you love.

HEAR WHAT NEIGHBORS HAVE TO SAY ABOUT NEXTDOOR

"Before Nextdoor, I didn't know there were several qualified babysitters living nearby and looking for work. It was easy to feel comfortable hiring my
neighbor's daughter to watch my son after school." - Patrick, Mission East

"This year for Spring Cleaning, we wanted to sell old appliances, tools, clothing and electronics on Nextdoor's marketplace, For Sale & Free. In no time,
our neighbors stopped by to make a deal and take things off our hands. It was easier than anything else, and it feels good knowing our old stuff has found
a new home in the neighborhood." - Dan, Hayes Valley

OUR PURPOSE

At Nextdoor, our purpose is to cultivate a kinder world where everyone has a neighborhood they can rely on.

YOUR PRIVACY

Nextdoor is built on trust - we ensure you're connected to REAL PEOPLE in the neighborhoods that matter to you. Nextdoor requires all neighbors to
sign up with their real name and address. We then partner with trusted vendors to confinn you're a verified neighbor.

Conned with us:

https://www.facebook.com/nextdoor
https://twitter.com/nextdoor
h . s://insta ram.com/nextdoor
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Continued use of Location Services running in the background can dramatically decrease battery life. Nextdoor doesn't run Location Services in the
background unless you give us pennission by turning on optional features that require it.

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Path (App ID: 403639508)
      Date                                                                                  Description
 Novembe1· 10,     Path is the personal network. A place to be yourself and share life with close friends and family.
 2010
                   Features:
                   • Capture life's moments with your iPhone camera.
                   • Share your life with 50 close friends and family.
                   • Tag your moments with people, places, and things.
                   • Know when your close friends have seen your moments.
                   • Explore your friends' moments on a map.

                   Compatible with any iPhone running iOS 4.0 or above.
                   Enioy Path on iPhone or on the Web at vvww.path.com.
 January 1, 2011   Path is the best way to capture the moments of your life in photo or video and share them with close friends and family. The New York Times calls Path
                   ""the more personal social network.""

                   Features:
                   • Capture life's moments in photo or video.
                   • Share your moments with up to 50 close friends and family.
                   • Tag your moments with people, places, and things to add context.
                   • Get fe.edback when your friends and family se.e your moments.
                   • Explore your friends' moments on a map.

                   Compatible with any iPhone or iPod Touch mnning iOS 4.0 or above.

                   Enjoy Path on iPhone or on the Web at ,,.,w,¥.path.com.

                   LeamMore:
                   • Path in The New York Times: http://nyti.ms/cVsl4J
                   • Path in The Los Angeles Times : http://lat.ms/bszNxl
                   • Path in Wired: http://bit.ly/9mQePM
                   • Path in Forbes: httn://bit.ly/cC2x62
 Januuy 1, 2012    Path is the smart journal that helps you share life with the ones you love - your thoughts, the music you're listening to, where you are, who you're with,
                   when you wake and when you sleep, and beautiful high quality photos and videos. And for those of you who like to share on public networks like Twitter,
                   Foursauare Tumblr. and Facebook you can easily check-in upload photos and videos blog, and tweet directly from Path.
 January 1, 2013   Path is the personal social netv.•ork that is the best way to share life and stay connected with family and friends . By focusing on beautiful design and
                   experience, Path is 5-star rated and loved by millions of people.

                   Be closer to those you care about and remember every important moment: photos, videos, places, music, movies, workouts, when you wake up and go to
                   sleep, and more.

                   And for those of you who want one place to share to all of your favorite netv.•orks like Facebook, Twitter, Tumblr and Foursquare, you can easily check in,
                   uoload ohotos and videos. blo2. and tweet directlv from Path all-in-one.

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                                                                                                                                                                              Path
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                  Features:

                  * Capture photos and videos with custom-designed filters and editing features.
                  * Journal your thoughts, when you're asleep or awake, and check in to places with friends.
                  * Share the music you're listening to, movies you're watching, and books you're reading.
                  * Interact with your friends' posts: Smile, Laugh, Gasp, Frown at or Love their moments .
                  * All-in-one posting to Facebook, Twitter, Tumbh-, and Foursquare.
                  * New! Search all your moments.
                  * Import yow· photos, statuses, and check-ins from Instagram, Facebook, and Fow·square, and use Search to tell great stories.
                  * Share yow· daily rnns, walks, or hikes with Nike+ Running and daily activity with Nike+ FuelBand.
                  * Available on iPhone, iPad, iPad mini, and Android.
                  * iPad only: Landscape view allows you to browse the most interesting moments, day by day.
January 1, 2014   Path is the trusted place for your personal life. It's where you can be yourself, stay close to the people who matter most, and share life instead of links.
                  Path gives you complete control over what you share, and who you choose to share with. With its beautiful design and simple experience, Path maintains
                  a 5 star rating and is loved by millions of people - and it's ad-free.

                  - "Simply put, my fainily's lives have become better because of Path. It warms my heart just seeing that they have 'seen' what I've been up to, and being
                  able to share special moments together as a family, no matter how far apart we may be. " - Ben Welland, Canada

                  - "Path is known for its design - the company has worked hard to create a strong feeling in the app through attention to detail and careful consideration of
                  all elements. From the shading on the buttons to the way certain features fade out when you look at a photo, it's the way that small things come together
                  that makes Path an attractive app." - Eliza Kem, GigaOM

                  Share life as you live it, with the people care about most, in a beautiful place that you control. Welcome to Path!

                  Features:

                  - Messaging: The fast, fun, and private way to message your family and friends one-to-one or in small groups. Use text, audio, media, stickers, your
                  location, and more!
                  - Journal: Capture your thoughts, photos, videos, places, music, movies, books, and even your sleep. All in one place. Your Path is your life.
                  - Share: Share your life with family and friends in a trusted environment that you control.
                  - Filter & Edit: Make your photos and videos better with pre1niwn filters and editing tools made for mobile.
                  - Get Feedback: Get more than just a like. Friends and family can react to your posts with emotions (smiles, laughs, gasps, frovvns, and loves), stickers,
                  comments and more.
                  - Search: Quickly and easily search all of your memories, and your friends' memories, by keyword, season, weather, dates, people, places, and more.
                  - Cross-Post: Post everywhere, all-in-one app: Facebook, Twitter, Tumblr, Foursquare, and even Wordpress.
                  - Privacy: Control everything. Every friend. Every post.
                  -- Friend Requests: Control who can see your Path with simple friend requests.
                  -- Inner Circle: Choose a single list of people to unlock special privacy functionality: Filter your feed, filter your notifications, and most importantly share
                  your most intimate moments only with your Inner Circle.

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                                                                                                                                                                         Path
      Date                                                                                  Desniption
                  --- Private Sharing: Control who can see any post on a post-by-post basis.
                  - Shop: Personalize your Path experience with premium stickers and premium filters.
                  - Premium: Take your Path experience to the next level. Upgrade to Path Premiwn and get exclusive benefits including unlimited sticker packs, unlimited
                  filters, and early access to new Shop items. Plus, you' ll be joining the movement to keeo our personal lives private and ad-free.
January 1, 2015   Path is simple, personal social netv.•orking.

                  Designed with the people you love, your closest friends and family, in mind. Path is a trusted, intimate environment like your dinner table at home.

                  Features

                  Capture Moments: With Path you can capture and share all oflife's most important moments: photos, videos, thoughts, places, music, TV shows, movies,
                  books, workouts, and sleep.

                  Be Yourself: Create and edit beautiful photos and videos with our world-class creative tools and filters.

                  Control Privacy: You're always in control of your privacy on Path with settings that are simple and easy-to-understand.

                  Get More Than Likes: With Path Emotions you'll get more than likes from your family and close friends - smiles, frowns, laughs, gasps, or loves. Also:
                  never again wonder if a friend saw your post, because with Path you can see eve1y one who has.

                  Search Moments: Revisit any of your Moments by searching for friends, birthdays, places, cities, holidays, months, seasons, and more.

                  Share Eve1ywhere: Easily share any of your Path Moments to Facebook, Twitter, Twnbh', Foursquare, Wordpress, and email.

                  Aoos & More: Your favorite aoos work with Path too. Share your Nike mns, Strava workouts, VSCOcam photos, Wordpress posts, and more.
January 1, 2016   Path is simple, personal social networking.

                  Designed with the people you love, your closest friends and family, in mind. Path is a trusted, intimate environment like your dinner table at home.

                  Features

                  Capture Moments: With Path you can capture and share all oflife's most important moments: photos, videos, thoughts, places, music, TV shows, movies,
                  books, workouts, and sleep.

                  Be Yourself: Create and edit beautiful photos and videos with our world-class creative tools and filters.

                  Control Privacy: You're always in control of your privacy on Path with settings that are simple and easy-to-understand.

                  Get More Than Likes: With Path Emotions you'll get more than likes from your family and close friends - smiles, frowns, laughs, gasps, or loves. Also:
                  never again wonder if a friend saw your post, because with Path you can see everyone who has.

                  Search Moments: Revisit any of your Moments by searching for friends, birthdays, places, cities, holidays, months, seasons, and more.


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                                                                                                                                                                             Path
      Date                                                                          Desniption
                  Share Everywhere: Easily share any of your Path Moments to Facebook, Twitter, Twnblr, Foursquare, Wordpress, and email.

                  Anns & More: Your favorite anns work with Path too. Share vour Nike fWlS. Strava workouts VSCOcam ohotos Wordoress nosts and more.
January 1, 2017   Path is a simple and beautiful space to captw·e and share eve1yday moments of yow· life with people who matter most to you.

                  Eve1y moment is treasured on Path: a selfie with your friends at a party, a daily check-in at your favorite coffee shop, a book you can't put down, or a
                  catchy song you just can't get out of your head.

                  On Path, you can:
                  - Ca.ptw·e and edit photo and video with our powerful and easy-to-use camera. tools
                  - Express your feelings with a set of emotions including love and laughter
                  - Share a song, movie, or TV show, and see what your friends are enjoying too
                  - Check-in at your favorite place and discover recommendations from your friends
                  - Manage who can se.e your moments by creating an Inner Circle or making your moment private
                  - Handpick moments to show on other social networks including Facebook, Twitter, and more

                  Sta1t sharing your life on Pa.th today!
January 1. 2018   Path is a simple and beautiful space to capture and share everyday moments of your life with people who matter most to you.

                  Every moment is treasured on Path: a selfie with your friends at a party, a daily check-in at your favorite coffee shop, a book you can't put down, or a
                  catchy song you just can't get out of your head.

                  On Path, you can:
                  - Capture and edit photo and video with our powerful and easy-to-use camera tools
                  - Express your feelings with a set of emotions including love and laughter
                  - Share a song, movie, or TV show, and see what your friends are enjoying too
                  - Check-in at your favorite place and discover recommendations from your friends
                  - Manage who can see your moments by creating an Inner Circle or making your moment private
                  - Handpick moments to show on other social networks including Facebook, Twitter, and more

                  Start sharing vour life on Path todav!




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Pinterest (App ID: 429047995)
       Date                                                                                  Desuiption
 Miu-ch 28, 2011   Pinterest for iPhone.
 January 1, 2012   Pinterest is a Virtual Pinboard. It lets you organize and share all the beautiful things you find in your life. People use pinboards to plan their weddings,
                   decorate their homes, and organize their favorite recipes.

                   Best of all, you can browse pinboards created by other people. Browsing pinboards is a fun way to discover new things and get inspiration from people
                   who share your interests.

                   Features:
                   • Browse pins from people and pinboards you follow.
                   • Repin, like and collllllent on your favorite pins.
                   • Pin with your camera!

                   Hauov oinnin2!
 Januuy 1, 2013    Pinterest is a tool to find your inspiration and share it with others. Use it to collect things you love, organize and plan important projects, and more.

                   Features
                   • Pin images from around the web
                   • Explore pins and boards you're interested in
                   • Get inspiration from DIY, Travel, Food and other categories
                   • Pin with vour camera
 January 1, 2014   Pinterest is a tool to help you discover and plan things you want to do. When you find something that looks interesting, just Pin it! Pins are visual
                   bookmarks that you organize and share the way you want.

                   With Pinterest you can:

                   • Plan projects- home remodels, car restorations, garden redesigns and other DIYs

                   • Dream up your next trip----outdoor adventures, road trips with friends, family outings and exotic vacations

                   • Collect your favorite things- illustrations, tattoo ideas, hilarious quotes, tech gadgetiy and inspiring art and architecture

                   • Save great ideas- articles to read, movies to watch, gifts to buy, fashion and beauty how-tos, food and recipes to cook, fitness tips and lifehacks

                   • Get organized for a party- wedding decor, birthday themes, costume ideas and game day menus

 Januuy 1, 2015    Pinterest is a tool to help you discover and plan things you want to do. When you find something that looks interesting, just Pin it! Pins are visual
                   bookmarks that you organize and share the way you want.

                   With Pinterest you can:

                   • Plan oroiects- home remodels. car restorations garden redesiims and other DIYs

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                  • Dream up your next trip----outdoor adventures, road trips with friends, family outings and exotic vacations

                  • Collect your favorite things-illustrations, tattoo ideas, hilarious quotes, tech gadgetry and inspiring art and architecture

                  • Save great ideas-articles to read, movies to watch, gifts to buy, fashion and beauty how-tos, food and recipes to cook, fitness tips and lifehacks

                  • Get organized for a oartv- wedding decor, birthday themes, costume ideas and game day menus
January 1, 2016   Pinterest is a visual bookmarking tool that helps you discover and save creative ideas. Use Pinterest to make meals, plan travel, do home improvement
                  projects and more.

                  With Pinterest you can:

                  • Plan a project: Home remodels, garden redesigns and other DIYs

                  • Get creative ideas: Recipes to cook, articles to read, gifts to buy and ways to save money

                  • Explore a hobby: From comic art and camping, to woodworking and weaving

                  • Save travel inspiration: Outdoor adventures, family fun, road trips and more

                  • Find your style: Fashion, home decor, grooming tips and beauty inspiration

                  • Pin from your mobile browser: Save good things you find around the web
January 1, 2017   Pinterest is the world's catalog of ideas. Find and save recipes, parenting hacks, style inspiration and other ideas to try!

                  Just some of the things you can do with Pinterest:

                  • Find everyday ideas you love-what to make for dinner, what to put on your walls, what to wear and more ideas for every part of your life.

                  • Save ideas for later---organize ideas you save by topic, so they're always easy to find.

                  • Collaborate with friends-save ideas together for your next group trip, party or project.

                  • Search for an idea even if you don't know what it's call~uilt-in search guides help point your search in the right direction.

                  • Save ideas vou find around the web---iust use the Pinterest's Save button on vour mobile browser.
January 1, 2018   Pinterest is full of possibilities to design your life. Discover recipes, style inspiration, proj ects for your home and other ideas to try.

                  Just some of the things you can do with Pinterest:

                  • Find everyday ideas you love-what to make for dinner, what to put on your walls, what to wear and more ideas for eve1y patt of your life.

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      Date                                                                                  Desniption
                  • Save ideas for later---organize ideas by topic, so they're always easy to find.

                  • Search by keyword or with your camera~iscover ideas inspired by anything you point the Pinterest camera at.

                  • Collaborate with friends- save ideas together for your next group trip, patty or project.

                  • Save ideas you find around the web---iust use the Pinterest's Save button on your mobile browser.
January 1, 2019   Looking for inspiration? Whether you 're designing a home or searching for travel ideas, good ideas start on Pinterest.

                  Explore over 100 billion new ideas for every part of your life, from what haircut to get to what to make for dinner. Create extra storage space in your
                  home, turn an old t-shirt into a stylish dress, or plan your next vacation with Pinterest.

                  3 Reasons to start finding and saving ideas on Pinterest:

                  1. Discover everyday inspiration and explore articles on trending and recommended topics.
                  2. Collaborate with friends for your next group trip, party or project.
                  3. See an idea out in the world that you like? Just snap a photo of it with Pinterest Lens to find how to buy, make, or do it!

                  Discover new possibilities and save what you find. Find inspirational ideas from anywhere on the internet.

                  Get ideas for the topics you care about most:
                  - Travel and fitness tips
                  - Fashion and style
                  - Home design and architecture
                  - Food and cooking
                  - Wedding inspiration

                  Dovvnload Pinterest now to start exploring oossibilities for your next project.
January 1, 2020   Looking for inspiration? Whether you're designing a home or searching for travel ideas, good ideas start on Pinterest.

                  Explore over 100 billion new ideas for every pati of your life, from what haircut to get to what to make for dinner. Create extra storage space in your
                  home, tum an old t-shirt into a stylish dress, or plan your next vacation with Pinterest.

                  3 Reasons to statt finding and saving ideas on Pinterest:

                  1. Discover everyday inspiration and explore a1ticles on trending and recommended topics .
                  2. Collaborate with friends for your next group trip, party or project.
                  3. See an idea out in the world that you like? Just snap a photo of it with Pinterest Lens to find how to buy, make, or do it!

                  Discover new possibilities and save what you find. Find inspirational ideas from anywhere on the internet.

                  Get ideas for the topics you cai·e about most:
                  - Travel and fitness tips
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                                                                                                                                                                     Pinterest
      Date                                                                                 Desniption
                  - Fashion and style
                  - Home design and architecture
                  - Food and cooking
                  - Wedding inspiration

                  Download Pinterest now to start exolorim? oossibilities for vour next oroiect.
January 1, 2021   Looking for inspiration? Whether you're designing a home or searching for travel ideas, good ideas start on Pinterest.

                  Explore over 100 billion new ideas for every part of your life, from what haircut to get to what to make for dinner. Create extra storage space in your
                  home, turn an old t-shirt into a stylish dress, or plan your next vacation with Pinterest.

                  3 Reasons to start finding and saving ideas on Pinterest:

                  1. Discover everyday inspiration and explore articles on trending and recommended topics.
                  2. Collaborate with friends for your next group trip, party or project.
                  3. See an idea out in the world that you like? Just snap a photo of it with Pinterest Lens to find how to buy, make, or do it!

                  Discover new possibilities and save what you find. Find inspirational ideas from anywhere on the internet.

                  Get ideas for the topics you care about most:
                  - Travel and fitness tips
                  - Fashion and style
                  - Home design and architecture
                  - Food and cooking
                  - Wedding inspiration

                  To start saving and sharing Pins, dovvnload now.
January 1, 2022   Pinterest is the place to explore inspiration. You can:
                  - Discover new ideas
                  - Save what inspires you
                  - Shop to make them yours
                  - Share what you love

                  Explore billions of ideas to tum your dreams into reality on Pinterest. The possibilities are endless: Color-coordinate your kitchen shelfie. Master your
                  spaghetti bolognese. Japandi-fy your living room. Upgrade your garner rig. Touch up your butterfly makeup . Trick out your getaway car. Manifest your
                  next move

                  Why wait? Dov.rnload today to create a life you love.
January 1, 2023   Pinterest is the place to explore inspiration. You can:
                  - Find what inspires you
                  - Easily organize your ideas
                  - Shop based on your taste
                  - Learn from creators
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                                                                                                                                                           Pinterest
Date                                                                           Desniption
       - Inspire the world with your ideas

       Explore billions of ideas to tum your dreams into reality. On Pinterest, the possibilities are endless: Design your cozy oasis. Nail your winter nailscapes.
       Hack your home organization. Browse your next car purchase. Create a life you love.

       Wh wait? Download toda to create a life ou love.




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Reddit (App ID: 10642 16828)
      Date                                                                                   Desuiption
 December 2, 2015   Reddit anywhere with the official app (even from the office restroom).

                    Get the latest news, trends, and memes on the Internet first on Reddit. You get to decide what's worthy: top content rises to the front page thanks to your
                    upvotes.

                    There's a Reddit community for every subject imaginable: your favorite sports team, relationship advice, memes, silly gifs, the latest in news and
                    politics-all in real time. What's that you say? "What about a community dedicated solely to photographs of cats standing on their hind legs?" We got
                    that, too. (Cat.)

                    The best part about Reddit, after all, is you. Whether you're into movies or space travel, coding or baking, world news headlines or Hollywood gossip,
                    astronomy or astrology~r all of the above-instantly share your content and ideas with millions.

                    With the official Reddit app, you can:

                    • Browse all ofReddit, wherever you are
                    • Search and discover communities by topic or interest
                    • Submit your ovvn comments, images, links, and stories for others to view and discuss
                    • Customize Reddit with themes (including night theme)
                    • View in either compact view or card view
                    • Stay up to date with your orangereds with Inbox: messages, comment replies, post replies, and mentions.


                    Privacy Policy: https://m.reddit.com/wiki/privacypolicy

                    User Agreement: https://m.reddit.com/wiki/useragreement

                    Content Policy: httos://m.reddit.com/wiki/contentuolicy
 January 1, 2016    Reddit anywhere with the official app (even from the office restroom).

                    Get the latest news, trends, and memes on the Internet first on Reddit. You get to decide what's worthy: top content rises to the front page thanks to your
                    upvotes.

                    There's a Reddit community for every subject imaginable: your favorite sports team, relationship advice, memes, silly gifs, the latest in news and
                    politics- all in real time. What's that you say? "What about a community dedicated solely to photographs of cats standing on their hind legs?" We got
                    that, too. (Cat.)

                    The best part about Reddit, after all, is you. Whether you're into movies or space travel, coding or baking, world news headlines or Hollyv.•ood gossip,
                    astronomy or astrology~ r all of the above-instantly share your content and ideas with millions.

                    With the official Reddit app, you can:

                    • Browse all ofReddit, wherever you are
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                  • Search and discover communities by topic or interest
                  • Submit your own comments, images, links, and stories for others to view and discuss
                  • Customize Reddit with themes (including night theme)
                  • View in either compact view or card view
                  • Stay up to date with your orangereds with Inbox: messages, comment replies, post replies, and mentions.


                  Privacy Policy: https://m.reddit.com/wiki/privacypolicy

                  User Agreement: https://m.reddit. com/wiki/useragreement

                  Content Policy: httns://m.reddit.com/wiki/contentpolicy
January 1, 2017   Funny cat photos, trending news stories, and the best discussions on the internet-these are just a few of the awesome things the official Reddit app does
                  best.

                  On Reddit, there's a community for every subject imaginable: your favorite sports team, relationship advice, memes, the latest in news and politics-all in
                  real time.

                  And if you like gifs (or jifs, jiffys, glyphs, ifs, however you choose to mispronounce it), we're positive you'll love it.

                  What's that you say, girl? "What about a community dedicated solely to images of cats standing on their hind legs?"

                  We got that, too.

                  Whether you're into movies or space travel, baking or weight training, cheesy dad jokes, world news or Hollywood gossip----or all of the above-you can
                  instantly share your content and ideas with an audience of millions.

                  We're not saying Reddit is like all your favorite apps put together. But ifwe were saying that, we'd tell you it has:

                  • the trendy headlines of Twitter
                  • the educational content of Quora
                  • the viral pies of Memebase and hngur
                  • the jokesters ofTumblr
                  • the lols of9GAG and theCHIVE
                  • the cringeworthy personal stories of FML and Fail Blog
                  • the rage comics of fourchan
                  • and the powerful, human stories found only on Reddit.

                  (Oops, we went full circle.)

                  So the next time you're bored and need a break-wait, you're bored right now? Why are you still reading this? Download the app already!

                  Those cats won't stand on their hind legs forever...
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                  Privacy Policy: https://m.reddit.com/wiki/privacypolicy

                  User Agreement: https://m.reddit.com/wiki/useragreement

                  Content Policv: httns://m.reddit.com/wiki/contentoolicv
January 1, 2018   Get the official Reddit app to discover all the top trending topics, breaking news, viral videos, funny jokes and hot memes. The freshest content on the
                  internet brought to you in one app, with infinite scroll, autoplay GIFs, and the fastest-loading inte1face of any Reddit app.

                  ••• Thousands of communities ...

                  Looking for news? Check out r/news! Need some funny j okes? Head on tor/Jokes and pack a spare pair of diy pants. Or maybe you're passionate about
                  cats being scared by cucumbers. We are too, at r/CUcumbersScaringCats!

                  There's a Reddit community for anyone (and eve1yone) to share, vote and discuss just eve1y topic imaginable.

                  ••• Your personal content democracy •••

                  You can post it, you can share it, and you decide what is hot or not by upvoting and downvoting content. Get the socially curated, constantly updated feed
                  of the news, fun stories, pies, and videos that interest YOU. Or see what interests 1nillions of other users on r/popular.

                  Unlike other social networks, on Reddit you can be yourself with your Reddit profile and persona, disconnected from your real-world identity. So your
                  mom won't know you're into r/knitting.

                  ••• Un-bore yourself •••

                  Ti.red of mildly interesting content and monotonous updates on social media feeds? Find the stories and conversations that matter to you. From
                  entertainment news and oolitics to fun DIY oroiects and cats (lots of cats) - create vour own feed of subreddit subscriotions to never be bored a2ain.
January 1, 2019   Get all the freshest content on the internet with Reddit's official mobile app! Discover top trending topics, breaking news, viral video clips, funny jokes
                  and hot memes. The official Reddit app connects you to all ofReddit with infinite scroll, autoplay GIFs, and the fastest-loading interface of any Reddit
                  app.

                  •••Join 1OO0s of Communities •••

                  Need some funny jokes in your feed? Head on to r/ jokes. Want to discuss the news? Join the community on r/ news! Or perhaps you're passionate about
                  cats being scared by cucwnbers. Connect with people who are too at r/ CUcumbersScaringCats!

                  There's a subreddit about everything, for anyone and everyone to post, share, vote and discuss just about every topic and subject imaginable. Share your
                  passion for your favorite books, movies, TV shows, music and technology with millions of users in thousands of subreddits.

                  •••Bitcoin and All the Crypto•••
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                                                                                                                                                                           Reddit
      Date                                                                                  Desniption

                  Join the crypto revolution!

                  Learn all about bitcoin, btc, eth, xrp, bch, eos, ada and other digital currencies. Did you hear about trx, neo, alt, ltc, xlm, nem, xmr, iota or dash? Check
                  them out at r/ CryptoCurrency.

                  ..-Get the Best of What Really Interests You•••

                  Create your own feed by subscribing to your favorite subreddits, to get the socially curated, constantly updated feed of news headlines, fun stories, pies,
                  memes, and videos that interest you. Alternatively, find out what's trending on r/ popular. On Reddit, you can be yourself, with your Reddit profile and
                  persona disconnected from your real-world identity.

                  ••-Contribute & Share•••

                  Upload photos, post memes, contribute stories, join discussions, and help other users find the best links, videos, pies and news by upvoting and
                  downvoting posts.

                  •••Un-bore Yourself•••

                  Is your feed mildly interesting? Sick oflame and monotonous updates on social media feeds? Find the stories and conversations that matter to YOU on
                  Reddit's official mobile app.

                  From entertairnnent news and political posts to fun DIY projects, viral memes and cats (lots of cats) - Reddit is your one-stop-shop for everything Internet
                  happening right now.

                  Join millions of users worldwide sharing content that interests you right now!

                  While you were reading this, even more, viral videos, GIFs, and memes were posted on Reddit! So what are you waiting for?

                  Privacy Policy: https://m.reddit.com/wiki/privacypolicy
                  User Agreement: https://m.reddit.com/wiki/useragreement
                  Content Policy: httos://m.reddit.com/wiki/contentoolicy
January 1, 2020   Reddit is where you belong.
                  Download the official Reddit app.
                  With over 1OOK active collllllunities, on Reddit you can laugh, think, discuss and dig deep into topics that matter to you.
                  Reddit is free and open for eve1yone to post, share, vote and discuss.

                  Reddit is powered by people. Your collllllunities upvote and downvote posts to highlight the most interesting and relevant content. On Reddit, your
                  privacy and opinions matter.
                  You can share your passion for yow- favorite books, movies, video games, spo1is, TV shows, music and technology with millions of people who share
                  yow- interests.



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                                                                                                                                                                         Reddit
      Date                                                                                 Desniption
                  With Reddit's official app, you can keep up with the most recent trends on the internet! Discover breaking news first, viral video clips, funny j okes, and
                  hot memes. The official Reddit app makes it easy to find the topics most relevant for you, with an infinite scroll of content streams including, GIFs and
                  videos, night mode, and a lightning fast-loading interface. The official Reddit app has access to exclusive new features like Chat, Community Group Chat
                  and more.

                  Get the best of what really interests you
                  You can join any community you find interesting, get your news, ask for advice, discuss sports and voice your opinion. Create a personalized feed by
                  subscribing to yow· favorite subreddits. You can get a socially curated, constantly updated stream of news headlines, fun stories, spo1ts talk, games, viral
                  pies , top memes, and videos that interest you. If you're into gaming and spo1ts, you can discover the best Xbox and PS4 deals, talk PUBG or Fo1tnite
                  strategy while discussing the latest NFL, NBA, MLB, and soccer games.
                  You can see what's trending on Reddit by visiting r/popular.

                  Contribute & Share
                  Upload photos, post memes, contribute stories, join discussions, and help other people find the best stories, videos, pies , games, and news by upvoting and
                  downvoting posts. Share and discuss posts with other redditors.

                  Chat with the community
                  Chat and Community Group Chat are now available on the official Reddit app. Chat is free, secure and fast! You can use it everyv.•here, and it syncs
                  across all your mobile and desktop devices. You can join the chat room in a community like r/Fo1tnite or have a one-on-one conversation about science,
                  movies, makeup, spo1ts, or your favorite funny cat GIFs.
                  With communities focused on entertainment, news, spo1ts, DIY, viral memes, cats, ca1t oons, and more... You can find your home on Reddit.

                  Reddit Premium
                  Reddit Premium Subscription is $6.99 per month. You will receive an ads-free Reddit experience, access tor/lounge and 700 Coins for eveiy month you
                  are subscribed.
                  Payment will be charged to yow· iTunes Account at confinnation of purchase. You will be charged a recw1-ing monthly transaction through your iTunes
                  account. Your account will be charged $6.99 for renewal within 24-hours prior to the end of the cwTent period. Your Reddit Premium membership
                  automatically renews on a monthly basis unless auto-renew is twned off at least 24-hours before the end of the cw1·ent period.
                  You can manage yow· subscription, cancel or twn off auto-renewal through Account Settings in your iTunes account. You can cancel anytime and there
                  are no refunds for partial months.


                  Privacy Policy : https://m.reddit.com/wiki/privacypolicy

                  User Agreement: https://m.reddit. com/wiki/useragreement

                  Content Policv : ht:tns://m.reddit.com/wiki/contentoolicv
January 1, 2021   What is Reddit? Reddit is where topics or ideas are arranged in communities. Start off with what you like and go from there. There are 1OOK active ones
                  to choose from.

                  Stay informed about COVID- 19 at r/coronavirus. Visit the Centers for Disease Control at cdc.gov for info.



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                                                                                                                                                               Reddit
Date                                                                          Description
       Joining your favorite communities will create a constant, personalized feed of content like news headlines, fun stories, sports talk, games, viral pies, top
       memes, and videos.

       Eam fake Internet points (called Kanna) by sharing your passion for books, movies, video games, sports, TV shows, music and technology with millions
       of people who share your interests.

       Or just browse what millions of other people are posting and talking about.

       Here are some reasons you should download it.

       Communities about ideas not people
       - There's a Night Mode
       - It creates wonderful distractions
       - It's free and open
       - Getting answers to questions you're too afraid to ask in public.
       - r/mildyinteresting
       - High quality ente1tairnnent for extended bathroom breaks.
       - Unique usemames so your mom won't find you on Reddit.
       - Limitless possibilities
       - Gift exchanges like Secret Santa
       - Bananas used for scale
       - Losing track of vast amounts of time
       - Closing Reddit on your computer just to open it on your phone
       - r/bettereve1yloop
       - Very convincing fan theories about TV shows
       - Every kind of nostalgia
       -Every team
       - Recipes worth making
       - Genuine empathy
       - Lots and lots of cats

       Reddit Premium: now with less suck.
       Reddit Premium Subscription is $6.99 per month. You will receive an ads-free Reddit experience, access tor/lounge and 700 Coins for every month you
       are subscribed.
       Payment will be charged to your iTunes Account at confinnation of purchase. You will be charged a recun·ing monthly transaction through your iTunes
       account. Your account will be charged $6.99 for renewal within 24-hours prior to the end of the cun·ent period. Your Reddit Premium membership
       automatically renews on a monthly basis unless auto-renew is tunted off at least 24-hours before the end of the cun-ent period.
       You can manage your subscription, cancel or tunI off auto-renewal through Account Settings in your iTunes account. You can cancel anytime and there
       are no refunds for partial months.

       Privacy Policy: https://m.reddit.com/wiki/privacypolicy
       User Agreement: https://m.reddit. com/wiki/useragreement
       Content Polic : h s://m.reddit.com/wiki/conten olic
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                                                                                                                                                                         Reddit
      Date                                                                                  Desniption

                  Dovvnload the official Reddit aoo todav.
January 1, 2022   Reddit is the place where people come together to have the most authentic and interesting conversations on the intemet- Where gaming collllllunities,
                  nostalgic intemet fomms, bloggers, meme-makers, and fandoms mingle alongside video streamers, suppo1t groups, news junkies, aimchair experts,
                  seasoned professionals, and artists and creators of all types.

                  With over 100,000 communities about eveiy topic you could think of (and a few you'd probably never think of if it wasn't for the creativity of strangers
                  on the intemet), Reddit is the place where you can dive into anything and connect with people on any topic.

                  A few things you' ll find on Reddit. . .

                  ■ Thousands of collllllunities
                  Whether you're into breaking news, spo1ts, TV fan theories, or a never-ending streain of the intemet's cutest animals, there's a collllllunity on Reddit for
                  you.
                  ■ Laughs, lols, and plenty of ridiculousness
                  Lose track of vast amounts of time as you find memes, bananas for scale, bread stapled to trees, cat videos, and more of the absurd and oddly absorbing.
                  ■ The best discussions
                  The real action is always in the collllllents. Reddit's discussion threads ai·e where collllllunity members jump in to provide commentary, humor, and
                  insight.
                  ■ Answers to questions you're too afraid to ask in public
                  Recipes, street fashion, career help, fitness plans, and more---find ideas and inspiration for whatever you want to do.
                  ■ Live video streams, chats, and talks
                  Want to know what people ai·e doing right now? Streaining videos, live chats, and live audio conversations give you a variety of ways to connect with
                  people in the moment.
                  ■ Crowd-sourced points of view on just about eve1ything
                  Product reviewers, music critics, spo1ts fans, or doge enthusiasts- find people that obsess and care about whatever it is you're interested in.
                  ■ Anonymous profiles so you can do you
                  On Reddit, you (not your job, nwnber of friends, or social status) define who you ai·e.
                  ■ Lots and lots of ca.ts

                  Reddit Premium:
                  Pw·chase Reddit Premiwn and enjoy an ads-free experience, 700 coins for eve1y month you're subscribed, and access to premium ava.tai· gear, r/lounge,
                  custom a.pp icons, and more.

                  Payment will be charged on a recwring monthly or annual basis to your Apple ID account. Your monthly or annual Premium subscription will
                  automatically renew unless you cancel at least 24 hours before your subscription ends. Cancel anytime in your device's Account Settings. No partial
                  refunds.

                  Privacy Policy: https://v.r,,.,w.redditinc.com/policies/priva.cy-policy
                  User Agreement: https://www.redditinc.com/policies/user-agreement
                  Content Policy: https://www.redditinc.com/policies/content-policy

                  Download the official Reddit aoo todav.
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                                                                                                                                                                        Reddit
      Date                                                                              Description
Janua1-y 1, 2023   Reddit is the place where people come together to have the most authentic and interesting conversations on the intemet- Where gaming communities,
                   nostalgic intemet forums, bloggers, meme-makers, and fandoms mingle alongside video streamers, support groups, news junkies, annchair expe11s,
                   seasoned professionals, and ai1ists and creators of all types.

                   With over 100,000 communities about every topic you could think of (and a few you'd probably never think of if it wasn 't for the creativity of strangers
                   on the intemet), Reddit is the place where you can dive into anything and connect with people on any topic.

                   A few things you'll find on Reddit .. .

                   ■ Thousands of communities
                   Whether you're into breaking news, sports, TV fan theories, or a never-ending stream of the intemet's cutest animals, there's a community on Reddit for
                   you.
                   ■ Laughs, lols, and plenty of ridiculousness
                   Lose track of vast ainounts of time as you find memes, bananas for scale, bread stapled to trees, cat videos, and more of the absurd and oddly absorbing.
                   ■ The best discussions
                   The real action is always in the comments. Reddit's discussion threads are where community members jump in to provide commentaty, humor, and
                   insight.
                   ■ Answers to questions you're too afraid to ask in public
                   Recipes, street fashion, career help, fitness plans, and more--find ideas and inspiration for whatever you want to do.
                   ■ Live video streams, chats, and talks
                   Want to know what people are doing right now? Streaming videos, live chats, and live audio conversations give you a variety of ways to connect with
                   people in the moment.
                   ■ Crowd-sourced points of view on just about everything
                   Product reviewers, music critics, sports fans, or doge enthusiasts- find people that obsess and care about whatever it is you're interested in.
                   ■ Anonymous profiles so you can do you
                   On Reddit, you (not your job, number of friends, or social status) define who you are.
                   ■ Lots and lots of cats

                   Reddit Premiwn:
                   Purchase Reddit Premium and enjoy an ads-free experience, 700 coins for eve1y month you're subscribed, and access to premium avatar gear, r/lounge,
                   custom app icons, and more.

                   Payment will be charged on a recun·ing monthly or annual basis to your Apple ID account. Your monthly or annual Premium subscription will
                   automatically renew unless you cancel at least 24 hours before your subscription ends. Cancel anytime in your device's Account Settings. No partial
                   refunds.

                   Privacy Policy: https://www.redditinc.com/policies/privacy-policy
                   User Agreement: https :/ /www.redditinc.com/policies/user-agreement
                   Content Policy: https://www.redditinc.com/policies/content-policy

                   Download the official Reddit a     toda .



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Snapchat (App ID: 447188370)
      Date                                                                          Description
June 28, 2011    The first-ever Ephemeral Picture Messaging Game for iPhone, Picaboo lets you and your friends send photos to one another for peeks - not keeps. Send
                 Picaboos of where you are, who you're with, anything!

                 Send your photos without the hassle and pe1manence of nonnal messaging. Create inside jokes, share the things that interest you, and show off the world
                 around you. Share the moments that define your life in the way they're experienced. Get out there and get creative. How do you Picaboo?

                 "So simple, so revolutionary .. ."

                 The beauty of the Picaboo application rests in its simplicity. You take a picture, set the timer, and send it to your friend. After your friend opens the
                 message, they have until the timer runs out to view the Picaboo, and then it disappears !

                 With Picaboo's new patent-pending Ephemeral Picture Messaging platform, all messages are transfen-ed to your friend and then completely deleted from
                 our server leaving no traces of the image or your message.

                 Picaboo is a magical photo sharing game with friends.

                 Picaboos reflect the spontaneity and randomness of daily life. Send a photo of the food on your friend 's face at dinner or snap one of the cute guy who
                 keeps smiling at you. Show off that new hairstyle or let him choose your outfit for a night out. Whatever you send, tell your story through Pica boo
                 moments!

                 The Picaboo Team welcomes any and all questions or feedback!
                 Write us an email: support@,picaboo.me or send us a Picaboo: teampicaboo
                 We'll get back to you within 24 hours.

                 Follow us on Twitter!
                 @,TeamPicaboo

                 Now, get out there and start taking Picaboos!
                 Share them with your friends, and start making memories.
                 XOXO, The Picaboo Team


                 FAQ

                 How does the Picaboo application work?
                 Take a picture, set the timer, and send your photo to your friend. They tap and hold to view your message and when the timer mns out the image
                 disappears!

                 How can I use the Picaboo application?
                 You can use the Picaboo application for absolutely anything. Whatever you don't want in your camera roll, whatever you don't want to make permanent.
                 Create new memories and inside j okes with your friends, let them know what's going on around you, and show them the world how you see it!

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      Date                                                                                Desniption
                  Does my friend need to have Picaboo to view my messages?
                  Your friend needs to have an iPhone, iPad or iPod Touch with Picaboo installed to view or send messages.

                  Will I be charged for using Picaboo?
                  Absolutely not! Since our aoolication uses the data connection on vour phone, there are no MMS fees.
January 1, 2012   Real-time picture chatting is finally available on iPhone!
                  Snapchat is the fastest way to share a moment with friends.

                  * * New & Noteworthy in iTunes Photography - July 2011 * *
                  With Snapchat you control how long your friends can view your message -
                  simply set the timer up to ten seconds and send.

                  They' ll have that long to view your message and then it disappears forever.
                  We'll let you know if they take a screenshot!

                  Build relationships, collect points, and view your best friends.
                  Snapchat is instantly fun and insanely playful. Show your friends how clever you can be and enjoy the lightness of being!

                  *****
                  Snapchat welcomes and appreciates any questions or feedback! :)
                  Write us an email: support@snapchat.me or send us a Snap: teamsnapcha.t
                  We'll do our best to get back to you within 24 hours.

                  Follow us on Twitter:
                  @snapchat

                  Enjoy!
                  Team Snaochat
January 1, 2013   Real-time picture chatting is finally available on iPhone®!
                  Snapchat is the fastest way to share a moment with friends.

                  You control how long your friends can view your message -
                  simply set the timer up to ten seconds and send.

                  They' ll have that long to view your message and then it disappears forever.
                  We'll let you know if they take a screenshot!

                  Build relationships, collect points, and view your best friends.
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      Date                                                                                Desniption

                  Please Note: Even though snaps are deleted from our servers after they are viewed, we cannot prevent the recipient(s) from capturing and saving the
                  message by taking a screenshot or using an image capture device.

                  *****
                  Snapchat welcomes and appreciates any questions or feedback! :)
                  Write us an email: support@snapchat.com or send us a Snap: tearnsnapchat
                  We'll do our best to get back to you within 24 hours.

                  Follow us on Twitter:
                  @).,,snapchat

                  Enjoy!
                  Team Snapchat
January 1, 2014   Experience a totally new way to share today. Snap a photo or a video, add a caption, and send it to a friend (or maybe a few). They'll view it, laugh, and
                  then the snap disappears from the screen - unless they take a screenshot! If you want to share a Snap with all of your friends, add it to your Snapchat
                  Story, where each Snap lives for 24 hours until it disappears, making room for the new.

                  The images might be a little grainy, and you may not look your best, but that's the point. It's about the moment, a connection between friends in the
                  present, and not just a pretty picture.

                  The allure of fleeting messages reminds us about the beauty of friendship - we don't need a reason to stay in touch.

                  ***
                  Please note: even though Snaps are are deleted from our servers after they are viewed, we cannot prevent the recipient(s) from capturing and saving the
                  message by taking a scre.e nshot or using an image capture device.
January 1, 2015   Enjoy fast and fun mobile conversation! Snap a photo or a video, add a caption, and send it to a friend. They'll view it, laugh, and then the Snap
                  disappears from the screen - unless they take a screenshot!

                  You can also add a Snap to your Story with one tap to share your day with all of your friends.

                  The best conversations happen when both friends are present, so we'll let you know if your friend is Here in your Chat so that you can give each other
                  your full attention. And if you're both Here, simply press and hold to share live video - and Chat face-to-face!

                  Happy Snapping!

                  ***
                  ;}f.,Please note: even though Snaps, Chats, and Stories are deleted from our servers after they expire, we cannot prevent recipient(s) from capturing and
                  saving the message bv taking a screenshot or using an image caoture device.
Januarv 1, 2016   Life's more fun when vou live in the moment :) Haoov Snaooing!
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      Date                                                                                 Desniption

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                  Please note: Sna hatters can alwa s ca ture or save our messa es, such as b takin a screenshot or usin a camera. Be mindful of what ou Sna
January 1, 2017   Life's more fun when you live in the moment:) Happy Snapping!

                  ***

                  Please note: Sna hatters can alwa s ca ture or save our mess es, such as b takin a screenshot or usin a camera. Be mindful of what ou Sn
January 1, 2018   Life's more fun when you live in the moment :) Happy Snapping!

                  ***

                  Please note: Sna hatters can alwa s ca ture or save our messa .es, such as b takin a screenshot or usin . a camera. Be mindful of what ou Sna
January 1, 2019   Life's more fun when you live in the moment:) Happy Snapping!

                  ***

                  Please note: Sna hatters can alwa s ca ture or save our mess es, such as b takin a screenshot or usin a camera. Be mindful of what ou Sn
January 1, 2020   Snapchat is the most fun way to share the moment!

                  Take a Snap, add a caption or fun effects, then send it to your best friends.

                  SNAP
                  • Snapcha.t opens right to the camera so you can share the moment in seconds.
                  • New selfie Lenses and Filters are added eve1y day. Change the way you look, dance with your 3D Bitmoji, and even play games with your face!

                  CHAT
                  • Stay in touch with friends and groups with live messaging and Group Stories.
                  • Video chat with up to 16 friends at once. You can even use Filters and Lenses!

                  DISCOVER
                  • Follow your friends and watch their daily Sto1y.
                  • Watch breaking news, original Shows, and community Stories -       made just for your phone.

                  SNAPMAP
                  • See where your friends are hanging out, if they 've shared their location with you.
                  • Watch live Stories from the community nearby, or across the world!

                  MEMORIES
                  • Look back on Snaps you've saved with free cloud storage.
                  • Create Stories from your favorite memories to share with friends and family.

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      Date                                                                                Desniption
                  FRIENDSHIP PROFILE
                  • Every friendship has its own special profile to see the moments you've saved together.
                  • Discover new things you ha:ve in common with Charms. See how long you've been friends, your astrological compatibility, and more!

                  Happy Snapping!



                  Please note: Snaochatters can always capture or save your messages by taking a screenshot, using a camera, or otherwise. Be mindful of what you Snap!
January 1, 2021   Snapchat is the most fun way to share the moment!

                  SNAP
                  •Snapchat opens right to the camera, so you can send a Snap in seconds! Just take a photo or video, add a caption, and send it to your best friends and
                  family. Express yourself with Filters, Lenses, Bitmojis, and all kinds of fun effects.
                  • Capturing and sending photos and videos is easy! Tap to take a photo, or press and hold for video.
                  • New selfie Lenses and Filters are added every day. Change the way you look, dance with your 3D Bitmoji, and even play games with your face!
                  • Create your ovvn Filters to add to photos and videos - or try out Lenses made by our community!

                  CHAT
                  • Stay in touch with friends and groups with live messaging and Group Stories.
                  • Video Chat with up to 16 friends at once. You can even use Filters and Lenses!
                  • Express yourself with Friendmojis - exclusive Bitmojis made just for you and a friend.

                  STORIES
                  • Watch friends' Stories to see their day unfold.
                  • Watch Stories from the Snapchat community, based on your interests.
                  • Explore new perspectives from top creators.

                  DISCOVER
                  • Watch breaking news and exclusive Original Shows.
                  • Keep up to date with Stories from top publishers.
                  • Enjoy a curated feed - made to fit your phone.

                  SNAPMAP
                  • See where your friends are hanging out, if they've shared their location with you.
                  • Share your location with your best friends, or go off the grid with Ghost Mode.
                  • Watch live Stories from the community nearby, or across the world!

                  MEMORIES
                  • Look back on Snaps you've saved with free cloud storage.
                  • Edit and send old moments to friends, or save them to your Camera Roll.
                  • Create Stories from your favorite memories to share with friends and family.


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      Date                                                                               Desniption
                  FRIENDSHIP PROFILE
                  • Every friendship has its own special profile to see the moments you've saved together.
                  • Discover new things you have in common with Channs. See how long you've been friends, your astrological compatibility, and more!
                  • Friendship Profiles are just between you and a friend, so you can bond over what makes your friendship special.

                  Happy Snapping!



                  Please note: Snapchatters can always capture or save your messages by taking a screenshot, using a camera, or otherwise. Be mindful of what you Snap!

                  For a full description of our privacy practices, please see our Privacy Center.
January 1, 2022   Snapchat is a fast and fun way to share the moment with your friends and family

                  SNAP
                  • Snapchat opens right to the Camera - just tap to take a photo, or press and hold for video.
                  • Express yourself with Lenses, Filters, Bitmoji and more!
                  • T1y out new Lenses daily created by the Snapchat community!

                  CHAT
                  • Stay in touch with friends through live messaging, or share your day with Group Stories.
                  • Video Chat with up to 16 friends at once - you can even use Lenses and Filters when chatting!
                  • Express yourself with Friendmojis - exclusive Bitmoji made just for you and a friend.

                  STORIES
                  • Watch friends' Stories to see their day unfold.
                  • See Stories from the Snapchat community that are based on your interests.
                  • Discover breaking news and exclusive Original Shows.

                  SPOTLIGHT
                  • Spotlight showcases the best of Snapchat!
                  • Submit your own Snaps or sit back, relax, and watch.
                  • Pick your favorites and share them with friends.

                  MAP
                  • Share your location with your best friends or go off the grid with Ghost Mode.
                  • See what your friends are up to on your most personal map when they share their location with you.
                  • Explore live Stories from the community nearby or across the world!

                  MEMORIES
                  • Save unlimited photos and videos of all your favorite moments.
                  • Edit and send old moments to friends or save them to your Camera Roll.
                  • Create Stories from vour favorite Memories to share with friends and familv.
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      Date                                                                               Desniption

                  FRIENDSHIP PROFILE
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                  • Friendship Profiles are just betv.•een you and a friend, so you can bond over what makes yow- friendship special.

                  Happy Snapping!



                  Please note: Snapchatters can always capture or save yow- messages by taking a screenshot, using a camera, or othe1wise. Be mindful of what you Snap!

                  For a full description of our privacy practices, please see our Privacy Center.
January 1, 2023   Snapchat is a fast and fun way to share the moment with yow- friends and family

                  SNAP
                  • Snapchat opens right to the Camera - just tap to take a photo, or press and hold for video.
                  • Express yow-self with Lenses, Filters, Bitmoji and more!
                  • Try out new Lenses daily created by the Snapchat community!

                  CHAT
                  • Stay in touch with friends through live messaging, or share yow- day with Group Stories.
                  • Video Chat with up to 16 friends at once - you can even use Lenses and Filters when chatting!
                  • Express yow-self with Friendmojis - exclusive Bitmoji made just for you and a friend.

                  STORIES
                  • Watch friends' Stories to see their day unfold.
                  • See Stories from the Snapchat community that are based on yow- interests.
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                  SPOTLIGHT
                  • Spotlight showcases the best of Snapchat!
                  • Submit yow- own Snaps or sit back, relax, and watch.
                  • Pick yow- favorites and share them with friends.

                  MAP
                  • Share yow- location with your best friends or go off the grid with Ghost Mode.
                  • See what your friends are up to on your most personal inap when they share their location with you.
                  • Explore live Stories from the community nearby or across the world!

                  MEMORIES
                  • Save unlimited photos and videos of all your favorite moments.
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Date                                                                          Desniption
       • Edit and send old moments to friends or save them to your Camera Roll.
       • Create Stories from your favorite Memories to share with friends and family.

       FRIENDSHIP PROFILE
       • Every friendship has its own special profile to see the moments you've saved together.
       • Discover new things you have in common with Charms - see how long you've been friends, your astrological compatibility, your Bitmoji fashion
       sense, and more!
       • Friendship Profiles are just between you and a friend, so you can bond over what makes your friendship special.

       Happy Snapping!



       Please note: Snapchatters can always capture or save your messages by taking a screenshot, using a camera, or otherwise. Be mindful of what you Snap!




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Spotify - Music and Podcasts (App ID: 324684580)
       Date                                                                                  Desuiption
 July 21, 2009     NOTE: This application requires a Spotify Premium subscription!

                   Spotify opens up your iPhone to a world of music. Unlimited, unrestricted, instant access to your favourite tunes - wherever you are - all wrapped up in a
                   simple, user-friendly interface.

                   Features:
                   - Access to millions of tracks with Spotify's constantly updated catalogue.
                   - Search and stream music instantly. Browse by artist, title, albwn, genre, label or year.
                   - Listen to tracks and albwns in their entirety. Rewind, fast-forward, pause, skip and shuffle.
                   - Create and synch playlists. Updates from the desktop application will be synched instantly.
                   - Playlists can be accessed even in areas of limited/no mobile connection
                   - View cover art for all tracks and albwns
 January 1, 2010   For more information visit \¥W\¥.spotify.com
                   Spotify opens up your iPhone to a world of music. Unlimited, w1restricted, instant access to your favourite tunes - wherever you are - all wrapped up in a
                   simple, user-friendly interface.

                   Featw-es:
                   - Access to millions of tracks with Spotify's constantly updated catalogue.
                   - Search and stream music instantly. Browse by a1tist, title, album, genre, label or year.
                   - Listen to tracks and albums in their entirety. Rewind, fast-forv.•ard, pause, skip and shuffle.
                   - Create and synch playlists. Updates from the desktop application will be synched instantly.
                   - Playlists can be accessed even in areas of limited/no mobile connection
                   - View cover a1t for all tracks and albums

                   Requirements:
                   Sootifv Premium subscriotion
 Januuy 1, 2011    NOTE: Requires a Spotify Premium subscription - you may be eligible for a free trial! Spotify opens up your iPhone to a world of music. Take your
                   existing Spotify playlists with you on the go - listen to them during your commute, in the gym or on a flight. With 'Offline mode' you can listen even
                   when no connection is available. Wirelessly sync your local files to your phone to merge your catalogue with ours, no cables required! Download and get
                   started directly from your mobile. For more infonnation visit www.spotify.com.

                   Features:
                   [J~~ Access to over 10 million tracks[J~~ Receive music from friends via the inbox
                   [J~~ Star your favourite tracks
                   [J~~ Wirelessly sync your local files to your phone
                   [J~~ Create and sync playlists
                   [J~~ Offline playlists - listen to music with no mobile connection
                   [J~~ Scrobble tracks to Last.fin
January 1, 2012    Get free access to Spotify Premium now! With Premium you'll get access to 15 million tracks from thousands of albums and a1tists on yow- iPhone, iPod
                   Touch & iPad. If you haven't tried Premium before, you can tty it on yow-mobile for 48-how-s, completely free . You don't even have to enter credit card
                   details. Sirnolv download this ann and 102 in* .

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                  If 48-hours isn't enough, you can extend your trial by 30 days by following the details in the email we send you when you log in.

                  Praise for Spotify

                  - ""Spotify is so good"" - Mark Zuckerberg - CEO and Founder ofFacebook
                  - ""The celestial jukebox is no pipe dream; it's here now."" - Time
                  - ""Spotify makes music fun again, just like the iPod did nearly 10 years ago."" - Billboard.biz

                  Great features

                  - Instant access to over 15 million tracks
                  - Stream online
                  - Listen oflline - no mobile connection needed
                  - Share music with your friends
                  - Star yow· favourite tracks
                  - Wirelessly sync your own MP3s to your iPhone, iPod Touch & iPad
                  - Create and sync playlists
                  - Send the tracks you listen to direct to Last.fin & Facebook

                  Love Spotify?

                  Like us on Facebook: http://wwvdacebook.com/spotify
                  Follow us on Twitter: http://twitter.com/spotify

                  * If you don't have log in details - simply register for a free Spotify account on the Spotify website. Full mobile temlS of Use & 48-hour free trial terms
                  and conditions can also be found on the S oti website.
January 1, 2013   Spotify gives you instant access to millions of songs on your iPhone, iPad & iPod Touch.

                  With the Spotify app, you can choose to listen for free, or subscribe to Spotify Premiwn.

                  Free radio: US only

                  US users can listen to radio for free. Discover and save music on the go! If your station plays a song you really like, save it with a single tap. Unlimited
                  songs and stations - listen forever!

                  Try Spotify Premiwn for free

                  If you haven't tried Premiwn before, you can try it for 48-hours, completely free . Just download the app and log in using your Facebook account*.
                  ;}f,After your trial, you can still listen to your own music, or subscribe to...

                  Spotify Premium


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                  Premium is the top-of-the-range Spotify experience. Now you can sync all your favourite playlists to your phone and listen offline. Or go online and
                  stream anything you like from the Spotify library. It's access all areas with Premium.

                  Praise for Spotify
                  ;}J ""Spotify is so good"" - Mark Zuckerberg - CEO and Founder ofFacebook ;}~
                  - ""The celestial jukebox is no pipe dream; it's here now.""- Time
                  ;}J ""Spotify makes music fun again, just like the iPod did nearly 10 years ago."" - Billboard.biz [J~]
                  Spotify Premium features ~~~]
                  • Instant access to millions of songs ;}~
                  • Stream online ;}~
                  • Listen offline - no mobile connection needed ~~~]
                  • Share music with your friends ~~~]
                  • Star your favourite tracks~~~]
                  • Wirelessly sync your ovvn music to your iPhone, iPod Touch & iPad ~~~]
                  • Create and sync playlists ~~~]
                  • Send the music you're enjoying direct to Last.fin & Facebook

                  Love Spotify?

                  Like us on Facebook: http://www.facebook.com/spotify
                  Follow us on Twitter: h ://twitter.com/s t'
January 1, 2014   Spotify is now free on mobile and tablet. Listen to the right music, wherever you are.

                  With Spotify, you have access to a world of music. You can listen to a1tists and albums, or create your own playlist of your favorite songs. Want to
                  discover new music? Choose a ready-made playlist that suits yow· mood or get personalized recommendations.

                  Listen for free on mobile
                  • Play any aitist, album, or playlist on shuffle mode

                  Listen for free on tablet
                  • Play any song, any time

                  Spotify Premium featw·es
                  • Play any song, any time on any device--mobile, tablet, or yow· computer
                  • Dov.inload music for offline listening.
                  • Enjoy ainazing sound quality.
                  • No ads - just unintem1pted music.
                  • No commitment - cancel any time you like.

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                  Follow us on Twitter: h ://twitter.com/s ot'
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January 1, 2015   Spotify is the best way to listen to music on mobile or tablet.

                  Search for any track, artist or album and listen for free. Make and share playlists. Build your biggest, best ever music collection.

                  Get inspired with personal recommendations, and readymade playlists for just about everything.

                  Listen absolutely free with ads, or get Spotify Premium.

                  Free on mobile
                  • Play any artist, album, or playlist in shuffle mode.

                  Free on tablet
                  • Play any song, any time.

                  Premium features
                  • Play any song, any time on any device: mobile, tablet or computer.
                  • Enjoy ad-free music.
                  • Listen offline.
                  • Get better sound quality.

                  Get your monthly Spotify Premium subscription through the app. If you choose to subscribe, you will be charged a price according to your country. The
                  price will be shown in the app before you complete the payment. The subscription renews every month unless auto-renew is turned off at least 24 hours
                  before end of the cwrent subscription period. Your iTunes account will automatically be charged within 24 hours prior to the end of the cwr ent period and
                  you will be charged for one month at a time. You can turn off auto-renew at any time from your iTunes account settings.

                  Monthly prices:
                  SE 129.00 SEK I NO 133.00 NOK / FI 12.99 EUR I ES 12.99 EUR / FR 12.99 EUR / GB 12.99 GBP I NL 12.99 EUR / US 12.99 USD / DK 129.00 DKK
                  I AT 12.99 EUR / BE 12.99 EUR / CH 16.00 CHF / DE 12.99 EUR / AU 14.99AUD / NZ 16.99NZD / IE 12.99 EUR / LU 12.99 EUR / LI 16.00 CHF /
                  AD 12.99 EUR / MC 12.99 EUR / IT 12.99 EUR / PL 6.99 EUR / PT 8.99 EUR / MX 129.00 MXN / MY 6.99 USD / HK 68.00 HKD / SG 9.99USD / IS
                  12.99 EUR / EE 8.99 EUR / LV 8.99 EUR / LT 8.99 EUR / TR 12.99 TRY I GR8.99 EUR / AR 7.99 USD / TW210.00 TWD / CZ 7.99 EUR / SK 7.99
                  EUR / HU 6.99 EUR / BG 6.99 EUR / CY 8.99 EUR / MT 8.99 EUR / CO 7.99 USD / CL 7.99 USD / PE 7.99 USD / UY7.99USD / PY7.99 USD / SV
                  7.99 USD / HN 7.99 USD / PA 7.99USD / NI 7.99 USD / EC 7.99 USD / DO 7.99 USD / GT 7.99 USD / CR 7.99 USD / BO 7.99 USD / BR 7.99 USD /
                  PH 3.99 USD / BR 7.99 USD / CA 12.99 CAD

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Janua1 1, 2016    S oti is the best wa to listen to music on mobile or tablet.
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Search for any track, artist or album and listen for free. Make and share playlists. Build your biggest, best ever music collection.

Get inspired with personal recommendations, and readymade playlists for just about eve1ything.

Listen absolutely free with ads, or get Spotify Premium.

Free on mobile
• Play any a1tist, album, or playlist in shuffle mode.

Free on tablet
• Play any song, any time.

Premium features
• Play any song, any time on any device: mobile, tablet or computer.
• Enjoy ad-free music.
• Listen offline.
• Get better sound quality.

Get your monthly Spotify Premium subscription through the app. If you choose to subscribe, you will be charged a price according to your countiy. The
price will be shov.rn in the app before you complete the payment. The subscription renews every month unless auto-renew is turned off at least 24 hours
before end of the cwTent subscription period. Your iTunes account will automatically be charged within 24 hours prior to the end of the cwTent period and
you will be charged for one month at a time. You can turn off auto-renew at any time from your iTunes account settings.

Monthly prices:
AD 12.99 EUR / AR 7.99 USD / AU 14.99AUD / AT 12.99 EUR / BE 12.99 EUR / BO 7.99 USD / BR 7.99 USD / BG 6.99 EUR / CA 12.99 CAD / CL
7.99 USD / CO 7.99 USD / CR 7.99USD / CY 8.99 EUR / CZ 7.99 EUR / DK 129.00 DKK / DO 7.99USD / EC 7.99 USD / SV 7.99 USD / EE 8.99
EUR / FI 12.99 EUR / FR 12.99 EUR / GB 12.99 GBP / DE 12.99 EUR / GR8.99 EUR / GT 7.99 USD / HN 7.99USD / HK 68.00 HKD / HU 6.99 EUR
/ IS 12.99 EUR / IE 12.99 EUR / IT 12.99 EUR / LV 8.99 EUR / LI 16.00 CHF / LT 8.99 EUR / LU 12.99 EUR / MY6.99 USD / MT 8.99 EUR / lvlX
119.00 MXN I MC 12.99 EUR / NZ 16.99NZD / NI 7.99 USD / NO 129.00NOK / PA 7.99 USD / PY 7.99 USD / PE 7.99 USD / PH 3.99 USD / PL6.99
EUR / PT 8.99 EUR / SG 9.99 USD / SK 7.99 EUR / ES 12.99 EUR / SE 129.00 SEK / CH 16.00 CHF / TW210.00 TWD / NL 12.99 EUR / TR 12.99
TRY I UY 7.99 USD / US 12.99 USD

Please note: This app features Nielsen's audience measw·ement software which will allow you to contribute to market research, such as Nielsen's Audio
Measurement. If you don't want to pait icipate, you can opt-out within the app settings. To learn more about ow· digital audience measurement products
and your choices in regai·d to them, please visit http://www.nielsen.com/digitalprivacy for more info1mation.

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                  Spotify is the best way to listen to music on mobile or tablet.

                  Search for any track, artist or album and listen for free. Make and share playlists. Build your biggest, best ever music collection.

                  Get inspired with personal recommendations, and readymade playlists for just about everything.

                  Listen absolutely free with ads, or get Spotify Premiwn.

                  Free on mobile
                  • Play any artist, albwn, or playlist in shuffle mode.

                  Free on tablet
                  • Play any song, any time.

                  Premium features
                  • Play any song, any time on any device: mobile, tablet or computer.
                  • Enjoy ad-free music.
                  • Listen offline.
                  • Get better sound quality.

                  Please note: This app features Nielsen's audience measurement software which will allow you to contribute to market research, such as Nielsen's Audio
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January 1, 2018   Spotify is the best way to listen to music on mobile or tablet.

                  Search for any track, a1tist or album and listen for free. Make and share playlists. Build your biggest, best ever music collection.

                  Get inspired with personal recommendations, and readymade playlists for just about eve1ything.

                  Listen absolutely free with ads, or get Spotify Premium.

                  Fre.e on mobile
                  • Play any aitist, album, or playlist in shuffle mode.

                  Free on tablet
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                  Premium features
                  • Play any song, any time on any device: mobile, tablet or computer.
                  • Enjoy ad-free music.
                  • Listen offline.
                  • Get better sound quality.

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January 1, 2019   Spotify is the best way to listen to music and podcasts on mobile or tablet.

                  Search for any track, artist or album and listen for free. Make and share playlists. Build your biggest, best ever music collection.

                  Get inspired with personal recommendations, and readymade playlists for just about everything.

                  Spotify also offers thousands of Podcasts, including originals that you can't find anywhere else.

                  Spotify for your Apple Watch gives you the ability to seamlessly access and control your favorite music and podcasts from your wrist.

                  Listen absolutely free with ads, or get Spotify Premiwn.

                  Free on mobile
                  • Play any artist, albwn, or playlist in shuffle mode.

                  Free on tablet
                  • Play any song, any time.

                  Premium features
                  • Play any song, any time on any device: mobile, tablet or computer.
                  • Enjoy ad-free music.
                  • Listen offline.
                  • Get better sound quality.




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                  Measurement. If you don't want to participate, you can opt-out within the app settings. To learn more about our digital audience measurement products
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January 1, 2020   Spotify is the best way to listen to music and podcasts on mobile or tablet.

                  Search for any track, a1tist or album and listen for free. Make and share playlists. Build your biggest, best ever music collection.

                  Get inspired with personal recommendations, and readymade playlists for just about eve1ything.

                  Spotify also offers thousands of Podcasts, including originals that you can't find anyv.•here else.

                  Spotify for your Apple Watch gives you the ability to seamlessly access and control your favorite music and podcasts from your wrist.

                  Listen absolutely free with ads, or get Spotify Premium.

                  Free on mobile
                  • Play any aitist, album, or playlist in shuffle mode.

                  Free on tablet
                  • Play any song, any time.

                  Premium features
                  • Play any song, any time on any device: mobile, tablet or computer.
                  • Enjoy ad-free music.
                  • Listen offline.
                  • Get better sound quality.

                  Please note: This app features Nielsen's audience measurement software which will allow you to contribute to mai·ket research, such as Nielsen's Audio
                  Measurement. If you don't want to pait icipate, you can opt-out within the app settings. To learn more about our digital audience measurement products
                  and your choices in regai·d to them, please visit http://v.rww.nielsen.com/digitalprivacy for more info1mation.

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January 1, 2021   Spotify is the best way to listen to music and podcasts on mobile or tablet.

                  Search for any track, artist or album and listen for free. Make and share playlists. Build your biggest, best ever music collection.

                  Get inspired with personal recommendations, and readymade playlists for just about everything.

                  Spotify also offers thousands of Podcasts, including originals that you can't find anywhere else.

                  The Spotify app for Apple Watch lets you stream Spotify directly from your vvrist (Spotify Premium and Apple Watch Series 3 or later required), use your
                  voice to control the playback with Siri, and to connect and control playback to any other Spotify Connect enabled device.

                  Listen absolutely free with ads, or get Spotify Premiwn.

                  Free on mobile
                  • Play any artist, albwn, or playlist in shuffle mode.

                  Free on tablet
                  • Play any song, any time.

                  Premium features
                  • Play any song, any time on any device: mobile, tablet or computer.
                  • E~joy ad-free music.
                  • Listen offline.
                  • Get better sound quality.

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January 1, 2022   With Spotify, you can play millions of songs for free. Listen to the songs you love and enjoy music from all over the world.

                  • Search for your favorite song, artist, or album
                  • Discover a world of new music, videos, and podcasts
                  • Enjoy playlist.s made just for you
                  • Make and share your own playlists
                  • Find music for an mood and activi
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                  • Listen on your mobile, tablet, desktop, PlayStation, Chromecast, TY, and voice-controlled speakers

                  Download music on Spotify to start building your biggest, best ever music collection.

                  Spotify also offers thousands of podcast.s, including originals that you can't find anywhere else.

                  You can also enjoy ad-free music and download songs with a Premium subscription.
                  Search for any artist or album, and listen for free. Make and share playlists and build your biggest, best ever music collection. Get inspired with personal
                  recommendations, and readymade playlists for j ust about everything.

                  Spotify for your Apple Watch gives you the ability to seamlessly access and control your favorite music and podcasts from your wrist.

                  Listen absolutely free with ads, or get Spotify Premium.

                  Fre.e on mobile
                  • Play any artist, album, or playlist in shuffle mode.

                  Free on tablet
                  • Play any song, any time.

                  Premium features
                  • Play any song, any time on any device: mobile, tablet or computer.
                  • Enjoy ad-free music.
                  • Listen offline.
                  • Get better sound quality.

                  Please note: This app features Nielsen's audience measurement software which will allow you to contribute to market research, such as Nielsen's Audio
                  Measurement. If you don't want to participate, you can opt-out within the app settings. To learn more about ow· digital audience measurement products
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January 1, 2023   With the Spotify music and podcast app, you can play millions of songs, albwns and original podcasts for free. Stream music and podcasts, discover
                  albwns, playlists or even single songs for free on your mobile or tablet. Subscribe to Spotify Premiwn to download and listen offline wherever you are.

                  WHY SPOTIFY FOR MUSIC AND PODCASTS?
                  • Discover new music, albwns, playlists and original podcasts.
                  • Search for your favorite song or artist by typing a lyric
                  • En'o amazin sound uali on music and odcasts across all devices.
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• Create and share your own music playlists to suit your mood or discover other playlists you might like.
• Listen to daily music mixes made just for you.
• Explore top songs from different genres, countries or decades.
• Sing along to each song with our lyrics feature .
• Play music from your favorite Netflix shows
• Subscribe to your favourite podcasts so that you never miss an episode, then curate your very own podcast library.
• Bookmark individual podcasts into Playlists
• Listen to music and podcasts on your mobile, tablet, desktop, PlayStation, Chromecast, TV or wearable device.

Listen to popular and exclusive podcasts like;
• The Joe Rogan Experience
• Modem Wisdom
• 2 Bears, 1 Cave with Tom Segura and Bert Kreischer
• Call Her Daddy and Crime Junkie

Search, discover and play music and podcasts from all over the world for free, anywhere, anytime or create your own music playlists with the latest songs
to suit your mood.

Listen and discover the latest music from artists like;
• Bad Bunny
• Billie Eilish
• Renzo Pianciola
• The Temper Trap
• Harry Styles

Listen to your favorite music artists all day eve1y day via the Popular Radio playlist feature . Here are just some of the artists we've already curated;
• Taylor Swift
• Drake
• Eminem
• Coldplay
• Paolo Nutini
• Fleetwood Mac

Listen to over 40 catego1y genres - New Releases, Charts, Live Events, Made for You, At Home, Only You, Surruner, Pop, Workout, Hip-Hop, Mood,
Party, Pride, Dance/Electronic, Altemative, Indie, Equal, Wellness, Rock, Frequency, R&B, Disney,, Throwback, Radar, Chill, Sleep, In the car, Kids &
Family, Caribbean, Classical, Romance, Jazz, Instrumental, Afro, Christian and Gospel and Country.

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• Listen to albums, playlists and podcasts without ad breaks.
• Dov.'Ilload and listen to music and podcasts offline, wherever you are.
• Jump back in and listen to your top songs with on-demand playback.
• Choose from 4 subscription options - Individual, Duo, Family, Student. There's no commitment and you can cancel any time


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Measurement. If you don't want to participate, you can opt-out within the app settings. To learn more about our digital audience measurement products
and our choices in re ard to them, lease visit h ://www.nielsen.com/di ital rivac for more infonnation.




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Strava: Run, Ride, Hike (App ID: 426826309)
      Date                                                                                    Description
 March 16, 2011     Strava is the hot, new social training app for avid cyclists that works with your iPhone GPS. Use it to log and analyze your rides, and compare and
                    compete with friends.

                    • Record your bike rides, view maps and analyze ride data.
                    • Compete for King and Queen of the Mountain honors on auto-detected climbs.
                    • Motivate yourself to ride further and faster, and move higher on the leaderboards.
                    • Instantly upload your rides to the Strava.com community, where you can track your performance, enter events, and join clubs.

                    Notes: The Strava Cycling iPhone App is compatible with iPhone 3GS and iPhone 4 running iOS 4.0 or later. GPS tracking that runs in the background
                    can reduce batterv life. Svncin2 cvclin2 data with Strava.com renuires users to be connected to a wireless network. Push notifications need to be allowed.
 Janua1-y 1, 2012   *Named "Technical Innovation of the Year" by VeloNews, December 2011 * Built for cyclists, use Strava to record all your rides, analyze your
                    perfonnance and see how you stack up against friends, locals and pros. Set new personal records and beat your friends ' times!


                    "Besting personal milestones are one thing; crnshing your buddy's best time up a local climb, with data to prove it, is something else entirely." -
                    VeloNews


                    TRACK
                    Get detailed activity stats including distance, pace, elevation and calories
                    See maps of all of your rides
                    FREE unlimited ride uploads


                    COMPARE
                    Monitor your progress and milestones
                    Compare your perfonnance against friends, locals and pros


                    COMPETE
                    Set personal records and earn achievements for outstanding pe1fonnances
                    Compete for King and Queen of the Mountain honors on specific sections of road or trail
                    Enter virtual events at Strava.com and ride further and faster


                    VISIT WWW.STRAVA.COM TO:
                    See even more ride analysis like heart rate, power, cadence and more
                    Join sponsored Challenges for your chance to win fantastic gear and prizes
                    Share your rides and comment on others'
                    Find and follow friends and pro riders
                    Create clubs and events in your area
                    Find the most popular and competitive segments in a given area.
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                                                                                                                                                     Strava: Run, Ride, Hike
      Date                                                                                 Desniption



                  WHATPEOPLEARESAYINGABOUTSTRAVA

                  "Strava's phone applets you get competitive any time you want. It racks a user's perfo1mance and compares it over specific courses to thousands of other
                  athletes, with a worldwide leaderboard." - Triathlete Magazine

                  "Strava gives you access to a powerful set of filters and analytical tools, which let you see how you stack up against other mnners and riders of your same
                  age, weight, and gender who are grinding around the same courses and up the same hills as you are." - Men's Joumal

                  " ...Chart eve1ything from estimated watts to total elevation gain for the year... quickly find the most competitive routes and see how their toughest climbs
                  rate, from cat 4 through hors categorie." - Outside Magazine

                  Are you a Runner? Get Strava Run for iPhone to track your mns and compete against the best!

                  Note: Recording rides with iPod Touch and iPad version 1 will produce inaccurate location results.

                  Note: Strava uses GPS in background mode to record your rides. Continued use of GPS mnning in the background can dramatically decrease batte1y life.
                  The iPhone 3G does not suono1t recordiniz while Strava is in the back2round or the ohone is asleeo.
January 1, 2013   Track your progress and challenge your friends!

                  Named "Technical Innovation of the Year" by VeloNews, December 2011

                  TRACK YOUR RIDES
                  • See distance, speed, elevation gained and calories bumed
                  • View maps and elevation profiles
                  • Collect heart rate, power and cadence data from sensors (supports ANT+ and Bluetooth LE)
                  • FREE unlimited ride uploads

                  SEE YOUR STATS & ACHIEVEMENTS
                  • See all of your recent rides and get accumulated stats
                  • Set personal records and eam achievements for outstanding perfonnances

                  SEE WHERE YOU STACK UP
                  • Eam King and Queen of the Mountain honors on specific sections of road or trail
                  • Ride the same segments as your friends, beat their time, and climb the leaderboards
                  • Compare your performance against locals and pros

                  STAY IN TOUCH
                  • Follow your friends and clubs and see their latest rides
                  • Give comments and kudos and help motivate your friends
                  • Get notifications when vou receive kudos, comments, and new followers
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                                                                                                                                          Strava: Run, Ride, Hike
Date                                                                            Description

       FIND PLACES TO RIDE
       • Explore the most popular segments anywhere you go

       GO PREMIUM
       • Filtered Leaderboards - See how you compare against athletes in your own age & weight class
       • Power Zone Analysis - Monitor your power output and focus on your watts
       • Hea1t Rate Analysis - Dial in to your fitness zones to get the most out of your training
       • Suffer Score - Quantify your suffering & detennine exactly how hard you're working
       • Advanced Segment Effort Comparison - Compare your efforts with those of others and see how you're tackling the same climbs or tricky sections of
       road or trail over time

       VISIT WWW.STRAVA.COM TO:
       • See even more ride analysis
       • Join Challenges for your chance to test yourself, plus win fantastic gear and prizes
       • Join clubs and create new ones in your area
       • Access additional features for Strava Premium members


       WHATPEOPLEARESAYINGABOUTSTRAVA

       "Besting personal milestones are one thing; crushing your buddy's best time up a local climb, with data to prove it, is something else entirely." -
       VeloNews

       "Strava's phone applets you get competitive any time you want. It ranks a user's perfonnance and compares it over spe,cific courses to thousands of other
       athletes, with a worldwide leaderboard." - Triathlete Magazine

       "Strava gives you access to a powerful set of filters and analytical tools, which let you see how you stack up against other runners and riders of your same
       age, weight, and gender who are grinding around the same courses and up the same hills as you are." - Men's Joumal

       " ...Chart eve1ything from estimated watts to total elevation gain for the year... quickly find the most competitive routes and see how their toughest climbs
       rate, from cat 4 through hors categorie." - Outside Magazine

       Some recent reviews of the Strava app:

       Brings out the best in you! *****
       This app is amazing. Not only does it track your entire route including time speed and elevation, but it promotes personal achievement. I try to improve on
       segment times each day I ride. I highly recommend Strava!

       Great app! *****
       App is easy to use and pretty tight how it automatically ranks you with other local riders in climbs and segments. Overall well done app, no bugs that I've
       found. Get out there and ride!

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                                                                                                                                                       Strava: Run, Ride, Hike
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                  This is cool!****
                  This app is so much fun! It tells me how I rate against everyone that rides the same trails as I do. I just wish it would lie and tell I am faster and better
                  looking than I really am.


                  Note: Recording rides with iPod Touch and iPad version 1 will produce inaccurate location results. Additional hardware required to collect information
                  from ANT+ sensors.

                  Continued use of GPS running in the background can dramaticallv decrease batterv life.
January 1, 2014   "The World's Top 10 Most Innovative Companies in Fitness" -Fast Company
                  Track yow- rides with GPS, analyze your perfo1mance, j oin Challenges and see how you stack up against friends .
                  TRACK YOUR RIDES WITH GPS
                  • View the map of yow- ride as you record
                  • Get key stats like distance, speed, elevation gained and calories bumed
                  • Collect heait rate, power and cadence data from ANT+ and Bluetooth LE sensors
                  CLIMB THE LEADERBOARDS
                  • Set personal records and eam King or Queen of the Mountain honors
                  • Join monthly Challenges designed to push you further
                  • See how you stack up against friends, locals and pros
                  FOLLOW FRIENDS
                  • Find and invite yow· friends via Facebook
                  • Motivate your friends with kudos and and comments
                  • Share your rides on Facebook and Twitter
                  FIND PLACES TO RIDE
                  • Explore the most popular segments anywhere you go
                  GO PREMIUM
                  • Get even more feedback on your training with heait rate analysis, power zone analysis, advanced segment effort compai·ison and Suffer Score
                  calculations
                  • Level the playing field with leaderboai·ds filtered by age and weight
                  • Hear your results irnmediately after completing a segment
                  • See a list of yow- friends cwTently out riding or tunning
                  • Make your indoor training count with access to structw-ed workout videos
                  • These Premium features ai·e available through in-app pw-chasing
                  Strava Premium is available for $5.99/month or $59.99/year. You can subscribe and pay through yow- iTunes account. Yow· subscription will
                  automatically renew unless cancelled at least 24 how·s before the end of the cw1·ent period. Auto-renew may be tumed off by going to your Account
                  Settings after purchase.
                  Visit \¥Ww.strava.com to access even more features.
                  WHATPEOPLEARESAYINGABOUTSTRAVA
                  "Strava, a website and app, has brilliantly tapped the power ofGPS ... to change the way millions ride." -The Independent
                  "Strava's phone applets you get competitive any time you want. It ranks a user's perfonnance and compares it over specific cow-ses to thousands of other
                  athletes, with a worldwide leaderboard." - Triathlete Magazine
                  " ...Chart eve1ything from estimated watts to total elevation gain for the year... quickly find the most competitive routes and see how their toughest climbs
                  rate ... " - Outside Magazine
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                                                                                                                                                  Strava: Run, Ride, Hike
      Date                                                                             Description
                  Note: Recording rides with iPod Touch and iPad version 1 will produce inaccurate location results. Additional hardware required to collect info1mation
                  from ANT+ sensors.
                  Continued use of GPS 1unnin2 in the bachround can dramaticallv decrease batterv life..
January 1, 2015   "The World's Top 10 Most Innovative Companies in Fitness" -Fast Company
                  Track your runs and rides with GPS, join Challenges and see how your running and riding compares with friends.

                  TRACK YOUR RUNS AND RIDES WITH GPS
                  • Follow routes you've created or found and view your activity map as you record
                  • Get key stats like distance, pace, speed, elevation gained and calories burned
                  • Collect heart rate, power and cadence data from ANT+ and Bluetooth LE sensors

                  CLIMB THE LEADERBOARDS
                  • Set personal records and see how you stack up against friends, locals and pros
                  • Join monthly Challenges designed to push you fmiher

                  FOLLOW FRIENDS
                  • Find your friends and motivate them with kudos and and comments
                  • Share your activities on Facebook and Twitter
                  • Share Instagram photos from your activities on your Strava profile

                  FIND PLACES TO RUN AND RIDE
                  • Explore the most popular segments anywhere you go

                  GO PREMIUM
                  • Filtered leaderboards by age and weight to see where you stack up
                  • Set weekly mileage or time-based goals and keep track of your daily progress
                  • Train more effectively with detailed herut rate analysis and see your Suffer Score
                  • Get your perfonnance results immediately after completing a segment
                  • See which of your friends are currently out riding or running
                  • Stay on top of your grune throughout the year with training videos
                  • Visualize your training with Power Zone and Pace Distribution analysis
                  • Access to exclusive Premium gear, Shop discounts, and extra rewru·ds all year
                  • These Premium features are available through in-app purchasing

                  Strava Premium is available for $5.99/month or $59.99/year. You can subscribe and pay through your iTunes account. Your subscription will
                  automatically renew unless cancelled at least 24 hours before the end of the cun-ent period. Auto-renew may be turned off by going to your Account
                  Settings after purchase.

                  Visit v.rww.strava.com to access even more features.

                  iOS 8 Health Integration: Strava can now sync data with the new iOS 8 Health app as well as other health and fitness apps that ru·e pruiicipating. This
                  service is optional.


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                                                                                                                                                  Strava: Run, Ride, Hike
      Date                                                                              Desniption
                  Note: Recording activities with iPod Touch and iPad version 1 will produce inaccurate location results. Additional hardware required to collect
                  information from ANT+ sensors.

                  Continued use of GPS running in the background can dramatically decrease battery life.
January 1, 2016   "The World's Top 10 Most Innovative Companies in Fitness" -Fast Company
                  Track yow· runs and rides with GPS, join Challenges and see how yow- rnnning and riding compares with friends.

                  TRACK YOUR RUNS AND RIDES WITH GPS
                  • Follow routes you've created or found and view yow- activity map as you record
                  • Get key stats like distance, pace, speed, elevation gained and calories bwned
                  • Collect hea1t rate, power and cadence data from ANT+ and Bluetooth LE sensors

                  CLIMB THE LEADERBOARDS
                  • Set personal records and see how you stack up against friends, locals and pros
                  • Join monthly Challenges designed to push you fwther

                  FOLLOW FRIENDS
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                  • Share Instagram photos from yow- activities on yow· Strava profile

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                  • Get yow- perfonnance results inunediately after completing a segment
                  • See which of yow- friends are cun-ently out riding or 1unning
                  • Stay on top of yow- game throughout the year with training videos
                  • Visualize yow- training with Power Zone and Pace Distribution analysis
                  • Access to exclusive Premiwn gear, Shop discounts, and extra rewards all year
                  • These Premiwn featw-es are available through in-app pm-chasing

                  Strava Premiwn is available for $5.99/month or $59.99/yeai·. You can subscribe and pay through yow- iTunes account. Yow- subscription will
                  automatically renew unless cancelled at least 24 how·s before the end of the cw1·ent period. Auto-renew may be tW'ned off by going to yow- Account
                  Settings after pm-chase.

                  Visit \¥Ww.strava.com to access even more featw-es.

                  iOS 8 Health hltegration: Strava can now sync data with the new iOS 8 Health app as well as other health and fitness apps that are paiticipating. This
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                                                                                                                                                Strava: Run, Ride, Hike
      Date                                                                                Desniption

                  Note: Recording activities with iPod Touch and iPad version 1 will produce inaccurate location results. Additional hardware required to collect
                  info1mation from ANT+ sensors.

                  Continued use of GPS tunning in the background can dramatically decrease batte1y life.
January 1, 2017   Track your runs and rides with GPS, join Challenges and see how your running and riding compares with friends.
                  • Follow routes you've created or found and view your activity map as you record
                  • Get key stats like distance, pace, speed, elevation gained and calories burned
                  • Collect heart rate, power and cadence data from ANT+ and Bluetooth LE sensors

                  CLIMB THE LEADERBOARDS
                  • Set personal records and see how you stack up against friends, locals and pros
                  • Join monthly Challenges designed to push you further

                  FOLLOW FRIENDS
                  • Find your friends and motivate them with kudos and and comments
                  • Share your activities on Facebook and Twitter
                  • Share Instagram photos from your activities on your Strava profile

                  FIND PLACES TO RUN AND RIDE
                  • Explore the most popular segments anywhere you go

                  GO PREMIUM
                  • Filtered leaderboards by age and weight to see where you stack up
                  • Set weekly mileage or time-based goals and keep track of your daily progress
                  • Train more effectively with detailed heart rate analysis and see your Suffer Score
                  • Get your perfonnance results immediately after completing a segment
                  • See which of your friends are currently out riding or running
                  • Stay on top of your game throughout the year with training videos
                  • Visualize your training with Power Zone and Pace Distribution analysis
                  • Access to exclusive Premium gear, Shop discounts, and extra rewards all year
                  • These Premium features are available through in-app purchasing

                  Strava Premium is available for $5.99/month or $59 .99/year. You can subscribe and pay through your iTunes account. Your subscription will
                  automatically renew unless cancelled at least 24 hours before the end of the current period. Auto-renew may be turned off by going to your Account
                  Settings after purchase.

                  Visit vvww.strava.com to access even more features.

                  Note: Recording activities with iPod Touch and iPad version 1 will produce inaccurate location results. Additional hardware required to collect
                  information from ANT+ sensors.

                  Continued use of GPS running in the background can dramatically decrease batterv life.
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                                                                                                                                                           Strava: Run, Ride, Hike
      Date                                                                                    Desniption
January 1, 2018   If you like to run, ride or just adventure outside, you' ll love Strava. Give it a tly, it's free!

                  Millions of runners, cyclists and active people use Stra.v a to record their activities, compare perfotmance over time, connect with their community, and
                  share the photos, stories and highlights of their adventures with friends. Strava works with just your iPhone or Apple Watch, as well as pretty much every
                  GPS device out there.

                  Track Your Runs, Rides and Activities for Free
                  • Activity Tracking: During and after activity, get key stats like distance, pace, speed, elevation gained and calories bumed, as well as an interactive map
                  of your activity
                  • Personal Challenge: Pait icipate in monthly Challenges designed to push you futther
                  • Segments: Got a favorite hill climb or long straightaway? See how you fared on particulai· sections of yow· activity with Strava segments

                  Connect with Friends and Fellow Athletes
                  • Social Training: Follow friends, training buddies and pros to view each other's activities and encourage them with kudos and comments
                  • Clubs: There's a club for all your athletic interests, from the world's biggest spot1s brands to your neighborhood running posse. Join your favorites to
                  leam about events, patticipate in discussions or just find out what's new
                  • Activity Photos: Showcase the best moments of your nm or ride
                  • Friendly Competition: Dig deep and shoot for a top time on segment leaderboai·ds
                  • Strava on Social: Share activity details on Facebook, Instagram, and Twitter

                  Pair Your Favorite Technology
                  • Device Friendly: Strava works with almost all GPS tunning watches, cycling computers and activity ti·a.ckers
                  • Heat1 Rate: Train with a heat1 rate monitor for additional performance data
                  • Apple Watch Series 2: Leave your phone at home with Sti·ava for Apple Watch*, totally redesigned for Series 2. Yow· activity will sync automatically.

                  Additional web-only features, including route building, clubs and group activities, ai·e available to all Sti·ava athletes at ,,.,,,.,w.strava..com .

                  Make the Most of Your Sport with Premium
                  • Stay safer when you're on the go with Bea.con 's real-time location tracking
                  • Train for peak perfonnance with personalized coaching such as training plans and custom goals
                  • Get unrivaled live pe1fotmance feedback dw·ing your activity, and exclusive and detailed analysis after evety activity, including heart rate, power meter
                  and race analysis
                  Premium is available through in-app purchasing.

                  Strava. Premium is available with a monthly or annual subscription. You can subscribe and pay through your iTunes account. Your subscription will
                  automatically renew unless cancelled at least 24 how·s before the end of the cwTent period. Auto-renew may be tumed off after purchase by going to the
                  'Manage Subscription' page in settings.

                  * Annie Watch Series I and first-generation users still need their phone to collect GPS data.
January 1, 2019   Track your fitness activity with Strava. Record your run, map a cycling route & analyse your training with all the stats - for free!

                  Whether you're training for a marathon or simply love taking your bike out for a ride, turn your smartphone or GPS watch into a sophisticated tracker with
                  Strava. Join millions of athletes and active people and reach vour fitness goals!
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                                                                                                                                            Strava: Run, Ride, Hike
Date                                                                             Description

       3 Ways to Train Smruter with Strava
       TRACK & ANALYSE: Get key stats like distance, pace, speed, elevation gained & calories bwned
       NEW ROUTES & MAPS: Mix up your training with the world's largest trail network
       CHALLENGE & COMPETE: Push yourself with monthly Challenges & compete with others

       PERFORMANCE
       Compare your nmning, cycling and swimming perfonnance over time
       Segment leaderboru·d: see how you fare on popular stretches of road or trail
       Track your progress & analyse your performance on your iPhone, Apple Watch, or pretty much any GPS device out there! Use your Grumin, FitBit or
       Polar..

       CONNECT & SHARE
       Record your bike ride on your Strava feed so friends & followers can collllllent & share their own
       Join Clubs of brands, teruns and friends for activities & growing communities
       Show off your route & shru·e photos of your adventures

       JOIN SUMMIT
       Get customisable training & workout plans. Run that marathon or set your own distance, time or segment goals
       Get live feedback to help you train safer & perfonn better
       Dive deep into your data with advanced analysis & extensive performance metrics

       It doesn't stop with running or cycling, you can track a whole range of sports with Strava:
       • Swim
       • Hike
       • Crossfit
       • Gym training
       • Kayak
       • Rock Climb
       • Swf
       • Yoga
       ...and many more!

       Additional web-only features, including route building, clubs and group activities, ru·e available to all Strava athletes at v.rv.rw.strava.com

       STRAVA SUMMIT
       Eve1y athlete has a goal, and Summit is designed to help you reach yours. Pick the pack that suits you best, or get the best experience (and the best deal!)
       by adding all three.

       Training: All the tools and insights you need to reach your goal and train smarter.
       Safety: Explore new roads and trails, all with peace of mind from Beacon.
       Analysis: Get more insight from your dedicated GPS device, heart rate monitor or power meter.


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                                                                                                                                                    Strava: Run, Ride, Hike
      Date                                                                             Desniption
                  Strava Summit single packs are available with a monthly or annual subscription or you can subscribe to all three packs and receive a discounted price.

                  You can subscribe and pay through your iTunes account. Payment will be charged to iTunes account at confinnation of purchase. Your subscription will
                  automatically renew unless canceled at least 24 hours before the end of the current period. Your account will be charged for renewal within 24 hours prior
                  to the end of the current period. Subscriptions 1nay be managed by the user and auto-renew may be turned off after purchase by going to the 'Manage
                  Subscription' page in settings. Any unused portion of a free trial period, if offered, will be forfeited when the user purchases a subscription to that
                  publication, where applicable. The subscription will renew at the same cost.

                  Terms of service: https://www.strava.com/legal/terms
                  Privacy policy: httns://wvvw.strava.com/legal/privacy
January 1, 2020   Track your fitness activity with Strava. Record your run, map a cycling route & analyse your training with all the stats - for free!

                  Whether you're training for a marathon or simply love taking your bike out for a ride, tum your smartphone or GPS watch into a sophisticated tracker with
                  Strava. Join millions of athletes and active people and reach your fitness goals!

                  3 Ways to Train Smaiter with Strava
                  TRACK & ANALYSE: Get key stats like distance, pace, speed, elevation gained & calories bumed
                  NEW ROUTES & MAPS: Mix up your training with the world's largest trail netv.•ork
                  CHALLENGE & COMPETE: Push yourself with monthly Challenges & compete with others

                  PERFORMANCE
                  Compare your running, cycling and swimming perfonnance over time
                  Segment leaderboai·d: see how you fare on popular stretches of road or trail
                  Track yow· progress & analyse your performance on yow· iPhone, Apple Watch, or pretty much any GPS device out there! Use your Gaimin, FitBit or
                  Polar..

                  CONNECT & SHARE
                  Record your bike ride on your Strava feed so friends & followers can comment & share their own
                  Join Clubs of brands, teains and friends for activities & growing communities
                  Show off your route & shai·e photos of your adventw·es

                  JOIN SUMMIT
                  Get customisable training & workout plans. Run that marathon or set yow· own distance, time or segment goals
                  Get live feedback to help you train safer & perfonn better
                  Dive deep into your data with advanced analysis & extensive performance metrics

                  It doesn't stop with mnning or cycling, you can track a whole range of sports with Strava:
                  • Swim
                  • Hike
                  • Crossfit
                  • Gym training
                  • Kayak
                  • Rock Climb
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                                                                                                                                                         Strava: Run, Ride, Hike
      Date                                                                                   Desniption
                  • Swf
                  • Yoga
                  ...and many more!

                  Strava uses HealthKit to expo1t your Strava activities into the Health app and to read heait rate and biometric data.

                  Additional web-only features, including route building, clubs and group activities, ai·e available to all Strava athletes at ,,.,,,.,w.strava.com

                  STRAVA SUMMIT
                  Eve1y athlete has a goal, and Summit is designed to help you reach yours. Pick the pack that suits you best, or get the best experience (and the best deal!)
                  by adding all three.

                  Training: All the tools and insights you need to reach your goal and train sma1t er.
                  Safety: Explore new roads and trails, all with peace of mind from Beacon.
                  Analysis: Get more insight from yow· dedicated GPS device, heart rate monitor or power meter.

                  Strava Sumtnit single packs are available with a monthly or annual subscription or you can subscribe to all three packs and receive a discounted price.

                  You can subscribe and pay through your iTunes account. Payment will be chai·ged to iTunes account at confinnation of purchase. Your subscription will
                  automatically renew unless canceled at least 24 hours before the end of the c1ment period. Your account will be charged for renewal within 24 hours prior
                  to the end of the cmTent period. Subscriptions may be managed by the user and auto-renew may be twned off after purchase by going to the 'Manage
                  Subscription' page in settings. Any unused portion of a free trial period, if offered, will be fo1feited when the user purchases a subscription to that
                  publication, where applicable. The subscription will renew at the same cost.

                  Tenns of service: https://wwv.r.strava.com/legal/tenns
                  Privacy policy: httos://wv.rw.strava.com/legal/privacy
January 1, 2021   Track your fitness activity with Strava. Record your run, map a cycling route & analyse your training with all the stats - for free!

                  Whether you're training for a marathon or simply love taking your bike out for a ride, turn your smartphone or GPS watch into a sophisticated tracker with
                  Strava. Join tnillions of athletes and active people and reach your fitness goals!

                  3 Ways to Train S1natter with Strava
                  TRACK & ANALYSE: Get key stats like distance, pace, speed, elevation gained & calories burned
                  NEW ROUTES & MAPS: Mix up your training with the world's largest trail network
                  CHALLENGE & COMPETE: Push yourself with monthly Challenges & compete with others

                  PERFORMANCE
                  Compare your running, cycling and swimming perfonnance over time
                  Segment leaderboard: see how you fare on popular stretches of road or trail
                  Track your progress & analyse your performance on your iPhone, Apple Watch, or pretty much any GPS device out there! Use your Garmin, FitBit or
                  Polar..

                  CONNECT & SHARE
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                                                                                                                                                    Strava: Run, Ride, Hike
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                  Record your bike ride on your Strava feed so friends & followers can comment & share their own
                  Join Clubs of brands, teams and friends for activities & growing communities
                  Show off your route & share photos of your adventures

                  STRAVA SUBSCRIPTION
                  Get customizable training & workout plans. Run that marathon or set your own distance, time or segment goals
                  Get live feedback to help you train safer & perfonn better
                  Dive deep into your data with advanced analysis & extensive performance metrics

                  It doesn't stop with running or cycling, you can track a whole range of sports with Strava:
                  • Swim
                  • Hike
                  • Crossfit
                  • Gym training
                  • Kayak
                  • Rock Climb
                  • Surf
                  • Yoga
                  ...and many more!

                  Strava uses HealthKit to export your Strava activities into the Health app and to read heart rate and biometric data.

                  You can subscribe and pay through your iTunes account. Payment will be charged to iTunes account at confirmation of purchase. Your subscription will
                  automatically renew unless canceled at least 24 hours before the end of the current period. Your account will be charged for renewal within 24 hours prior
                  to the end of the current period. Subscriptions may be managed by the user and auto-renew may be turned off after purchase by going to the 'Manage
                  Subscription' page in settings. Any unused portion of a free trial period, if offered, will be forfeited when the user purchases a subscription to that
                  publication, where applicable. The subscription will renew at the same cost.

                  Tenns of service: https://www.strava.com/legal/tenns
                  Privacy policy: httns://wvvw.strava.com/legal/privacy
January 1, 2022   Track your fitness activity with Strava. Record your run, map a cycling route & analyse your training with all the stats - for free!

                  Whether you're training for a marathon or simply love taking your bike out for a ride, tum your smartphone or GPS watch into a sophisticated tracker with
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                  3 Ways to Train Smrut er with Strava
                  TRACK & ANALYSE: Get key stats like distance, pace, speed, elevation gained & calories bwned
                  NEW ROUTES & MAPS: Mix up your training with the world's largest trail netv.•ork
                  CHALLENGE & COMPETE: Push yow·self with monthly Challenges & compete with others

                  PERFORMANCE
                  Compare your running, cycling and swimming perfonnance over time
                  Segment leaderboru·d: see how you fare on popular stretches of road or trail
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                                                                                                                                                  Strava: Run, Ride, Hike
      Date                                                                           Desniption
                  Track your progress & analyse your performance on your iPhone, Apple Watch, or pretty much any GPS device out there! Use your Gannin, FitBit or
                  Polar..

                  CONNECT & SHARE
                  Record your bike ride on your Strava feed so friends & followers can comment & share their own
                  Join Clubs of brands, teams and friends for activities & growing communities
                  Show off your route & share photos of your adventures

                  STRAVA SUBSCRIPTION
                  Get customizable training & workout plans. Run that marathon or set your own distance, time or segment goals
                  Get live feedback to help you train safer & perform better
                  Dive deep into your data with advanced analysis & extensive performance metrics

                  It doesn't stop with mnning or cycling, you can track a whole range of sports with Strava:
                  • Swim
                  • Hike
                  • Crossfit
                  • Gym training
                  • Kayak
                  • Rock Climb
                  • Swf
                  • Yoga
                  ...and many more!

                  Strava uses HealthKit to export your Strava activities into the Health app and to read heart rate and biometric data.

                  You can subscribe and pay through your iTunes account. Payment will be char·ged to iTunes account at confirmation of purchase. Your subscription will
                  automatically renew unless canceled at least 24 hours before the end of the current period. Your account will be charged for renewal within 24 hours prior
                  to the end of the cmTent period. Subscriptions may be managed by the user and auto-renew may be turned off after purchase by going to the 'Manage
                  Subscription' page in settings. Any unused portion of a free trial period, if offered, will be forfeited when the user purchases a subscription to that
                  publication, where applicable. The subscription will renew at the same cost.

                  Tenns of service: https://wwv.r.strava.com/legal/terms
                  Privacy policy : httns://wv.rw.strava.com/legal/orivacy
January 1, 2023   Strava makes fitness tracking social. We house your entire active journey in one spot - and you get to share it with friends. Here's how:

                  • Record everything - runs, rides, hikes, yoga and over 30 other sport types. Think of Strava as the home base of your movement.

                  • Discover anywhere - our Routes tool uses de-identified Strava data to intelligently recommend popular routes based on your preferences. You can also
                  build your own.

                  • Build a support network - Strava 's about celebrating movement. Here you'll find your community and cheer each other on.


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                                                                                                                                         Strava: Run, Ride, Hike
Date                                                                           Desniption
       • Train smarter - get data insights to understand your progress and see how you improve. Your Training Log is the record of all your workouts.

       • Move safer - share your real-time location with loved ones while outdoors for an extra layer of safety.

       • Sync your favorite apps and devices - Strava is compatible with thousands of them (Apple Watch, Fitbit, Garmin - you name it).

       • Join and create challenges - join millions in monthly challenges to chase new goals, collect digital badges and stay accountable.

       • Embrace the unfiltered - your feed on Strava is filled with real efforts from real people. That's how we motivate each other.

       • Whether you're a world-class athlete or a total beginner, you belong here. Just record and go.

       Strava includes both a free version and a subscription version with premium features.
       Strava uses HealthKit to export your Strava activities into the Health app and to read heart rate and biometric data.

       You can subscribe and pay on the App Store, using your Apple ID. Payment will be charged to your Apple ID at confinnation of purchase. Your
       subscription will automatically renew unless cancelled at least 24 hours before the end of the current period. Your account will be charged for renewal
       within 24 hours prior to the end of the current period. Subscriptions may be managed by the user and auto-renew may be turned off after purchase by
       going to the 'Manage Subscription' page in settings. Any unused portion of a free trial period, if offered, will be forfeited when the user purchases a
       subscription to that publication, where applicable. The subscription will renew at the same cost.

       Tenns of Service: https://vvww.strava.com/legal/tenns
       Privac Polic : h s://www.strava.com/le al/ rivac




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TikTok (App ID: 835599320)
      Date                                                                                   Description
 March 6, 2014      With musical.ly, you can now create your own music videos, and share on Facebook and Instagram.

                    With the music background, slow-motion and fast-motion effects, your music videos will be as awesome as those professionally-made ones you watch on
                    TV!

                    Requires iOS 7.0 or later. Compatible with iPhone, iPad, and iPod touch.
                    This app is optimized for iPhone 4S, iPhone 5, iPhone 5S. Perfonnance of this app on iPhone 4 and earlier iOS devices is not fine-tuned.
 Janua1-y 1, 2015   Make awesome music videos using your favorite songs, with fast motion, slow motion, time lapse, and reverse effects, and share videos on instagram,
                    Facebook, Twitter, etc.

                    *****
                    Features :
                    - millions of free songs
                    - cool video effects: fast motion, slow motion, time lapse, and reverse
                    - finest video filters: blues, piano, pop, rock and country
                    - discover music videos created by musical.ly community
                    - upload video from your camera roll and conve1i it to music video instantly
                    - save to camera roll

                    *****
                    Some creative ways of using musical.ly:
                    - Select a love song and create a memorable music video with your beloved one
                    - Lip-sync your favorite song, and make your Facebook friends believe you are a great singer
                    - Capture epic moments using slow-motion music videos
                    - Shoot a street scene in San Francisco, with a Hip Hop song and fast-motion effect
                    *****
                    Requires iOS 7.0 or later. Compatible with iPhone, iPad, and iPod touch. Optimized for iPhone 4S, iPhone 5, iPhone 5S. Perfonnance of this app on
                    iPhone 4 and earlier iOS devices is not fine-tuned.
 Janua1-y 1, 2016   musical.ly is a video community that allows you to create, share, and discover short videos. musical.ly has hit # 1 in the App Store charts in 19 countries -
                    including the United States.

                    Highlights:
                    - Shoot, save and share short videos up to 15 seconds long.
                    - Edit videos with creative effects and filters, such as slow motion, time lapse, and hyper speed.
                    - Discover exciting new music and artists.
                    - Record and upload your own original audio tracks for others to use.
                    - Collaborate with friends and people from around the world with the unique duet function.
                    - Share videos directly to Facebook, Instagram, Twitter, Vine, and other social media networks.
                    - Save videos privately so only you can see them.
                    - Use hands free recording to record themselves when no one's around to help.

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                                                                                                                                                                        TikTok
      Date                                                                                Desniption

                  Any feedback? Contact us at info@musical.ly or tweet us @),nmsicallyapp

                  * Downloadable previews do not use the iTunes API
                  * Requires iOS 7.0 or later. Compatible with iPhone, iPad, and iPod touch. Optimized for iPhone 4S, iPhone 5, iPhone 5S. Performance of this app on
                  iPhone 4 and earlier iOS devices is not fine-tuned.
January 1, 2017   musical.ly is the world's largest creative pla.tfo1m. The pla.tfo1m makes it super easy for eve1y one to make awesome videos and share with friends or to the
                  world.

                  Top categories on musical.ly include:
                  music
                  comedy
                  talent (sing, dance, magic, etc.)
                  fashion & beauty
                  vlog
                  animals


                  * Any feedback? Contact us at info@musical.ly or tv.•eet us @musicallyapp

                  * Requires iOS 8.0 or later. Compatible with iPhone, iPad, and iPod touch. Optimised for iPhone 6, iPhone 6s, iPhone 7 and latest models. Perfo1mance of
                  this aoo on iPhone 5c or earlier iOS device is not fine-tuned.
January 1, 2018   musical.ly is the world's largest creative platform. The platform makes it super easy for everyone to make awesome videos and share with friends or to the
                  world.

                  Top categories on musical.ly include:
                  comedy
                  talent (sing, dance, magic, etc.)
                  fashion & beauty
                  vlog
                  animals


                  * Any feedback? Contact us at https://support.musical.ly or tweet us @),nmsicallyapp Make sure to include your muser ID in your comment!

                  * Requires iOS 8.0 or later. Compatible with iPhone, iPad, and iPod touch. Optimised for iPhone 6, iPhone 6s, iPhone 7 and latest models. Performance of
                  this aoo on iPhone 5c or earlier iOS device is not fine-tuned.
January 1, 2019   TikTok is not your ordinaiy destination for short-form mobile video. It's raw, real, and without boundaries- whether you're bmshing your teeth at 7:45
                  a.m. or you're making breakfast at 7:45 p.m. It's from the gut, 'come as you ai·e' sto1ytelling told in 15 seconds. With TikTok life's more fun when you live
                  in the moment and go beyond to explore.




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                                                                                                                                                                          TikTok
      Date                                                                                    Desniption
                  We make it easy for you to discover and make your 0\¥11 awesome videos by captming funny and memorable moments to share with the world. Take your
                  videos to the next level with special effects filters, fun stickers, music, and more. Life's moving fast, so make eve1y second count and show the world
                  what you got!

                  ■ Watch millions of videos selected specifically for you
                  A personalized video feed specifically for you based on what you watch, like, and share. TikTok will quickly adapt to your taste to offer the most relevant,
                  interesting, fun, quirky, head-tuming videos that you'll never want to stop watching.

                  ■ Get ente1tained and inspired by a global collllllunity of creators
                  Millions of creators are on TikTok showcasing their incredible talents, precious moments, and knowledge. Let yourself be inspired.

                  ■ Add your favorite music or sound to your videos for free
                  Easily edit your videos with millions of free music clips and sounds. We create featured music playlists for you with the hottest tracks in eve1y genre,
                  including hip hop, edm, pop, rock, rap, countty, and more.

                  ■ Use emoji stickers and face filters
                  1Oo+ emoji stickers available for free to take your videos to the next level. Unlock tons of fun face filters and beauty effects in your videos.

                  ■ Editing tools allow you to easily trim, cut, merge and duplicate video clips


                  ■ Live stt·eaming filters are constantly being updated with fresh, creative designs


                  ■ Dance, Comedy, Vlog, Food, Spotts, DIY, Animals, and eve1ything in between. Discover videos from endless categories.


                  * Anv feedback? Contact us at feedback@tiktok.com or tweet us @tiktok
January 1, 2020   TikTok is THE destination for mobile videos. On TikTok, short-fonn videos are exciting, spontaneous, and genuine. Whether you're a sports fanatic, a pet
                  enthusiast, or just looking for a laugh, there's something for everyone on TikTok. All you have to do is watch, engage with what you like, skip what you
                  don't, and you'll find an endless stream of short videos that feel personalized just for you. From your moming coffee to your afternoon errands, TikTok
                  has the videos that are guaranteed to make your day.

                  We make it easy for you to discover and create your own original videos by providing easy-to-use tools to view and capture your daily moments. Take
                  your videos to the next level with special effects, filters, music, and more.

                  ■ Watch endless amount of videos customized specifically for you
                  A personalized video feed based on what you watch, like, and share. TikTok offers you real, interesting, and fun videos that will make your day.

                  ■ Explore videos, just one scroll away
                  Watch all types of videos, from Comedy, Gaming, DIY, Food, Sports, Memes, and Pets, to Oddly Satisfying, ASMR, and everything in between.

                  ■ Pause recording multiple times in one video
                  Pause and resume your video with just a tap. Shoot as many times as you need.

                  ■ Be entertained and insoired bv a global collllllunitv of creators

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                                                                                                                                                                       TikTok
      Date                                                                                Desniption
                  Millions of creators are on TikTok showcasing their incredible skills and everyday life. Let yourself be inspired.

                  ■ Add your favorite music or sound to your videos for free
                  Easily edit your videos with millions of free music clips and sounds. We curate music and sound playlists for you with the hottest tracks in every genre,
                  including Hip Hop, Echn, Pop, Rock, Rap, and Country, and the most viral original sounds.

                  ■ Express yourself with creative effects
                  Unlock tons of filters, effects, and AR objects to take your videos to the next level.

                  ■ Edit your own videos
                  Our integrated editing tools allow you to easily trim, cut, merge and duplicate video clips without leaving the app.

                  * Anv feedback? Contact us at feedback@tiktok.com or tweet us @tiktok us
January 1, 2021   TikTok is THE destination for mobile videos. On TikTok, sho1t-fonn videos are exciting, spontaneous, and genuine. Whether you're a spo1ts fanatic, a pet
                  enthusiast, or just looking for a laugh, there's something for eve1yone on TikTok. All you have to do is watch, engage with what you like, skip what you
                  don't, and you'll find an endless stream of short videos that feel personalized just for you. From your mommg coffee to your aftemoon el1'ands, TikTok
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                  We make it easy for you to discover and create your own original videos by providing easy-to-use tools to view and capture your daily moments. Take
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                  ■ Pause recording multiple times in one video
                  Pause and resume your video with just a tap. Shoot as many times as you need.

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                  Millions of creators are on TikTok showcasing their incredible skills and eve1yday life. Let yourself be inspired.

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                  Easily edit your videos with millions of free music clips and sounds. We curate music and sound playlists for you with the hottest tracks in eve1y genre,
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                  ■ Edit your own videos
                  Ow· integrated editing tools allow you to easily trim, cut, merge and duplicate video clips without leaving the app.


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                                                                                                                                                                       TikTok
      Date                                                                                 Description
                  * Any feedback? Contact us at httos://wwv.•.tiktok.com/legal/report/fe.edback or tv.•eet us @tiktok us
January 1, 2022   TikTok is THE destination for mobile videos. On TikTok, short-fonn videos are exciting, spontaneous, and genuine. Whether you're a spo1ts fanatic, a pet
                  enthusiast, or just looking for a laugh, there's something for everyone on TikTok. All you have to do is watch, engage with what you like, skip what you
                  don't, and you'll find an endless stream of short videos that feel personalized just for you. From your morning coffee to your afternoon en-ands, TikTok
                  has the videos that are guaranteed to make your day.

                  We make it easy for you to discover and create your own original videos by providing easy-to-use tools to view and capture your daily moments. Take
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                  ■ Express yourself with creative effects
                  Unlock tons of filters, effects, and AR objects to take your videos to the next level.

                  ■ Edit your own videos
                  Our integrated editing tools allow you to easily ti·itn, cut, merge and duplicate video clips without leaving the app.

                  ■ Obtain access to LIVE benefits to better interact with hosts!
                  Choose from one-month subscription or auto-renewal subscription to enjoy special LIVE benefits (cwrently only available in litnited regions)

                  Note:
                  If you subscribe via Apple, payment will be charged to App Store Account at confumation of purchase. Subscription automatically renews unless auto-
                  renew is twned off at least 24 hours before the end of the cwrent period. Account will be charged for renewal within 24 hours prior to the end of the
                  cwrent period at the rate of the selected plan. Subscriptions and auto-renewal may be managed by going to Account Settings after purchase.

                  Monthly price: $5.99 USD (US, KW, OM, BH, DZ, IQ, JO, LB, LY, MA, MR, TN, YE, LA, MM, KH) I AED 20.99 I R$ 34.9 BRL / EGP 99.99 / £4.99
                  GBP I 20.99 QAR I 549 F RUB / SR 24.99 SAR / M9,99 TRY

                  Terms of Service -
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      Date                                                                                   Desniption
                   https://www.tiktok.com/legal/tenns-of-setvice

                   Privacy Policy -
                   https://www.tiktok.com/legal/privacy-policy

                   * Anv feedback? Contact us at ht1ns://www.tiktok.com/le2a1/renort/feedback or tweet us tmtiktok us
J anuary 1, 2023   TikTok is THE destination for mobile videos. On TikTok, sho1t -fonn videos are exciting, spontaneous, and genuine. Whether you're a spo1ts fanatic, a pet
                   enthusiast, or j ust looking for a laugh, there's something for everyone on TikTok. All you have to do is watch, engage with what you like, skip what you
                   don't, and you'll find an endless stream of short videos that feel personalized just for you. From yow· mommg coffee to yow- aftemoon en-ands, TikTok
                   has the videos that are guaranteed to make yow- day.

                   We make it easy for you to discover and create yow- own original videos by providing easy-to-use tools to view and captw-e yow- daily moments. Take
                   yow- videos to the next level with special effects, filters, music, and more.

                   ■ Watch endless amount of videos customized specifically for you
                   A personalized video feed based on what you watch, like, and share. TikTok offers you real, interesting, and fun videos that will make yow- day.

                   ■ Explore videos, just one scroll away
                   Watch all types of videos, from Comedy, Gaming, DIY, Food, Spo1ts, Memes, and Pets, to Oddly Satisfying, ASMR, and eve1ything in betv.•een.

                   ■ Pause recording multiple times in one video
                   Pause and resume yow- video with just a tap. Shoot as many times as you need.

                   ■ Be entertained and inspired by a global community of creators
                   Millions of creators are on TikTok showcasing their incredible skills and eve1yday life. Let yow-self be inspired.

                   ■ Add yow- favorite music or sound to yow- videos for free
                   Easily edit yow- videos with millions of free music clips and sounds. We cw-ate music and sound playlists for you with the hottest tracks in every genre,
                   including Hip Hop, Edin, Pop, Rock, Rap, and Countiy, and the most viral original sounds.

                   ■ Express yow-self with creative effects
                   Unlock tons of filters, effects, and AR objects to take yow- videos to the next level.

                   ■ Edit yow- own videos
                   Ow· integrated editing tools allow you to easily trim, cut, merge and duplicate video clips without leaving the app.

                   ■ Obtain access to LIVE benefits to better interact with hosts!
                   Choose from one-month subscription or auto-renewal subscription to enjoy special LIVE benefits (cw1·ently only available in limited regions)

                   Note:
                   If you subscribe via Apple, payment will be charged to App Store Account at confumation of pm-chase. Subscription automatically renews unless auto-
                   renew is tumed off at least 24 how-s before the end of the cwTent period. Account will be charged for renewal within 24 how-s prior to the end of the
                   cw1·ent period at the rate of the selected olan. Subscriotions and auto-renewal mav be managed bv going to Account Settin2s after ow-chase.
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       Monthly price: $5.99 USD (US, KW, OM, BH, DZ, IQ, JO, LB, LY, MA, MR, TN, YE, LA, MM, KH) I AED 20.99 I R$ 34.9 BRL / EGP 99.99 / £4.99
       GBP I 20.99 QAR I 549 F RUB / SR 24.99 SAR / t69,99 TRY

       Tem1S of Service -
       https://www.tiktok.com/legal/tenns-of-service

       Privacy Policy -
       https://www.tiktok.com/legal/privacy-policy

       * An feedback? Contact us at h . s://wv.rw.tiktok.com/le al/re ort/feedback or tweet us   tiktok us




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Twitter (App ID: 333903271)
       Date                                                                                 Description
 September 30,      *** 2009 Apple Design Award Winner!***
 2009
                    The Twitter client that redefined Twitter clients is back, and it's even better. Rewritten from the growid up with a fast and powerful new core, Tweetie 2
                    offers the most polished mobile Twitter experience arowid.

                    FEATURES
                    - Seamlessly handle multiple Twitter accowits
                    - Explore all of Twitter, from your own timeline and mentions, to the favorite tweets of your followers and friends
                    - Full persistence: more than just caching tweets, Tweetie 2 restores your entire UI if you quit or get a phone call
                    - Fantastic new offline mode. Read, tweet, favorite, follow, save to Instapaper and more even when you don't have a connection. Your actions will be
                    synced as soon as you go back online
                    - Full landscape support (configurable of course)
                    - Live-filter your tweet stream
                    - Post photos and videos, even configure your own custom image host
                    - Vastly improved compose screen with recent hashtags, @people picker, URL shortening and more
                    - Compose screen multiple-attachments manager
                    - Drafts manager ensures you never lose a tweet (and you can even send drafts to Birdhouse)
                    - Link Twitter contacts to Address Book contacts
                    - Follow, unfollow, block and wiblock from multiple accowits simultaneously
                    - Saved searches sync with Twitter.com and the upcoming Tweetie 2 for Mac
                    - Autocomplete recent searches and Go-to-user
                    - Threaded Direct Messages and improved conversation navigation
                    - TextExpander integration
                    - Rich integration with Follow Cost, Tweet Blocker, Favstar.fm and more
                    - Edit your own Twitter profile
                    - Specify custom API roots on a per-accowit basis
                    - Nearby map view
                    - Translate tweets
                    - Preview short URLs
                    - Safari bookmarklet support for easily sharing links
                    - In-app rich text email composition
                    - Tons of little things, including improved avatar caching, auto-refresh, refresh-all, seainless Twitlonger support, hashtag definitions and more
                    - This is just the beginning. Tweetie 2 is already built to take advantage of great new features coming from Twitter, so expect updates turning them on
                    soon!
 Janua1-y 1, 2010   *** 2009 Apple Design Award Winner! ***

                    The Twitter client that redefined Twitter clients is back, and it's even better. Rewritten from the growid up with a fast and powerful new core, Tweetie 2
                    offers the most polished mobile Twitter experience arowid.

                    FEATURES
                    - Seamlessly handle multiple Twitter accowits
                    - Explore all of Twitter, from your own timeline and mentions, to the favorite tweets of your followers and friends
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                                                                                                                                                                        Twitter
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                  - Full persistence: more than just caching tv.•eets, Tweetie 2 restores your entire UI if you quit or get a phone call
                  - Fantastic new oflline mode. Read, tweet, favorite, follow, save to Instapaper and more even when you don't have a connection. Your actions will be
                  synced as soon as you go back online
                  - Full landscape suppo1t (configurable of course)
                  - Live-filter your tv.•eet stream
                  - Post photos and videos, even configure your own custom image host
                  - Vastly improved compose screen with recent hashtags, @people picker, URL sho1t ening and more
                  - Compose screen multiple-attachments manager
                  - Drafts manager ensures you never lose a tv.•eet (and you can even send draBs to Birdhouse)
                  - Link Twitter contacts to Address Book contacts
                  - Follow, unfollow, block and unblock from multiple accounts simultaneously
                  - Saved searches sync with Twitter.com and the upcoming Tweetie 2 for Mac
                  - Autocomplete recent searches and Go-to-user
                  - Threaded Direct Messages and improved conversation navigation
                  - TextExpander integration
                  - Rich integration with Follow Cost, Tweet Blocker, Favstar.fm and more
                  - Edit your own Twitter profile
                  - Specify custom API roots on a per-account basis
                  - Nearby map view
                  - Translate tweets
                  - Preview sho1t URLs
                  - Safari bookmarklet suppo1t for easily sharing links
                  - In-app rich text email composition
                  - Tons of little things, including improved avatar caching, auto-refresh, refresh-all, seainless Twitlonger suppo1t , hashtag definitions and more
                  - This is just the beginning. Tweetie 2 is already built to take advantage of great new features coming from Twitter, so expect updates tuming them on
                  soon!
January 1, 2011   Discover what's happening right now, anywhere in the world with the official Twitter for iPhone app.

                  Realtime search, Top Tweets, trending topics and maps show whats happening now everywhere and nearby.

                  Tweet, send DMs, share photos, videos and links to your friends and the world.

                  Don't have an account? Just si= uo from the ann!
January 1, 2012   Follow your interests: instant updates from your friends, industiy expe1ts, favorite celebrities, and what 's happening around the world. Get sho1t bursts of
                  timely infonnation on the official Twitter app.

                  Real-time search reveals breaking news, while trending topics show what 's happening now around the world. View trends, browse your interests and see
                  suggested users in several categories, including fashion, entertainment and travel, or search to find out what people are saying about topics you care about,
                  such as politics or big sporting events.

                  Features: Browse interests, Find & follow friends, Tweet, Retweet, Favorite, Follow, exchange Direct messages with your followers, share photos, videos
                  and web pages, real-time search, ti·ends.
Januarv 1, 2013   Wherever vou are, Twitter brinll's vou closer.
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                                                                                                                                                                         Twitter
      Date                                                                                  Desniption

                  *Essential
                  An organized stream of Tweets that delivers the best content to you.

                  *Instant
                  All the media, news, events, and infonnation you need.

                  *Personal
                  Your world, expressed in Tweets and photos.

                  Search in real time. Follow people vou' d like to know. Watch rising trends.
January 1, 2014   Twitter is the best way to connect, express yourself and discover what 's happening.

                  • Connect with people and your interests to get wrliltered access and unique behind-the-scenes perspectives.

                  • Express yourself with photos, videos and comments.

                  • Discover what's haooening. Get real-time stories, pictures, videos, conversations, ideas, and insoira.tion all in vour timeline.
January 1, 2015   Twitter is a free app that lets you connect with people, express yourself, and discover more about all the things you love.

                  See what your favorite celebs and athletes are chatting about. Be the first to hear breaking news. Catch a glimpse behind the scenes at concerts, sporting
                  events, and more.

                  Then join the conversation: Tweet your ovvn text, photos, and video to your followers - and maybe make a few fans along the way.

                  Get inspired. Be social. Even send private messa2es to friends. All in real time, as big (and little) things haooen, from anywhere you haooen to be.
January 1, 2016   Twitter is a free app that lets you connect with people, express yourself, and discover more about all the things you love.

                  See what your favorite celebs and athletes are chatting about. Be the first to hear breaking news. Catch a glimpse behind the scenes at conceits, sporting
                  events, and more.

                  Then join the conversation: Tweet your ovm text, photos, and video to your followers - and maybe make a few fans along the way.

                  Get inspired. Be social. Even send private messages to friends. All in real time, as big (and little) things happen, from anywhere you happen to be.

                  Twitter is now available for Apple Watch: Tweet, Retweet, reply and favorite in a flash. Quickly see recent Tweets and top trends. Share your location, a
                  song, or your thoughts with a flick on the wrist. It's Twitter, but littler.
January 1, 2017   See what's happening in the world right now. From breaking news and entertainment, sports and politics, to big events and everyday interests. If it's
                  happening anywhere, it's happening on Twitter. Get the full story as it unfolds, with all the live commentary.

                  Be part of what everyone is talking about and get videos, live footage and Moments, direct from the source.



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                                                                                                                                                                        Twitter
      Date                                                                                 Desniption
                  Join in on all the action by sharing what's happening in your world. On Twitter you can post photos with stickers, GIFs, videos, and even stream live
                  video with the Periscope button. There is no better wav to have vour voice heard.
January 1, 2018   From breaking news and entertainment to spo1is, politics, and eve1yday interests, when it happens in the world, it happens on Twitter first. See all sides of
                  the sto1y. Join the conversation. Watch live streaming events. Twitter is what's happening in the world and what people are talking about right now.


                  More highlights:

                  - Watch premium and exclusive live streams directly from your mobile device. No account required.
                  - Go Live with a tap or sit back and watch events unfold from around the world.

                  Timeline
                  - Discover what your favorite sports, news, politics, and entertainment thought leaders are talking about
                  - Experience dynamic media - like photos, videos, and GIFs
                  - Retv.•eet, share, like, or reply to Tweets in your timeline
                  - Write a Tweet to let the world know what's happening with you

                  Explore
                  - See what topics and hashtags are trending now
                  - Discover Moments, cw-ated stories showcasing the ve1y best of today's biggest events
                  - Get caught up on news headlines and videos
                  - Relive the latest spo1ts highlights
                  - Be in the know about pop culture and ente1tainment
                  - See what fun stories are going viral

                  Notifications
                  - Find out who stait ed following you
                  - Discover which of your Tweets were liked or Retv.•eeted
                  - Respond to replies or be alerted to Tweets you were mentioned in

                  Messages
                  - Chat privately with friends and followers
                  - Share Tweets and other media
                  - Create a group conversation with anyone who follows you

                  Profile
                  - Customize your profile with a photo, description, location, and background photo
                  - Look back at your Tweets, Retv.•eets, replies, media, and likes

                  Connect
                  - Get suggestions on influential people to follow
                  - Sync your contacts to find friends cul1'ently on Twitter or invite more


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                                                                                                                                                                        Twitter
      Date                                                                                 Description
January 1, 2019   From breaking news and entertainment to sports, politics, and everyday interests, when it happens in the world, it happens on Twitter first. See all sides of
                  the story. Join the conversation. Watch live streaming events. Twitter is what's happening in the world and what people are talking about right now.


                  More highlights:

                  - Watch premium and exclusive live streams directly from your mobile device. No account required.
                  - Go Live with a tap or sit back and watch events unfold from around the world.

                  Timeline
                  - Discover what your favorite spo1ts, news, politics, and entertainment thought leaders are talking about
                  - Experience dynamic media - like photos, videos, and GIFs
                  - Retweet, share, like, or reply to Tweets in your timeline
                  - Write a Tweet to let the world know what's happening with you

                  Explore
                  - See what topics and hashtags are trending now
                  - Discover Moments, curated stories showcasing the very best of today's biggest events
                  - Get caught up on news headlines and videos
                  - Relive the latest sports highlights
                  - Be in the know about pop culture and entertainment
                  - See what fun stories are going viral

                  Notifications
                  - Find out who sta1ted following you
                  - Discover which of your Tweets were liked or Retweeted
                  - Respond to replies or be alerted to Tweets you were mentioned in

                  Messages
                  - Chat privately with friends and followers
                  - Share Tweets and other media
                  - Create a group conversation with anyone who follows you

                  Profile
                  - Customize your profile with a photo, description, location, and background photo
                  - Look back at your Tweets, Retweets, replies, media, and likes

                  Connect
                  - Get suggestions on influential people to follow
                  - Svnc vour contacts to find friends currentlv on Twitter or invite more
January 1, 2020   From breaking news and entertainment to spo1ts, politics, and eve1yday interests, when it happens in the world, it happens on Twitter first. See all sides of
                  the sto1y. Join the conversation. Watch live streaming events. Twitter is what's happening in the world and what people are talking about right now.


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                                                                                                                                                                        Twitter
      Date                                                                                    Desniption

                  More highlights:

                  - Watch premium and exclusive live streams directly from your mobile device. No account required.
                  - Go Live with a tap or sit back and watch events unfold from around the world.

                  Timeline
                  - Discover what your favorite sports, news, politics, and entertainment thought leaders are talking about
                  - Experience dynamic media - like photos, videos, and GIFs
                  - Retv.•eet, share, like, or reply to Tweets in your timeline
                  - Write a Tweet to let the world know what's happening with you

                  Explore
                  - See what topics and hashtags are trending now
                  - Discover Moments, curated stories showcasing the very best of today's biggest events
                  - Get caught up on news headlines and videos
                  - Relive the latest spo1ts highlights
                  - Be in the know about pop culture and ente1tainment
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                  - Respond to replies or be alerted to Tweets you were mentioned in

                  Messages
                  - Chat privately with friends and followers
                  - Share Tweets and other media
                  - Create a group conversation with anyone who follows you

                  Profile
                  - Customize your profile with a photo, description, location, and background photo
                  - Look back at your Tweets, Retv.•eets, replies, media, and likes

                  Connect
                  - Get suggestions on influential people to follow
                  - Svnc vour contacts to find friends cul1'entlv on Twitter or invite more
January 1, 2021   Join the conversation!

                  Retweet, chime in on a thread, go viral, or just scroll through the Twitter timeline to stay on top of what everyone's talking about. Twitter is your go-to
                  social media app and the new media source for what's happening in the world, straight from the accounts of the influential people who affect your world
                  day-to-day.


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                                                                                                                                                                      Twitter
      Date                                                                                 Description
                  Explore what's trending in the media, or get to know thought-leaders in the topics that matter to you; whether your interests range from #Kpop Twitter to
                  politics, news or sports, you can follow & speak directly to influencers or your friends alike. Eve1y voice can impact the world.

                  Follow your interests. Tweet, Fleet, Retweet, Reply to Tweets, Share or Like - Twitter is the #1 social media app for latest news & updates.

                  Tap into what's going on around you. Search hashtags and trending topics to stay updated on your friends & other Twitter followers. Follow the tweets of
                  your favorite influencers, alongside hundreds of interesting Twitter users, and read their content at a glance.

                  Share your opinion. Engage your social network with noteworthy links, photos and videos. DM your friends or reply in a thread. Whether you chat
                  privately or go viral, your voice makes a difference.

                  Get noticed. Twitter allows you to find interesting people or build a following of people who are interested in you. Maintaining a social connection has
                  never been easier! Beyond chatting with friends, Twitter allows influencers to build a personal connection with their fans. Speak directly to the people
                  who influence you - you may be surprised by how many answer back.

                  Build your profile:
                  *Customize your profile, add a photo, description, location, and background photo
                  *Tweet often and optimize your posting times
                  *Post visual content
                  *Use hashtags in your Tweets
                  *Draw in followers outside of Twitter

                  Track What's Trending

                  Discover top trending hashtags and breaking news headlines. Follow media topics, Tweet threads & live videos, to keep your finger on the pulse of what's
                  happening. Whether you're interested in sports highlights, pop culture memes or politics, Twitter is your source of info1mation.

                  Join a community

                  Find like-minded friends or explore interests you never knew you had. Get info1med on the topics that matter to you, whether your interests are
                  mainstream or niche. You can share content or be a fly on the wall; either way, you'll discover something new each time you open the app.

                  Find your voice on social media - download Twitter today!

                  Like us on Facebook: https://v.rww.facebook.com/Twitterlnc/
                  Follow us on Instagram: https://v.rww.instagram.com/twitter/?hl=en

                  Privacy Policy: https://twitter.com/en/privacy
                  Terms and Conditions: https://twitter.com/en/tos

                  We share device identifying data with some advertising partners which may include app opens that happen prior to signing up. Please see here for more
                  details: httns://helo. twitter.com/en/safetv-and-securitv/data-thromzh-oartnershios
Januarv 1, 2022   Join tlte conversation!
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                                                                                                                                                              Twitter
Date                                                                           Desniption

       Retweet, chime in on a thread, go viral, or j ust scroll through the Twitter timeline to stay on top of what everyone's talking about. Twitter is yow· go-to
       social media app and the new media somce for what's happening in the world, straight from the accounts of the influential people who affect yow· world
       day-to-day.

       Explore what's trending in the media, or get to know thought-leaders in the topics that matter to you; whether yow- interests range from #Kpop Twitter to
       politics, news or sports, you can follow & speak directly to influencers or yow- friends alike. Every voice can impact the world.

       Follow yow- interests. Tweet, Retweet, Reply to Tweets, Share or Like - Twitter is the #1 social media app for latest news & updates.

       Tap into what's going on around you. Search hashtags and trending topics to stay updated on yow- friends & other Twitter followers. Follow the tv.•eets of
       yow- favorite influencers, alongside hundreds of interesting Twitter users, and read their content at a glance.

       Share yow- opinion. Engage yow- social network with noteworihy links, photos and videos. DM yow- friends or reply in a thread. Whether you chat
       privately or go viral, yow- voice makes a difference.

       Get noticed. Twitter allows you to find interesting people or build a following of people who are interested in you. Maintaining a social connection has
       never been easier! Beyond chatting with friends, Twitter allows influencers to build a personal connection with their fans. Speak directly to the people
       who influence you - you may be surprised by how many answer back.

       Build yow- profile:
       *Customize yow- profile, add a photo, description, location, and background photo
       *Tweet often and optimize yow- posting times
       *Post visual content
       *Use hashtags in yow- Tweets
       *Draw in followers outside of Twitter

       Track What's Trending

       Discover top trending hashtags and breaking news headlines. Follow media topics , Tweet threads & live videos, to keep yow- finger on the pulse of what's
       happening. Whetlrer you're interested in sports highlights, pop cultw·e memes or politics, Twitter is yow- somce of information.

       Join a collllllunity

       Find like-minded friends or explore interests you never knew you had. Get informed on the topics that matter to you, whether yow- interests are
       mainstream or niche. You can share content or be a fly on the wall; either way, you 'll discover something new each time you open the app.

       Find yow- voice on social media - download Twitter today!

       Like us on Facebook: https://v.rww.facebook.com/fwitterlnc/
       Follow us on Instagram: https://v.rww.instagram.com/twitter/?hl=en

       Privac Polic : h       s://twitter.com/en/ rivac
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                                                                                                                                                                        Twitter
      Date                                                                                Description
                  Terms and Conditions: https://twitter.com/en/tos

                  We share device identifying data with some adve1tising pa1tners which may include app opens that happen prior to signing up. Please see here for more
                  details: httos://help. tv.•itter.co1n/en/safety-and-security/data-throu$-partnerships
January 1, 2023   Join the conversation!

                  Retweet, chime in on a thread, go viral, or just scroll through the Twitter timeline to stay on top of what everyone's talking about. Twitter is yow· go-to
                  social media app and the new media sow-ce for what's happening in the world, straight from the accounts of the influential people who affect your world
                  day-to-day.

                  Explore what's trending in the media, or get to know thought-leaders in the topics that matter to you; whether your interests range from #Kpop Twitter to
                  politics, news or sports, you can follow & speak directly to influencers or yow- friends alike. Eve1y voice can impact the world.

                  Follow yow- interests. Tweet, Retweet, Reply to Tweets, Share or Like - Twitter is the #1 social media app for latest news & updates.

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                  yow- favorite influencers, alongside hundreds of interesting Twitter users, and read their content at a glance.

                  Share yow- opinion. Engage yow· social network with noteworthy links, photos and videos. DM yow- friends or reply in a thread. Whether you chat
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                  Discover top trending hashtags and breaking news headlines. Follow media topics, Tweet threads & live videos, to keep yow- finger on the pulse of what's
                  happening. Whether you're interested in sports highlights, pop culture memes or politics, Twitter is yow- sow-ce of info1mation.

                  Join a collllllunity

                  Find like-minded friends or explore interests you never knew you had. Get info1med on the topics that matter to you, whether yow· interests are
                  mainstream or niche. You can share content or be a fly on the wall; either way, you'll discover something new each time you open the app.

                  Find vow- voice on social media - download Twitter todav!
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                                                                                                                                                        Twitter
Date                                                                         Desniption

       Like us on Facebook: https://wvvw.facebook.com/Twitterlnc/
       Follow us on Insta.gram: https://www.instagram.com/twitter/?hl=en

       Privacy Policy: https://twitter.corn/en/privacy
       TeffilS and Conditions: https://twitter.c01n/en/tos

       We share device identifying data with some advertising partners which may include app opens that happen prior to signing up. Please see here for more
       details: h s://hel .twitter.corn/en/safe                                     s




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WhatsApp Messenger (App ID: 310633997)


January 1. 2010   WhatsApp messenger is a smartphone to smartphone messenger. It utilizes push notifications to instantly get messages from friends, colleagues and
                  family. Switch from SMS to WhatsApp and send and receive messages, pictures, audio notes, and video messages at no cost. All features are included in
                  our base price without the need for extra in-application purchase.

                  *************************************
                  WHY USE WHATSAPP VS. OTHER SOLUTIONS:
                  *************************************
                  * NO MONTHLY COST. Once you have the application, you can use it to chat as much as you want. Send a million messages a day to your friends for
                  free! WhatsApp uses 3G/EDGE/Wi-Fi

                  * TRANSFER MEDIA. Send video, images, and voice notes (media transfer works only if both parties are using WhatsApp v2.3 or higher)

                  * NO INTERNATIONAL CHARGES. Chat with your friends in other countries if they have iPhone and WhatsApp installed. Avoid those pesky
                  international SMS costs.

                  * NO PINS OR USERNAMES. Why even bother having to remember yet another PIN or username? WhatsApp works just like SMS would work (via
                  phone numbers) and it integrates with your phone address book.

                  * NO NEED TO LOG IN/OUT. No more confusion about getting logged off from another computer or device. With push notifications WhatsApp is
                  ALWAYS ON and ALWAYS connected.

                  * NO NEED TO ADD BUDDIES. Your Address Book is used to automatically connect you with your contacts. Your friends with WhatsApp will be
                  automatically displayed in Favorites similar to a buddy list. You can also edit Favorites any way you like.

                  * OFFLINE MESSAGES. Even if you miss your push notifications, WhatsApp will save your messages offline until you retrieve them during the next
                  application sta1t .

                  * STATUS. Use the status feature ofWhatsApp to inform your contacts if you are busy or available for a chat and more.


                  NOTE: WhatsApp is cmTently not available in Indonesia and India.


                  We're always excited to hear from you! If you have any feedback, questions, or concerns, please email us at:

                  support@whatsapp.com

                  or follow us on twitter:

                  h   ://twitter.com/WhatsA   INC
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                  @WhatsAppINC

January 1, 2011   WhatsApp messenger is a cross platfonn smartphone messenger currently available for iPhone, Android, BlackBeny and Nokia phones. The application
                  utilizes push notifications to instantly get messages from friends, colleagues and family. Switch from SMS to WhatsApp to send and receive messages,
                  pictures, audio notes, and video messages at no cost. All features are included without the need for extra in-application purchases.

                  *************************************
                  WHY USE WHATSAPP VS. OTHER SOLUTIONS:
                  *************************************
                  * NO HIDDEN COST: Once you and your friends download the application, you can use it to chat as much as you want. Send a million messages a day
                  to your friends for free! WhatsApp uses your Internet connection: 3G/EDGE or Wi-Fi when available.

                  * MULTIMEDIA: Send Video, Images, and Voice notes to your friends and contacts.

                  * NO INTERNATIONAL CHARGES: Just like there is no added cost to send an international email, there is no cost to send WhatsApp messages
                  internationally. Chat with your friends all over the world as long as they have WhatsApp Messenger installed and avoid those pesky international SMS
                  costs.

                  * SAY NO TO PINS AND USERNAMES: Why even bother having to remember yet another PIN or username? WhatsApp works with your phone
                  number, just like SMS would, and integrates flawlessly with your existing phone address book.

                  * NO NEED TO LOG IN/OUT: No more confusion about getting logged off from another computer or device. With push notifications WhatsApp is
                  ALWAYS ON and ALWAYS CONNECTED.

                  * NO NEED TO ADD BUDDIES: Your Address Book is used to automatically connect you with your contacts. Your contacts who ah-eady have
                  WhatsApp Messenger will be automatically displayed under Favorites, similar to a buddy list. (You can of course always edit Favorites any way you like)

                  * OFFLINE MESSAGES: Even if you miss your push notifications or turn off your iPhone, WhatsApp will save your messages oflline until you retrieve
                  them during the next application use.

                  * STATUS: Use the status feature of WhatsApp to info1m your contacts if you are busy, in a meeting, at the gym, or available for a chat.

                  * AND MUCH MORE: Share location, Exchange contacts, Custom wallpaper, Custom notification sounds, Landscape mode, Precise message time
                  stamps, Email chat history, Broadcast messages and MMS to many contacts at once and much much more!


                  We're always excited to hear from you! If you have any feedback, questions, or concerns, please email us at:

                  support<mwhatsapp.com

                  or follow us on twitter:


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                  http://twitter.com/WhatsAppINC
                  @WhatsAppINC


                  WhatsApp on iPhone works with virtually all carriers and networks but some carrier limitations may apply. If you are on an Apple unsupported wireless
                  carrier. double check our FA for u to date infonnation on our covera e.
January 1, 2012   WhatsApp Messenger is a cross-platfo1m smartphone messenger cwrently available for iPhone, Android, BlackBeny and Nokia phones. The application
                  utilizes push notifications to instantly get messages from friends, colleagues and family. Switch from SMS to exchange messages, pictures, audio notes
                  and video messages with WhatsApp users at no cost. All features are included without the need for extra in-application purchases.


                  *************************************
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                  *************************************
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                  * MULTIMEDIA: Send Video, Images, and Voice notes to your friends and contacts.

                  * GROUP CHAT: Enjoy group conversations with yow· contacts.

                  * NO INTERNATIONAL CHARGES: Just like there is no added cost to send an intemational email, there is no cost to send WhatsApp messages
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                  We're always excited to hear from you! If you have any feedback, questions, or concems, please email us at:

                  suppo1t@whatsapp.com

                  or follow us on twitter:

                  http://twitter.com/WhatsApp
                  @WhatsApp


                  WhatsApp on iPhone works with virtually all ca1riers and netv.•orks but some cairier limitations may apply. If you are on an Apple unsupported wireless
                  can-ier, double check our FAQ for up to date infonnation on ow· coverage.

                  NOTE: WhatsA is a tele hon a lication and as such iPod or iPad are NOT su 01ted devices.
January 1, 2013   WhatsApp Messenger is a cross-platform smartphone messenger currently available for iPhone and all other smartphones. The application utilizes push
                  notifications to insta11tly get messages from friends, colleagues and fainily. Switch from SMS to exchange messages, pictures, audio notes and video
                  messages with WhatsApp users at no cost. All features are included without the need for extra in-application purchases.

                  *********************************
                  WHY USE WHATSAPP:
                  *********************************
                  * NO HIDDEN COST: Once you and your friends download the application, you can use it to chat as much as you want. Send a million messages a day
                  to your friends for free! WhatsApp uses your Intemet connection: 3G/EDGE or Wi-Fi when available.

                  * MULTIMEDIA: Send Video, lnlages, and Voice notes to your friends and contacts.

                  * GROUP CHAT: Enjoy group conversations with your contacts. Add or Remove group participants, change group subject and set a group icon.

                  * PERSONAL: Set a profile photo which will be shown to all your contacts

                  * NO INTERNATIONAL CHARGES: Just like there is no added cost to send an intemational email, there is no cost to send WhatsApp messages
                  intemationally. Chat with your friends all over the world as long as they have WhatsApp Messenger installed and avoid those pesky international SMS
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                  iphone-support@whatsapp.com
                  or visit http://www.whatsapp.com/faq/iphone

                  or follow us on twitter:

                  http://twitter.com/WhatsApp
                  @WhatsApp



                  WhatsApp on iPhone works with virtually all carriers and networks but some carrier limitations may apply. If you are on an Apple unsupported wireless
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                  NOTE: WhatsA                                                                     rted devices.
January 1, 2014   WhatsApp Messenger is a smartphone messenger available for iPhone and other smartphones. WhatsApp uses your 3G or WiFi (when available) to
                  message with friends and family. Switch from SMS to WhatsApp to send and receive messages, pictures, audio notes, and video messages. First year
                  FREE! ($0.99 USD/year after)

                  *********************************
                  WHY USE WHATSAPP:
                  *********************************
                  * NO HIDDEN COST: Once you and your friends download the application, you can use it to chat as much as you want. Send a million messages a day
                  to your friends for free! WhatsApp uses your Internet connection: 3G/EDGE or Wi-Fi when available.

                  * MULTIMEDIA: Send Video, Images, and Voice notes to your friends and contacts.

                  * GROUP CHAT: Enjoy group conversations with your contacts. Add or Remove group participants, change group subject and set a group icon.

                  * PERSONAL: Set a profile photo which will be shown to all your contacts


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                  * NO INTERNATIONAL CHARGES: Just like there is no added cost to send an intemational email, there is no cost to send WhatsApp messages
                  intemationally. Chat with your friends all over the world as long as they have WhatsApp Messenger installed and avoid those pesky intemational SMS
                  costs.

                  * SAY NO TO PINS AND USERNAMES: Why even bother having to remember yet another PIN or usemame? WhatsApp works with yow· phone
                  number, just like SMS would, and integrates flawlessly with your existing phone address book.

                  * NO NEED TO LOG IN/OUT: No more confusion about getting logged off from another computer or device. With push notifications WhatsApp is
                  ALWAYS ON and ALWAYS CONNECTED.

                  * NO NEED TO ADD BUDDIES: Your Address Book is used to automatically connect you with your contacts. Your contacts who ah-eady have
                  WhatsApp Messenger will be automatically displayed under Favorites, similar to a buddy list.

                  * OFFLINE MESSAGES: Even if you miss yow· push notifications or turn off your iPhone, WhatsApp will save your messages oflline until you retrieve
                  them dw111g the next application use.

                  * AND MUCH MORE: Share location and places, Exchange contacts, Custom wallpaper, Custom notification sounds, Landscape mode, Message
                  timestamps, Email chat history, Broadcast messages and media to many contacts at once, and much much more!


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                  can-ier, double check our FAQ for up to date info1mation on our coverage.

                  NOTE: WhatsA is a tele hon a lication and as such iPod or iPad are NOT su 01ted devices.
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@WhatsApp




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                  photos, videos, and Voice Messages. First year FREE!* (WhatsApp may charge thereafter, cun-ent price is $0.99 USD/year) .

                  WHY USE WHATSAPP:

                  • NO ADDITIONAL FEES: WhatsApp uses your phone's Intemet connection (4G/3G/2G/EDGE or Wi-Fi, as available) to message and call friends and
                  family, so you don't have to pay for eve1y message or call.*

                  • MULTIMEDIA: Send and receive photos, videos, and Voice Messages.

                  • WHATSAPP CALLING: Call your friends and family using WhatsApp for free, even if they're in another countty. WhatsApp calls use your phone's
                  Intemet connection rather than your cellular plan's voice minutes.* (Note: you can't access 911 and other emergency service nwnbers through
                  WhatsApp) .

                  • GROUP CHAT: Enjoy group chats with yow· contacts so you can easily stay in touch with yow· friends or family.

                  • WHATSAPP WEB: You can also send and receive WhatsApp messages right from yow· computer's browser.

                  • NO IN1ERNATIONAL CHARGES: There's no extra charge to send WhatsApp messages intemationally. Chat with your friends around the world and
                  avoid intemational SMS charges.*

                  • SAY NO TO USERNAMES AND PINS: Why bother having to remember yet another usemame or PIN? WhatsApp works with yow- phone number, just
                  like SMS, and integrates seamlessly with yow· phone's existing address book.

                  • ALWAYS LOGGED IN: With WhatsApp, you're always logged in so you don't miss messages. No more confusion about whether you're logged in or
                  logged out.

                  • QUICKLY CONNECT WITH YOUR CONTACTS: Yow- address book is used to quickly and easily connect you with yow- contacts who have
                  WhatsApp so there's no need to add hard-to-remember usemames.

                  • OFFLINE MESSAGES: Even if you miss yow· notifications or twn off yow- phone, WhatsApp will save yow- recent messages until the next time you
                  use the app.

                  • AND MUCH MORE: Share yow- location, exchange contacts, set custom wallpapers and notification sounds, email chat histo1y, broadcast messages to
                  multiple contacts at once, and more!

                  *Data charges may apply. Contact yow· provider for details.


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                  or follow us on twitter:

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January 1, 2017   WhatsApp Messenger is a FREE messaging app available for iPhone and other smartphones. WhatsApp uses your phone's Internet connection
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                  • MULTIMEDIA: Send and receive photos, videos, and Voice Messages.

                  • FREE CALLS: Call your friends and family for free with WhatsApp Calling, even if they're in another country.* WhatsApp calls use your phone's
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                  (mWhatsApp



January 1, 2020   Simple. Reliable. Secure. - WhatsApp from Facebook

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                   @WhatsApp


                                     •                     iPod and iPad are not su    01ted devices.
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                   http://twitter.com/WhatsApp
                   @WhatsApp



J anuary 1, 2022   WhatsApp from Facebook is a FREE messaging and video calling app. It's used by over 2B people in more than 180 countries. It's simple, reliable, and
                   private, so you can easily keep in touch with your friends and family. Wha.tsApp works across mobile and desktop even on slow connections, with no
                   subscription fees* .

                   Private messaging across the world

                   Your personal messages and calls to friends and family are end-to-end encrypted. No one outside of your chats, not even WhatsApp, can read or listen to
                   them.

                   Simple and secure connections, right away

                   All you need is your phone number, no user names or logins. You can quickly view yow· contacts who a.re on WhatsApp and sta1i messaging.

                   High quality voice and video calls

                   Make secure video and voice calls with up to 8 people for free* . Your calls work across mobile devices using your phone's Internet se1vice, even on slow
                   connections.

                   Group chats to keep you in contact

                   Stay in touch with your friends and family. End-to-end encrypted group cha.ts let you share messages, photos, videos and documents a.cross mobile and
                   desktop.

                   Stay connected in real time

                   Share your location with only those in your individual or group chat, and stop sharing at any time. Or record a voice message to connect quickly.

                   Share daily moments through Status

                   Status allows you to share text, photos, video and GIF updates that disappear after 24 how·s. You can choose to share status posts with all your contacts or
                   just selected ones.


                   *Data charges may apply. Contact yow· provider for details.


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                  If ou have an feedback or uestions. lease o to WhatsA
Janmu-y 1, 2023   WhatsApp from Meta is a FREE messaging and video calling app. It's used by over 2B people in more than 180 countries. It's simple, reliable, and
                  private, so you can easily keep in touch with your friends and family. WhatsApp works across mobile and desktop even on slow connections, with no
                  subscription fees*.

                  Private messaging across the world

                  Your personal messages and calls to friends and family are end-to-end encrypted. No one outside of your chats, not even WhatsApp, can read or listen to
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YouTube: Watch, Listen, Stream (App ID: 544007664)
        Date                                                                           Desuiption
 July 11, 2012     Watch the world's videos and keep up with your favorite YouTube channels with the official YouTube app for iOS. Sign in to access your subscriptions,
                   playlists, uploads and more.

                   Features:
                   ✓ Enjoy YouTube's vast video catalog, including official music videos
                   ✓ Find videos and channels more easily with voice search and query autocomplete
                   ✓ Subscribe to channels and instantly access your subscriptions with the channel guide UI
                   ✓ Read comments, browse related videos, enable subtitles and more - all while watching
                   ✓ Easy video sharing to Google+, E-mail, Facebook and Twitter
 January 1, 2013   Watch the world's videos and keep up with your favorite YouTube channels with the official YouTube app for iOS. Sign in to access your subscriptions,
                   playlists, uploads and more.

                   Features:
                   ✓ Enjoy YouTube's vast video catalog
                   ✓ Find videos and channels more easily with voice search and que1y autocomplete
                   ✓ Subscribe to channels and instantly access your subscriptions with the channel guide UI
                   ✓ Read comments, browse related videos, enable subtitles and more - all while watching
                   ✓ Easy video sharing to Google+, E-mail, Facebook and Twitter
 January 1, 2014   YouTube your way. Get the official YouTube a.pp for iPhone and iPad. Instantly become the DJ, learn Kung Fu and easily share with friends . Catch up on
                   your favorite videos and playlists from around the world on the couch, in the kitchen or on the go.

                   Features:
                   * Watch a video while searching for the next one
                   * Subscribe to your favorite channels for easy access from the guide
                   * Sign-in to access your "watch later" list
                   * Search for playlists and use the "play all" button for endless entertainment
                   * Share videos via Google+. E-mail Facebook and Twitter
 January 1, 2015   Get the official YouTube app for iPhone and iPad. Catch up with your favorite channels, enjoy the world's largest music collection, and share easily with
                   friends . Watch the latest videos and playlists on the couch or on the go.

                   YouTube, your way
                   * Discover videos and channels with recommendations just for you
                   * Cast videos from your phone to Chromecast, other connected TV devices, and game consoles
                   * Use playlists to save, organize, and share your favorite tracks

                   Enjoy endless music
                   * Find songs you love on your new personalized music homepage
                   * Launch a YouTube Mix, an infinite playlist of songs with unlimited skips
                   * Explore the world's music in YouTube's massive music catalog


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                                                                                                                                        YouTube: Watch, Listen, Stream
      Date                                                                              Desniption
January 1, 2016   Get the official YouTube app for iPhone and iPad. See what the world is watching - from the hottest music videos to what's trending in gaming,
                  entertainment, news and more. Subscribe to channels you love, share with friends, and watch on any device.

                  With a new design, you can now have fun exploring videos you love more easily and quickly than before. Just tap an icon or swipe to switch between
                  recommended videos, your subscriptions, or your account. You can also subscribe to your favorite channels, create playlists, edit and upload videos,
                  express yourself with comments or shares, throw a video to your Tv, and more - all from inside the app.

                  FIND VIDEOS YOU LOVE FAST
                  -Browse personal recommendations on the home tab
                  -See the latest from the creators you follow on the subscriptions tab
                  -Look up videos you've watched and your like history on the account tab

                  CONNECT AND SHARE
                  -Let people know how you feel with likes, comments, or shares
                  -Edit, add filters, add music, and upload your own videos all inside the aoo
January 1, 2017   Get the official YouTube app for iPhone and iPad.
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                  watch on any device.

                  You can also create playlists, check out what's trending, express yourself with comments, share videos with friends, cast a video to your TV, and more -
                  all from inside the app.

                  FIND VIDEOS YOU LOVE FAST
                  - Browse personal recommendations on the home tab
                  - See the latest from the creators you follow on the subscriptions tab
                  - Discover the world's hottest videos on the trending tab
                  - Look up videos you watched or liked on the library tab

                  CONNECT AND SHARE
                  - Let people know how you feel with likes, comments, or shares
                  - Edit, add filters or music, and upload your own videos all inside the aoo
January 1. 2018   Get the official YouTube app for iPhone and iPad.
                  See what the world is watching in music, gaming, entertainment, news and more. Subscribe to channels, share with friends, edit and upload videos, and
                  watch on any device.

                  You can also create playlists, check out what's trending, express yourself with comments, share videos with friends, cast a video to your TV, and more-
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                  - Discover the world's hottest videos on the trending tab
                  - Look up videos you watched or liked on the librarv tab
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      Date                                                                                 Desniption

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                  - Create, edit, add filters or music, and upload your own videos all inside the app

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                  selected plan. Subscriptions and auto-renewal may be 1nanaged by going to Account Settings after purchase

                  Any unused portion of a free trial period will be forfeited when purchasing a subscription.

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                  Privacy policy: httos://wvvw.google.com/oolicies/privacy
January 1, 2019   Make watching your favorite videos easier with the YouTube app. Explore brand new content, music, news and more with the official YouTube app for
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                  Discover even more with the official YouTube app. Subscribe to channels with your favorite content, share them with friends or upload your very own
                  videos for eve1yone to see.

                  Get more out of your video streaming app and discover even more with YouTube.

                  YOUTUBE FEATURES:

                  DISCOVER BRAND NEW CONTENT
                  - Browse YouTube's personal recommendations on the home tab
                  - Watch the hottest videos, from music to viral sensations on the trending tab
                  - Like something? Tap like to save to your personal list or share with your friends!

                  STREAM MUSIC
                  - Find the videos of the latest hits!
                  - Watch fresh releases from popular and trending artists

                  LIVE STREAMS & MORE
                  - Get the latest news or watch your favorite popular live streams right on your device!

                  LEARN FROM THE BEST
                  - Practice and learn alongside the best online
                  - Watch videos and learn any skill you need
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                                                                                                                                         YouTube: Watch, Listen, Stream
      Date                                                                                  Desniption
                  - Explore thousands of videos for makeup, DIY, tips and more!

                  CONNECT AND SHARE
                  - Let people know how you feel with likes, collllllents, or shares
                  - Directly share your friends favorite videos with your friends
                  - Make a playlist that saves your favorite videos
                  - Se.e the latest from the creators you follow on the subscriptions tab

                  Download the official YouTube app and sta1t watching your favorite videos today!

                  WITH YOUTUBE PREMIUM, GET YOUTUBE AD-FREE, OFFLINE, AND IN THE BACKGROUND. PLUS, ACCESS TO ALL YOUTUBE
                  ORIGINALS.
                  - Watch the videos you love without ads!
                  - Play videos in the background, even when you open another app
                  - Download videos for when you're low on data or can't get online
                  - Discover original series and movies from today's hottest talent

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                  selected plan. Subscriptions and auto-renewal may be managed by going to Account Settings after purchase

                  Any unused portion of a free trial period will be forfeited when purchasing a subscription.

                  Monthly price: $15.99

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                  Privacy policy: httos://wv.rw.google.com/policies/privacy
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                  iPhone and iPad.

                  Discover even more with the official YouTube app. Subscribe to channels with your favorite content, share them with friends or upload your very own
                  videos for everyone to see.

                  Get more out of your video streaming app and discover even more with YouTube.

                  YOUTUBE FEATURES:

                  DISCOVER BRAND NEW CONTENT
                  - Browse YouTube's personal recommendations on the home tab
                  - Watch the hottest videos, from music to viral sensations on the trending tab
                  - Like something? Tao like to save to vour personal list or share with vour friends!
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                                                                                                                              YouTube: Watch, Listen, Stream
Date                                                                            Description

       STREAM MUSIC
       - Find the videos of the latest hits!
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       LIVE STREAMS & MORE
       - Get the latest news or watch your favorite popular live streams right on your device!

       LEARN FROM THE BEST
       - Practice and learn alongside the best online
       - Watch videos and learn any skill you need
       - Explore thousands of videos for makeup, DIY, tips and more!

       CONNECT AND SHARE
       - Let people know how you feel with likes, comments, or shares
       - Directly share your friends favorite videos with your friends
       - Make a playlist that saves your favorite videos
       - See the latest from the creators you follow on the subscriptions tab

       Download the official YouTube app and sta11 watching your favorite videos today!

       SUPPORT YOUR FAVORITE CREATORS WITH CHANNEL MEMBERSHIPS
       - Support the channel you love with monthly recwring payments
       - Stand out in comments and live chat with a loyalty badge next to your usemame
       - Get access to exclusive perks from the channel

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       ORIGINALS.
       - Watch the videos you love without ads!
       - Play videos in the background, even when you open another app
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       - Discover original series and movies from today's hottest talent

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       Monthly price: $15.99


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                  iPhone and iPad.

                  Discover even more with the official YouTube app. Subscribe to channels with yow· favorite content, share them with friends or upload yow- very own
                  videos for eve1yone to see.

                  Get more out of yow- video streaming app and discover even more with YouTube.

                  YOUTUBE FEATURES:

                  DISCOVER BRAND NEW CONTENT
                  - Browse YouTube's personal recommendations on the home tab
                  - Watch the hottest videos, from music to viral sensations on the trending tab
                  - Like something? Tap like to save to yow- personal list or share with yow- friends!

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                  - Find the videos of the latest hits!
                  - Watch fresh releases from popular and trending artists

                  LIVE STREAMS & MORE
                  - Get the latest news or watch yow· favorite popular live streams right on yow- device!

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                  - Practice and learn alongside the best online
                  - Watch videos and leam any skill you need
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                  - Directly share yow- friends favorite videos with yow· friends
                  - Make a playlist that saves yow- favorite videos
                  - Se.e the latest from the creators you follow on the subscriptions tab

                  Download the official YouTube app and sta1t watching yow- favorite videos today!

                  SUPPORT YOUR FAVORITE CREATORS WITH CHANNEL MEMBERSHIPS
                  - Suppo1t the channel you love with monthly recw1111g payments
                  - Stand out in comments and live chat with a loyalty badge next to yow- usemame
                  - Get access to exclusive perks from the channel

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                                                                                                                                         YouTube: Watch, Listen, Stream
      Date                                                                                 Desniption
                  - Watch the videos you love, unintenupted
                  - Play videos in the background, even when you open another app or when the screen is locked
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                  Monthly price: $15.99

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                  Privacy policy: httns://wv.rw.google.com/policies/privacy
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                  beauty, news, leaming and more. Subscribe to channels you love, create content of your ovvn, share with friends, and watch on any device.

                  Watch and subscribe
                  • Browse personal recommendations on Home
                  • See the latest from your favorite channels in Subscriptions
                  • Look up videos you've watched, liked, and saved for later in Library

                  Explore different topics, what's popular, and on the rise (available in select countries)
                  • Stay up to date on what's popular in music, gaming, beauty, news, leaming and more
                  • See what's trending on YouTube and around the world on Explore
                  • Learn about the coolest Creators, Gamers, and Artists on the Rise (available in select countries)

                  Connect with the YouTube community
                  • Keep up with your favorites creators with Posts, Stories, Premieres, and Live streams
                  • Join the conversation with comments and interact with creators and other community members

                  Create content from your mobile device
                  • Create or upload your own videos directly in the app
                  • Engage with your audience in real time with live streaming right from the a.pp

                  Find the experience that fits you and your family (available in select countries)
                  • Every family has their own approach to online video. Learn about your options: the YouTube Kids a.pp or a new parent supervised experience on
                  YouTube at youtube.com/myfarnily

                  Suooort creators you love with channel memberships (available in select countries)
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                                                                                                                                          YouTube: Watch, Listen, Stream
      Date                                                                              Desniption
                  • Join channels that offer paid monthly memberships and support their work
                  • Get access to exclusive perks from the channel & become part of their members community
                  • Stand out in comments and live chats with a loyalty badge next to your usemame

                  Upgrade to YouTube Premium (available in select countries)
                  • Watch videos uninterrupted by ads, while using other apps, or when the screen is locked
                  • Save videos for when you really need them - like when you're on a plane or commuting
                  • Get access to YouTube Music Premium as part of your benefits

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                  auto-renew is turned off at least 24 hours before the end of the current period. Account will be charged for renewal within 24 hours prior to the end of the
                  current period at the rate of the selected plan. Subscriptions and auto-renewal may be managed by going to Account Settings after purchase.

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                  Explore different topics, what's populru·, and on the rise (available in select countries)
                  • Stay up to date on what's popular in music, gaming, beauty, news, leruning and more
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                  • Engage with your audience in real time with live streaming right from the a.pp

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Date                                                                          Desniption
       Find the experience that fits you and your family (available in select countries)
       • Eve1y family has their own approach to online video. Leam about your options: the YouTube Kids app or a new parent supervised experience on
       YouTube at youtube.com/myfamily

       Suppo1t creators you love with channel memberships (available in select countries)
       • Join channels that offer paid monthly memberships and suppo1t their work
       • Get access to exclusive perks from the channel & become part of their members collllllunity
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       Upgrade to YouTube Premium (available in select countries)
       • Watch videos unintenupted by ads, while using other apps, or when the screen is locked
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       Note: If you subscribe via Apple, payment will be chai·ged to App Store Account at confomation of purchase. Subscription automatically renews unless
       auto-renew is tumed off at least 24 hours before the end of the cwTent period. Account will be chai·ged for renewal within 24 hours prior to the end of the
       cwTent period at the rate of the selected plan. Subscriptions and auto-renewal may be managed by going to Account Settings after purchase.

       Monthly price: $15.99 USD (US, TC) I $19.99 AUD I $20.99 NZD I $155MXN I £15.99GBP I €15.99 EUR (IE, DE, AT, FR, Fl, IT, ES, BE, NL, LU) /
       $15.99 CAD / 149 kr SEK / 149 krNOK / 249 F RUB / 149 kr. DKK / R$27.90 BRL / CHF19.90 CHF / ¥1 ,550 JPY / USD$4.99 (UA, AR) / COP$22,900
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